           Case 3:18-cv-00721-BR          Document 29   Filed 05/31/18   Page 1 of 84




B. John Casey, OSB No. 120025
john.casey@stoel.com
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Telephone: (503) 224-3380
Facsimile: (503) 220-2480

Andrew L. Deutsch, CSB No. 319286
andrew.deutsch@dlapiper.com
Admitted pro hac vice
DLA PIPER LLP
2000 Avenue of the Stars
Los Angeles, CA 90067
Telephone: (310) 595-3000
Facsimile: (310) 595-3030

Francis W. Ryan, NYB No. 2684058
frank.ryan@dlapiper.com
Admitted pro hac vice
Kerry A. O’Neill, NYB No. 5143995
kerry.oneill@dlapiper.com
Admitted pro hac vice
DLA PIPER LLP
1251 Avenue of the Americas
New York, NY 10020
Telephone: (212) 335-4850
Facsimile: (212) 335-4501

         Attorneys for Defendant NIKE, Inc.
                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                        PORTLAND DIVISION
QUEST SOFTWARE, INC., a Delaware                             Case No.: 3:18-CV-00721-BR
corporation,
                                                                DEFENDANT AND
                       Plaintiff/                  COUNTERCLAIMANT NIKE, INC.’S
                       Counterclaim Defendant,    ANSWER AND COUNTERCLAIMS TO
                                                      COMPLAINT FOR COPYRIGHT
         v.                                       INFRINGEMENT AND DEMAND FOR
NIKE, INC., an Oregon corporation,                                  JURY TRIAL

                       Defendant/
                       Counterclaim Plaintiff.

PAGE 1 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
           Case 3:18-cv-00721-BR        Document 29      Filed 05/31/18     Page 2 of 84




         Defendant and Counterclaimant NIKE, Inc. (“NIKE”), by its undersigned counsel, hereby

answers the Complaint (“Complaint”) filed by Plaintiff and Counterdefendant Quest Software,

Inc. (“Quest”), and asserts its Counterclaims as follows:

                                       GENERAL DENIAL

         Unless specifically admitted below, NIKE denies each and every allegation in the

Complaint.

                                  NATURE OF THE ACTION

Answer to Complaint Paragraph No. 1:

         NIKE admits that Quest purports to assert claims for breach of software license

agreements, copyright infringement, and violation of the Digital Millennium Copyright Act

against NIKE, but denies any liability thereunder.

                                          THE PARTIES

Answer to Complaint Paragraph No. 2:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations of paragraph 2 of the Complaint, and, on that basis, denies them.

Answer to Complaint Paragraph No. 3:

         NIKE admits the allegations contained in paragraph 3 of the Complaint.

                                 JURISDICTION AND VENUE

Answer to Complaint Paragraph No. 4:

         NIKE admits that this Court has subject matter jurisdiction over disputes arising under

the copyright laws of the United States. NIKE admits that Quest purports to assert copyright

infringement and DMCA claims against NIKE, but denies any liability thereunder. NIKE lacks

sufficient knowledge or information to admit or deny the remaining allegations of paragraph 4 of

the Complaint and, on that basis, denies them.
PAGE 2 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
         COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
         AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
           Case 3:18-cv-00721-BR        Document 29       Filed 05/31/18     Page 3 of 84




Answer to Complaint Paragraph No. 5:

         NIKE admits that Quest asserts that the Court has pendent jurisdiction over the state law

breach of contract claim that Quest purports to assert, but avers that the Court should decline to

exercise supplemental jurisdiction over that claim pursuant to 28 U.S.C. § 1367(c).

Answer to Complaint Paragraph No. 6:

         NIKE admits that venue is proper in this Court with respect to this action.

                                              FACTS

Answer to Complaint Paragraph No. 7:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 7 of the Complaint, and, on that basis, denies them.

Answer to Complaint Paragraph No. 8:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 8 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 9:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 9 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 10:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 10 of the Complaint and, on that basis, denies them.




PAGE 3 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
             COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
             AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
           Case 3:18-cv-00721-BR       Document 29       Filed 05/31/18    Page 4 of 84




Answer to Complaint Paragraph No. 11:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 11 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 12:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 12 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 13:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 13 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 14:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 14 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 15:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 15 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 16:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 16 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 17:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 17 of the Complaint and, on that basis, denies them.




PAGE 4 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
             COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
             AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
           Case 3:18-cv-00721-BR       Document 29       Filed 05/31/18    Page 5 of 84




Answer to Complaint Paragraph No. 18:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 18 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 19:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 19 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 20:

         NIKE lacks sufficient knowledge or information to form a belief about the truth of the

allegations contained in paragraph 20 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 21:

         NIKE admits that on or about November 1, 2001, NIKE and Quest entered into a

Software License and Service Agreement (“SLSA”). NIKE denies the remaining allegations

contained in paragraph 21 of the Complaint.

Answer to Complaint Paragraph No. 22:

         NIKE admits that upon and subsequent to its entry into the SLSA, NIKE obtained from

Quest the right to use the Quest “Licensed Software,” as defined in Section 1.10 of the SLSA,

and, from time to time, the right to use additional Quest “Software Products,” as defined in

Section 1.19 of the SLSA, and to have additional use of the Quest “Licensed Software” and of

additional Quest “Software Products,” and that NIKE made payment for such rights to Quest as

provided in the SLSA. NIKE denies the remaining allegations contained in paragraph 22 of the

Complaint.




PAGE 5 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
             COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
             AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
           Case 3:18-cv-00721-BR       Document 29       Filed 05/31/18     Page 6 of 84




Answer to Complaint Paragraph No. 23:

         NIKE admits that Paragraph 12 of the SLSA provides, in relevant part, that “Quest shall

have the right to perform, or cause an independent accounting firm to perform, at Quest’s sole

expense, an audit to verify that Licensee is using the Licensed Software in compliance with this

Agreement.” NIKE denies the remaining allegations contained in Paragraph 23 of the

Complaint.

Answer to Complaint Paragraph No. 24:

         NIKE admits that, in or about January 2017, Deloitte LLP, which, upon information and

belief was retained by Quest, conducted an audit of NIKE’s use of Quest software products,

purportedly pursuant to the SLSA. NIKE denies the remaining allegations contained in

paragraph 24 of the Complaint.

Answer to Complaint Paragraph No. 25:

         NIKE admits that Quest thereafter presented NIKE with a spreadsheet that Quest

purported to be the results of said audit, and that, after reviewing the spreadsheet, NIKE

contested the spreadsheet because it did not calculate overdeployment of Quest Software as

required by the SLSA. NIKE denies the remaining allegations contained in paragraph 25 of the

Complaint.

Answer to Complaint Paragraph No. 26:

         NIKE admits that Quest asserted that “pirated keys” were used to access certain Quest

software products. NIKE denies the remaining allegations contained in paragraph 26 of the

Complaint.

Answer to Complaint Paragraph No. 27:

         NIKE denies the allegations contained in paragraph 27 of the Complaint.


PAGE 6 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
             COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
             AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
           Case 3:18-cv-00721-BR       Document 29       Filed 05/31/18      Page 7 of 84




Answer to Complaint Paragraph No. 28:

         NIKE denies the allegations contained in paragraph 28 of the Complaint.

Answer to Complaint Paragraph No. 29:

         NIKE admits that there have been further discussions between NIKE and Quest since

Quest delivered the above-referenced purported audit report, during which (1) NIKE explained

to Quest that calculations of additional use of Quest software contained in Quest’s audit report

failed to comply with the terms of Section 12 of the SLSA, and NIKE offered to pay to Quest the

amount that would be due to Quest for unauthorized use of Quest software under Section 12 of

the SLSA, but (2) Quest refused such offer and instead demanded that NIKE pay Quest amounts

far in excess of any amount that NIKE might reasonably owe under Section 12 of the SLSA.

NIKE denies the remaining allegations contained in paragraph 29 of the Complaint.

Answer to Complaint Paragraph No. 30:

         NIKE denies knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraph 30 of the Complaint regarding Quest’s “understanding” or its

“ongoing inquiry.” NIKE denies the remaining allegations contained in paragraph 30 of the

Complaint.

                                  FIRST CLAIM FOR RELIEF
                                   BREACH OF CONTRACT

Answer to Complaint Paragraph No. 31:

         NIKE incorporates by reference its admissions, denials and averments contained in the

preceding paragraphs of this Answer as though set forth in their entirety.

Answer to Complaint Paragraph No. 32:

         NIKE admits that it licensed Quest software products under and pursuant to the terms of

the SLSA, which is a valid, enforceable two-party contract.

PAGE 7 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
             COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
             AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
             Case 3:18-cv-00721-BR     Document 29       Filed 05/31/18      Page 8 of 84




         .

Answer to Complaint Paragraph No. 33:

         NIKE admits that it agreed to use Quest software products, and pay for such use,

pursuant to the terms of the SLSA. NIKE denies the remaining allegations contained in

paragraph 33 of the Complaint.

Answer to Complaint Paragraph No. 34:

         NIKE denies the allegations contained in paragraph 34 of the Complaint.

Answer to Complaint Paragraph No. 35:

         NIKE denies the allegations contained in paragraph 35 of the Complaint.

                                SECOND CAUSE OF ACTION
                               COPYRIGHT INFRINGEMENT

Answer to Complaint Paragraph No. 36:

         NIKE incorporates by reference its admissions, denials and averments contained in the

preceding paragraphs of this Answer as though set forth in their entirety.

Answer to Complaint Paragraph No. 37:

         NIKE denies the allegations contained in paragraph 37 of the Complaint.

Answer to Complaint Paragraph No. 38:

         NIKE denies the allegations contained in paragraph 38 of the Complaint.

Answer to Complaint Paragraph No. 39:

         NIKE denies the allegations contained in paragraph 39 of the Complaint.

Answer to Complaint Paragraph No. 40:

         NIKE denies the allegations contained in paragraph 40 of the Complaint.

Answer to Complaint Paragraph No. 41:

         NIKE denies the allegations contained in paragraph 41 of the Complaint.

PAGE 8 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
           Case 3:18-cv-00721-BR        Document 29        Filed 05/31/18      Page 9 of 84




                             THIRD CAUSE OF ACTION
                 VIOLATION OF DIGITAL MILLENNIUM COPYRIGHT ACT

Answer to Complaint Paragraph No. 42:

         NIKE incorporates by reference its admissions, denials and averments contained in the

preceding paragraphs of this Answer as though set forth in their entirety.

Answer to Complaint Paragraph No. 43:

         Paragraph 43 of the Complaint constitutes a legal conclusion to which no response is

required.

Answer to Complaint Paragraph No. 44:

         NIKE lacks sufficient knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 44 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 45:

         NIKE lacks sufficient knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 45 of the Complaint and, on that basis, denies them.

Answer to Complaint Paragraph No. 46:

         NIKE denies the allegations contained in paragraph 46 of the Complaint.

Answer to Complaint Paragraph No. 47:

         NIKE denies the allegations contained in paragraph 47 of the Complaint.

                                              RELIEF

         NIKE denies that Quest is entitled to any of the relief requested by Quest or that Quest is

entitled to any relief at all, and prays that the Court dismiss Quest’s complaint in its entirety.

                                               * * *




PAGE 9 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
             COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
             AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
             Case 3:18-cv-00721-BR        Document 29        Filed 05/31/18   Page 10 of 84




                                      AFFIRMATIVE DEFENSES

             NIKE’s Affirmative Defenses are listed below. The designation of any defense as an

 “Affirmative Defense” does not concede that NIKE bears the burden of proof with respect to that

 defense. NIKE reserves the right to amend its answer to add affirmative defenses consistent with

 facts discovered in the case.

                                  FIRST AFFIRMATIVE DEFENSE

                                        (Failure to State a Claim)

        1.          Quest fails to state a claim against NIKE upon which relief may be granted.

                                SECOND AFFIRMATIVE DEFENSE

                                           (Lack of Standing)

        2.          The claims asserted in the Complaint are barred, in whole or part, because Quest

lacks standing to assert claims for each claimed copyright.

                                  THIRD AFFIRMATIVE DEFENSE

                                           (Non-Infringement)

        3.          Quest’s claims are barred, in whole or in part, because NIKE has not infringed

valid registered copyrights owned by Quest.

                                 FOURTH AFFIRMATIVE DEFENSE

                                                (Estoppel)

        4.          By Quest’s own actions and/or assertions, Quest is legally and/or equitably

estopped from asserting the claims, rights, and demands alleged against NIKE.




 PAGE 10 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
               COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
               AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
             Case 3:18-cv-00721-BR         Document 29       Filed 05/31/18     Page 11 of 84




                                  FIFTH AFFIRMATIVE DEFENSE

                              (Election of Exclusive Contractual Remedy)

        5.          Quest’s Second and Third Causes of Action are barred because by executing the

SLSA, Quest elected that its sole and exclusive remedy for any claim against NIKE for

unauthorized use of or access to Quest software products, including but not limited to use or access

obtained through keys or other access devices not provided by Quest, would be the contractual

remedy, provided in Section 12 of the SLSA, of payment of “the amount of the negotiated fee

applicable to the particular Software Product or Product to which unauthorized access was

permitted, for all such unauthorized users.”

                                  SIXTH AFFIRMATIVE DEFENSE

                                           (Tender of Payment)

        6.          Quest’s claims against NIKE are barred because NIKE has tendered payment to

Quest of all amounts due to Quest for unauthorized use of or access to Quest software products,

pursuant to Section 12 of the SLSA.

                                SEVENTH AFFIRMATIVE DEFENSE

                                      (Failure to Mitigate Damages)

        7.          Quest has failed, refused, and/or neglected to take reasonable steps to mitigate

Quest’s alleged damages, if any, thus barring or diminishing any recovery by Quest.

                                 EIGHTH AFFIRMATIVE DEFENSE

                                             (Fault of Others)

        8.          Any loss, injury, damage, or detriment actually suffered or sustained by Quest

was directly and proximately caused and contributed to by the breach, conduct, acts, omissions,

activities, carelessness, recklessness, negligence, fraudulent, and/or intentional misconduct or


 PAGE 11 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
             Case 3:18-cv-00721-BR         Document 29       Filed 05/31/18     Page 12 of 84




actions of persons or entities other than NIKE, for which NIKE is not directly or secondarily

responsible.

                                  NINTH AFFIRMATIVE DEFENSE

                                        (Extraterritorial Conduct)

        9.          Some or all of the copyright infringements and/or violations of the DMCA alleged

in the Second and Third Causes of Action occurred outside of the United States and, in

consequence, the Court either lacks subject matter jurisdiction over such claims or the claims fail

to state a cause of action under the Copyright Act.

                                  TENTH AFFIRMATIVE DEFENSE

                                            (Copyright Misuse)

        10.         Quest’s Second and Third Causes of Action are barred or unenforceable as

Quest’s conduct, including its predatory audit practices, constitutes copyright misuse.

                               ELEVENTH AFFIRMATIVE DEFENSE

                                      (Lack of Valid Registrations)

        11.         Quest’s claims are barred to the extent Quest lacks valid registrations of

copyrights alleged in the Complaint.

                                TWELFTH AFFIRMATIVE DEFENSE

                                                 (License)

        12.         Quest’s claims are barred, in whole or in part, because Quest expressly or

impliedly licensed NIKE to make the uses of the Quest software products alleged in the

Complaint, subject only to payment as required by the SLSA, and NIKE has either made or

tendered all payments due to Quest under the SLSA for such uses.




 PAGE 12 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
               COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
               AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18     Page 13 of 84




                              THIRTEENTH AFFIRMATIVE DEFENSE

                                     (Unclean Hands and Bad Faith)

        13.         Quest’s claims against NIKE are based on bad faith and are barred by the doctrine

of unclean hands. Quest’s own conduct of granting licenses to NIKE for the software products at

issue, and failing to perform in accordance with the terms of the SLSA, have caused NIKE to incur

additional expenses and further liability to its detriment. Quest’s claims are barred based on its

bad faith and wrongful conduct.

                              FOURTEENTH AFFIRMATIVE DEFENSE

                                        (Lack of Actual Damages)

        14.         NIKE is not liable for any alleged actual damages because Quest has not suffered

any actual damages attributable to the conduct alleged in the Complaint.

                               FIFTEENTH AFFIRMATIVE DEFENSE

                                         (Statute of Limitations)

        15.         Some or all of the causes of action alleged in the Complaint are barred by the

applicable statute of limitations.

                               SIXTEENTH AFFIRMATIVE DEFENSE

                                (Failure to Comply with 17 U.S.C. § 412)

        16.         Quest’s demand to recover statutory damages and attorney’s fees for its claim for

copyright infringement are barred because some or all of Quest’s alleged copyright registrations

for its alleged copyrightable works were not made within three months after first publication

thereof, and NIKE’S alleged infringements commenced after first publication of said works and

before the effective dates of said registrations.




 PAGE 13 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
             Case 3:18-cv-00721-BR         Document 29       Filed 05/31/18     Page 14 of 84




                                 SEVENTEENTH AFFIRMATIVE DEFENSE

                                      (Reservation of Additional Defenses)

        17.         NIKE reserves the right to assert additional affirmative and other defenses, at law

or in equity, that NIKE may learn it possesses as a result of discovery or any other factual

investigation concerning this case or any related action.

                                                  * * *

                                   NIKE, INC.’S COUNTERCLAIMS

        1.          Defendant and Counterclaimant NIKE, Inc. (“NIKE”), for its counterclaims

against Plaintiff and Counterdefendant Quest Software, Inc. (“Quest”), alleges as follows:

        2.          NIKE is a corporation duly organized and existing under the laws of the State of

Oregon, having its principal place of business at One Bowerman Drive, Beaverton, OR 97005-

6453.

        3.          Quest alleges in its Complaint that it is a Delaware corporation with its principal

place of business in Aliso Viejo, California.

                                     JURISDICTION AND VENUE

        4.          The Court has subject matter jurisdiction over these Counterclaims pursuant to 28

U.S.C. §§ 1331, 1338, 1367, 2201, and 2202, as the Counterclaims are so related to the claims in

the original action that they form part of the same case or controversy under Article III of the

United States Constitution, and arise out of the same nucleus of facts, transactions, or occurrences

that are alleged in the Complaint.

        5.          This Court has personal jurisdiction over Quest.

        6.          Venue in this district is permissible under 28 U.S.C. §§ 1391(b)-(c) and 1400(b),

and because Quest filed its Complaint in this district.


 PAGE 14 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
             Case 3:18-cv-00721-BR        Document 29       Filed 05/31/18     Page 15 of 84




        7.          By virtue of the controversies described below, an actual and justiciable

controversy has arisen between NIKE on the one hand, and Quest on the other, with respect to the

rights and remedies under the parties’ Master Software License and Service Agreement (“SLSA”).

                                      FACTUAL ALLEGATIONS

        A.          NIKE’s Use of Quest Software Programs

        8.          The software NIKE licenses from Quest provides tools that are used in the

administration and management of databases across NIKE’s business. Those databases include

sales and inventory data, as well as consumer and order information. The Quest software is used

to manage and access these databases by NIKE’s team of database administrators and by software

developers, applications engineers, and data analysts.

        B.          The Master Software License and Service Agreement between NIKE and
                    Quest

        9.          On or about November 1, 2001, Quest and NIKE entered into the SLSA. A true

and correct copy of the SLSA is attached hereto as Exhibit A. Under the SLSA, Quest granted to

NIKE a non-exclusive, perpetual, global license to, among other things, install, use, access, run,

integrate, implement, test, and operate a series of software products which Quest claimed to have

developed and exclusively own (“Quest Software”), and to have the right to license use of Quest

Software to others.

        10.         Following the execution of the SLSA, over the years, NIKE has continued to

purchase software licenses and maintenance/support from Quest, both directly and through

authorized Quest resellers.

        11.         The SLSA does not restrict NIKE’s ability to download and use evaluation,

trialware, or freeware versions of Quest Software, whether in production or non-production

environments.

 PAGE 15 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29      Filed 05/31/18    Page 16 of 84




        12.         The SLSA does not restrict NIKE from using license keys or other license access

devices not obtained from Quest to access and use Quest Software.

        13.         In contrast to the SLSA, some software license agreements entered between Quest

and other Quest licensees after the effective date of the SLSA do expressly limit the licensee’s

right to download and use evaluation, trialware and freeware versions of Quest. For example,

Quest is party to a 2012 “Master Product Agreement” with World Fuel Services Corporation, a

Miami business. A copy of that agreement was filed as Exhibit A to the complaint filed by Quest

against World Fuel Services Corporation in Quest Software Corp. v. World Fuel Services Corp.,

No. 17-cv-05989 (W.D. Wash, filed November 18, 2017), and is alleged by Quest in paragraph 25

of that complaint to be a “true and correct” copy of the agreement. A copy of that “Master Product

Agreement” is attached hereto as Exhibit B.

        14.         Unlike the SLSA, which contains no restrictions on NIKE’s ability to download

and use Quest Software for evaluation purposes, or its ability to download and use freeware and

trialware versions of Quest Software, Section 3(c) of the “Master Product Agreement” provides

that if software is obtained from Quest for evaluation purposes, the customer is granted only a

“non-production License” under which the software may be used “solely for Customer’s own

evaluation purposes for an evaluation period of up to thirty (30) days from date of delivery of the

Software, plus any extensions granted by Quest in writing[.]” Section 3(e) of the “Master Product

Agreement” provides that “[i]f a freeware version of Quest software (“Freeware”) is downloaded

by Customer from a Quest website, the terms of such use shall be governed by the applicable

Freeware definition set forth in the Product Guide.”

        15.         Unlike the SLSA, which does not restrict NIKE from using license keys or other

license access devices not provided by Quest to install or access Quest Software, Section 4 of the


 PAGE 16 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
            Case 3:18-cv-00721-BR         Document 29       Filed 05/31/18     Page 17 of 84




“Master Product Agreement” Quest entered into with World Fuel Services Corporation provides

that “Customer may not use any license keys or other license access devices not provided by

Quest, including but not limited to ‘pirated keys,’ to install or access the products.”

        C.          “Users” of Quest Software Under the SLSA Must Actually Use the Software

        16.         Under the SLSA and orders issued thereunder by NIKE, NIKE and Quest have

consistently agreed that NIKE will only pay for licenses on the basis of NIKE employees or

persons authorized by NIKE who actually use the Quest Software.

        17.         Quest Software, like all operational software, contains executable files. When

these files are accessed and executed, the relevant program(s) will run and perform the tasks for

which the program(s) are designed and for which NIKE has licensed that software. “Use” of a

Quest software program means to run that program and a person who directs the program to run is

a “user.”

        18.         The Microsoft Windows operating system, on which Quest Software was

installed, creates logs that can be used to identify each occasion on which a Quest Software

program was executed, that is, used, on that particular system. Using these logs in correlation with

other forensic artefacts on the system permits identification of the users of Quest Software.

        19.         NIKE has not agreed, under the SLSA or otherwise, to pay for licenses for Quest

Software for persons or systems who could theoretically access the Quest Software, but who do

not actually use the software. One important reason for this is that although many people and

machines within the NIKE system are authorized to access servers on which a copy of a Quest

Software program is stored, they have no need to run any Quest Software program and do not use

that software. For example, NIKE’s cyber security and forensics professionals must have access to

every server within NIKE’s IT infrastructure – including those on which Quest software is


 PAGE 17 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
             Case 3:18-cv-00721-BR         Document 29       Filed 05/31/18     Page 18 of 84




installed – in order to maintain the security of NIKE’s network. Similarly, IT systems

administrators may need to access a server on which a copy of Quest software, among other files,

is stored to perform maintenance on the server or to troubleshoot. Automated machine systems

may access the same server to inventory the software programs loaded on the server. Although in

theory such persons or machines could direct execution of a Quest Software program stored on that

server, they do not do so.

        D.          The SLSA’s Audit Provision

        20.         NIKE has no record of any prior Quest audit of NIKE’s use of the Quest Software

since at least as far back as 2003.

        21.         Software licensor-licensee master agreements commonly recognize that given the

needs of a licensee’s business, that licensee may need to allow additional authorized users to make

use of the software after the master license agreement is executed, but before additional user

licenses can be purchased from the licensor for those users. They also recognize that business

licensees with large footprints may not be able to track all authorized users of the software with

complete accuracy. Given these facts, and to avoid unnecessary litigation and strain on licensor-

licensee relationships, licensors and licensees frequently include an audit/payment term in their

master software agreements to address the situation.

        22.         Such an audit/payment term typically specifies that (a) the licensor or its designee

may periodically audit the licensee’s users of the software to determine whether the licensee has

paid for all the licenses needed to authorize the users to use the software, and (b) if the agreed-

upon results of the audit indicate that not all of the needed licenses have been paid for, the licensee

will compensate the licensor for the licensee’s additional users (often called “overdeployment”) on

the basis of a calculation method specified in the contract. The licensor’s sole and exclusive


 PAGE 18 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18    Page 19 of 84




remedy for overdeployment is payment by the licensee for licenses for additional users, in

accordance with such a contractual compensation provision.

        23.         Such a provision was agreed to between NIKE and Quest and incorporated in the

SLSA as Section 12.

        24.         Section 12 of the SLSA provides, in relevant part:

                    Quest shall have the right to perform, or cause an independent
                    accounting firm to perform, at Quest’s sole expense, an audit to
                    verify that Licensee is using the Licensed Software in compliance
                    with this Agreement […]. Any such audit shall be conducted upon
                    prior notice of not less than thirty (30) days to a) the person
                    designated in the applicable Software Order; and b) the Licensee
                    IT Department; and c) the Licensee Legal Department. […] In
                    the event that an audit conducted as set forth herein discloses
                    that Licensee has caused or permitted access to or use of the
                    System by persons or entities that are not authorized under the
                    terms of this Agreement to such use or access, Licensee shall
                    pay Quest the underpayment, in the amount of the negotiated
                    fee applicable to the particular Software Product or Product to
                    which unauthorized access was permitted, for all such
                    unauthorized users. Provided that Licensee pays the
                    underpayment as described above, Licensee shall not be
                    deemed to be in breach of this Agreement or of any licensing
                    rights granted hereunder. Audits shall be initiated no more often
                    than once every eighteen months and each audit shall be completed
                    within forty-five (45) days of Licensee’s receipt of notice.”
                    (Emphasis added.)

        25.         Under Section 12 of the SLSA, in the event of an audit, NIKE is only required to

pay “Quest the underpayment, in the amount of the negotiated fee applicable to the particular

Software Product or Product to which unauthorized access was permitted, for all such

unauthorized users.” (Emphasis added). Thus, under this plain and unambiguous language, any

amount to be paid by NIKE to Quest following an audit is to be calculated on the basis of the

number of “unauthorized users” of the relevant software program. The ordinary meaning of




 PAGE 19 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
             Case 3:18-cv-00721-BR        Document 29       Filed 05/31/18     Page 20 of 84




“users,” as explained above, is persons or machines who actually have caused a Quest Software

program to be executed so as to perform its intended function.

        E.          Quest’s Audit of NIKE

        26.         Between the execution of the SLSA and January 4, 2017, Quest did not seek to

audit NIKE’s use of Quest Software under Section 12 of the SLSA.

        27.         On or about January 4, 2017, Quest informed NIKE that it was undertaking an

audit of NIKE’s use of Quest Software in accordance with Section 12 of the SLSA (the “Audit

Notice”). A copy of the Audit Notice is attached as Exhibit C.

        28.         Per the Audit Notice, Quest appointed Deloitte LLP (“Deloitte”) as the entity to

conduct the audit of NIKE.

        29.         The Audit Notice provides that “[t]his review activity should not in any way

inhibit sales negotiations between Quest and Nike that are in progress for license acquisition or

support renewal.” (Emphasis added.)

        30.         NIKE fully cooperated with Deloitte and Quest during the conduct of the audit.

Such cooperation included providing Deloitte with access to NIKE’s systems and databases and

responding to requests for information from Deloitte and Quest.

        31.         Deloitte and Quest provided NIKE with “scripts” that were purportedly intended

to examine the use of Quest Software on NIKE servers in order to determine whether there had

been any “unauthorized users” of that Quest Software and inventory any “unauthorized users,” so

that Quest could determine the amount of license fees due to Quest under Section 12 of the SLSA,

if any. NIKE permitted Deloitte and Quest to run these scripts on NIKE’s systems and databases

and to receive the corresponding inventories of users.




 PAGE 20 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18     Page 21 of 84




        32.         On or about June 6, 2017, Quest provided NIKE with a spreadsheet, labeled

“Reconciliation Summary.” Quest represented in an accompanying e-mail that this spreadsheet

“compares the data Nike provided to Deloitte during the audit and the number of licenses owned

by Nike.” The spreadsheet did not contain pricing of the licenses that Quest claimed NIKE was

required to purchase.

        33.         Upon receipt and review of Quest’s “Reconciliation Summary,” NIKE realized

that the “scripts” provided by Deloitte and Quest were not designed to inventory users of Quest

Software on NIKE systems – that is, persons who had actually run a Quest Software program.

Instead, they were intentionally designed to inventory all persons or machines which had the right

to access servers on which Quest Software programs were stored, without regard to whether such

persons or machines ever actually used a Quest Software program.

        34.         Upon information and belief, Quest intentionally designed its audit “scripts” for

NIKE for the bad faith purposes of creating an improper estimation of overdeployment, in order to

support an inflated demand for payment, contrary to the requirements of Section 12 of the SLSA.

        35.         After reviewing the Quest “Reconciliation Summary,” NIKE performed its own

inventory of its systems and determined the number of users who had actually run a Quest

Software program but for whom a license had not been purchased, which is the determination

required by Section 12 of the SLSA. Thereafter, on or about August 4, 2017, NIKE provided a

preliminary report to Quest, showing the discrepancies between the license count contained in the

Quest “Reconciliation Summary” and the overdeployment numbers calculated by NIKE in

accordance with Section 12 of the SLSA.




 PAGE 21 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18     Page 22 of 84




        36.         NIKE notified Quest that Quest was only entitled to payment for overdeployment

to actual users of Quest software, not persons who in theory could have accessed Quest software

but for whom there was no evidence of actual use of that software.

        37.         Quest ignored NIKE’s notification of the serious errors in Quest’s calculation of

overdeployment. Instead, on or about August 21, 2017, Quest provided NIKE with a revised

version of Quest’s “Reconciliation Summary” which used the same calculations of

overdeployment as in the prior version, and added columns asserting that based on Quest software

pricing, NIKE owed Quest $15,646,191.55 for overdeployment. In an accompanying e-mail,

Quest asserted that this amount included four years of interest calculated on the Oregon

prejudgment interest rate of 9%, charges for licenses for access to freeware and trialware versions

of Quest software, one year of maintenance, and a multiplier of three times applied to alleged use

by NIKE of “pirated software.” Quest also asserted, contrary to the express language of Section

12 of the SLSA, that NIKE was required to pay for all persons whom NIKE caused or permitted to

have access to Quest Software, regardless of whether those persons were “unauthorized users” as

defined by Section 12 of the SLSA.

        38.         In subsequent communications to Quest and its counsel, NIKE objected to

Quest’s calculation of amounts due under Section 12 of the SLSA because Quest’s calculations

ignored the SLSA’s requirement that overdeployment be calculated on the basis of “unauthorized

users”; because the SLSA did not require NIKE to pay interest charges on amounts due under the

SLSA for overdeployment; because the SLSA did not require NIKE to pay Quest for use of

freeware and trialware versions of Quest Software or limit the environment in which such versions

could be used; and because the SLSA did not require NIKE to pay any multiplier for use of license

keys or other license access devices not provided by Quest to access and use Quest Software.


 PAGE 22 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
             Case 3:18-cv-00721-BR        Document 29       Filed 05/31/18     Page 23 of 84




        39.         NIKE undertook its own calculation of the amount that it owed to Quest for

overdeployment of Quest Software, based upon the inventoried “unauthorized users” of that

software and Quest’s current license fees for such software. NIKE determined that the amount it

owed under Section 12 of the SLSA was $348,664.74 and, on or about September 15, 2017,

offered to pay this amount to Quest.

        40.         Quest refused to accept NIKE’s tender of this amount.

        41.         Instead, Quest demanded payment by NIKE of almost 45 times the amount that

NIKE actually owed. This demand was improper and asserted in bad faith and for the purpose of

obtaining funds to which Quest was not entitled. NIKE therefore refused to pay this amount.

        42.         NIKE continued in good faith to attempt to resolve this dispute over the

subsequent months, and responded promptly to Quest’s additional requests for information.

However, Quest refused to withdraw its demands for payments far in excess of the amount that

NIKE owed under the SLSA.

        F.          Quest’s Bad-Faith Refusal To Provide Maintenance And Support
                    Services To NIKE

        43.         An important component of the SLSA is Quest’s obligations to provide

maintenance and support services for the software that it licenses to NIKE.

        44.         Such maintenance and support is important to NIKE, as it would be to any user of

Quest Software. Quest’s maintenance and support includes, but is not limited to, updates and

enhancements to the Quest Software (including those made necessary by changes and upgrades to

the underlying Oracle database software), security improvements to protect against hacking,

malware and other outside threats, and support where problems are encountered in operation of

Quest Software. Such maintenance and support is important to NIKE, as it would be to any user of

Quest Software.

 PAGE 23 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18     Page 24 of 84




        45.         Without such maintenance and support services, the Quest Software installed at

NIKE would degrade in performance, would become incompatible with the underlying Oracle

database software, and would become vulnerable to hacking, malware, and other outside threats.

In addition, NIKE would lose access to Quest’s support and troubleshooting services, which would

make it more difficult or impossible to resolve operational problems encountered during operation

of the Quest Software.

        46.         Quest is aware of the importance of its maintenance and support services to its

actual and potential licensees. Indeed, Quest represents to actual and potential licensees of its

software that those services are a vital aspect of its software and a reason for choosing Quest over

its competitors. See, e.g., https://support.quest.com/pdf/Quest-Support-Services-Datasheet.pdf

(“When selecting an enterprise software provider, the strength and quality of its support services is

as important as the benefits of the products….[W]e strive to help you maximize your software

investment by offering a wide range of global support services to accommodate the varying needs

of your organization …. 24x7. Support is essential if you are performing critical IT operations

such as performance monitoring, data protection, identity management or security.”)

        47.         Under Section 6 of the SLSA, Quest is obligated to provide NIKE with

maintenance services during specified maintenance periods and for specified fees as set forth on an

applicable order form, which services include, inter alia, making available to NIKE software

product corrections, enhancements, and upgrades, providing technical/operational consultation

services, and providing technical support for Quest software products (defined in the SLSA as

“Maintenance Services”).

        48.         Section 6 of the SLSA also provides that “[a]t the end of each Maintenance Period

for a particular Licensed Software, Quest shall generate and deliver to Licensee an invoice to


 PAGE 24 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18    Page 25 of 84




renew Maintenance Services for the particular Licensed Software for an additional twelve-month

period. Licensee may elect not to renew Maintenance Services for the particular Licensed

Software on all or any Licensed Software by terminating maintenance in writing, in which case

Quest will no longer be responsible for providing maintenance for the particular Licensed Software

for which Licensee has terminated Maintenance Services.”

        49.         Section 6 of the SLSA also provides that “Quest may elect not to renew

Maintenance Services, but only in the event that that Quest is no longer maintaining the particular

Product for its customers generally. In the event Quest elects to terminate Maintenance Service for

a particular Software Product, Quest must provide Licensee with four (4) years written notice.”

        50.         Section 12 of the SLSA provides, in relevant part that “[p]rovided that Licensee

pays the underpayment as described above, Licensee shall not be deemed to be in breach of this

Agreement or of any licensing rights granted hereunder.”

        51.         NIKE has fully paid Quest for Maintenance Services from the signing of the

SLSA through the present date.

        52.         On December 28, 2017, Quest informed NIKE that it would not renew

Maintenance Services for Quest Software products licensed by NIKE. When NIKE protested

Quest’s refusal, Quest responded, on or about January 3, 2018, that “Nike is in the middle of an

active compliance verification process. Until that process is resolved, and Nike’s entitlement

becomes clear, Quest is not in a position to grant a renewal.”

        53.         Quest’s refusal to provide NIKE with Maintenance Services occurred after NIKE

had tendered to Quest full payment of all overdeployment amounts due to Quest under Section 12

of the SLSA.




 PAGE 25 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18     Page 26 of 84




        54.         As a result, Quest was not entitled to refuse to renew Maintenance Services for

NIKE, because NIKE had a contractual right to such Maintenance Services.

        55.         Quest’s refusal to renew Maintenance Services for NIKE was a material breach of

the SLSA by Quest.

        56.         Quest’s refusal to renew Maintenance Services for NIKE was a bad faith tactic by

Quest, intended to force NIKE to pay amounts not due to Quest under Section 12 of the SLSA.

        57.         As a result of Quest’s refusal to provide NIKE with Maintenance Services

required by Section 6 of the SLSA, Nike has been and will continue to be injured, including but

not limited to injury arising from lack of access to updates and enhancements necessary for the

optimal use of Quest Software, lack of protection against hacking, malware, and other outside

threats, and lack of support and troubleshooting for operational problems encountered during

operation of Quest Software.

        G.          Quest’s Bad Faith and Predatory Audit Practices

        58.         Upon information and belief, in or about November 1, 2016, Quest was sold by its

owner, Dell, to venture capital firms. Upon information and belief, the new management of Quest

sought to make the acquisition more profitable by undertaking a campaign to audit Quest licensees

and to assert bad faith and predatory positions against Quest licensees in the course of such audits,

with the goal of forcing licensees to pay settlements that substantially exceed Quest’s contractual

entitlement to payment under its license agreements.

        59.         Upon information and belief, Quest’s bad faith and predatory audit practices

against its licensees have included, but are not limited to: (a) substantially increasing the number

of audits of licensees; (b) in conducting audits, disregarding the contractual terms of its license

agreements regarding calculation of amounts due for overdeployment, and demanding grossly


 PAGE 26 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR           Document 29       Filed 05/31/18     Page 27 of 84




exaggerated and unjustified payments from licensees for overdeployment; (c) refusing to accept

payment or tender of payment by licensees for overdeployment that has been calculated by the

licensees in accordance with contractual terms; (d) demanding payment from licensees for uses of

freeware and trialware versions of Quest software, even where such payments are not required

under agreements between Quest and the licensees or the terms under which such versions are

made available to the public; (e) demanding overdeployment payments in excess of Quest’s

published licensing prices where licensees are alleged to have used license keys or other access

devices not provided by Quest to access licensed Quest software, even where such use is not

prohibited by Quest’s agreement with the licensee; (f) threatening and/or commencing claims

against licensees that assert damage claims under the Copyright Act or the Digital Millennium

Copyright Act for alleged licensee overdeployment, with knowledge that such claims are not

permitted and that Quest’s sole and exclusive remedy for overdeployment is payment by the

licensee of amounts due under the licensees’ agreements with Quest; and (g) in order to exert

coercive pressure on licensees to accede to Quest’s predatory demands for payment, refusing to

provide or renew Maintenance Services to those licensees, even though Quest is aware that such

refusals are breaches of the license agreement between Quest and its licensee, and that such

refusals damage the licensee by denying it necessary security and software upgrades.

        60.         At the time it filed the present action against NIKE, Quest was aware that its sole

and exclusive remedy for overdeployment determined during a licensee audit is payment of the

amounts due for overdeployment pursuant to its license agreement, and that it cannot maintain a

copyright infringement action for the same conduct. According to a decision in the action Quest

Software, Inc. v. DirecTV Operations, LLC , filed by Quest in the US District Court for the Central

District of California (Docket No. 8:09-CV-01232) and reported at 2011 WL 4500922 (C.D. Cal.


 PAGE 27 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29      Filed 05/31/18     Page 28 of 84




Sept. 26, 2011) (attached as Exhibit D), Quest sued DirecTV Operations , LLC (“DirecTV”) for

breach of contract and copyright infringement. Quest’s claims were based on DirecTV’s alleged

overdeployment of Quest’s software as allegedly revealed by Quest’s conduct of an audit of

DirecTV under the audit provision of the parties’ software license agreement. Similar to Quest’s

SLSA with NIKE, the terms of the Quest-DirecTV software license agreement provided that

overdeployment does not constitute an automatic breach, but instead permitted DirecTV to

overdeploy the software provided that it paid Quest for using the software beyond the scope of the

agreement as a “true-up.”

        61.         On September 26, 2011, the court granted DirecTV’s partial motion for summary

judgment and dismissed Quest’s copyright infringement claim, determining that the

overdeployment and “true-up” provisions of the Quest-DirecTV license agreements permitted

DirecTV to make use of Quest software above its licensed number of central processing units

(CPUs) and those provisions, are contractual covenants, not conditions, because they do not

concern the scope of the license but only the number of CPUs running Quest software.

Accordingly, Quest had at most a claim for breach of contract but could not assert copyright

infringement for overdeployment.

        62.         Upon information and belief, Quest has recently undertaken predatory audits

against other Quest licensees in addition to NIKE.

        63.         On November 28, 2017, Quest initiated an action in the US District Court for the

Western District of Washington against World Fuel Services Corporation (“WFSC”) (Docket No.

3:17-CV-05989) for breach of licensing agreements, copyright infringement, and violation of the

DMCA. Quest’s claims are based on WFSC’s alleged overdeployment of Quest’s software, as

allegedly revealed by Quest’s invocation of the audit provision of the parties’ software license


 PAGE 28 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
            Case 3:18-cv-00721-BR         Document 29       Filed 05/31/18      Page 29 of 84




agreement, as well as WFSC’s alleged use of “pirated” authentication keys in respect of Quest’s

software.

        64.         On March 27, 2018, Quest initiated an action in the US District Court for the

Western District of Texas against Electric Reliability Council of Texas (“ERCOT”) (Docket No.

1:18-CV-00262) for breach of licensing agreement and copyright infringement. Quest’s claims are

based on ERCOT’s alleged overdeployment of Quest’s software, as allegedly revealed by Quest’s

invocation of the audit provision of the parties’ software license agreement.

        65.         On May 7, 2018, Quest initiated an action in the US District Court for the Central

District of California (Southern Division) against HCL America, Inc. and Becton, Dickinson &

Company (Docket No. 8:18-CV-00800) for breach of contract and copyright infringement arising

out of a software licensing agreement and related agreements between the parties. Quest’s claims

are also based on defendants’ alleged overdeployment of Quest’s software.

        66.         Upon information and belief, Quest’s copyright infringement claims against

NIKE and its other licensees are asserted in bad faith and for predatory purposes because, as set

forth in the DirecTV decision, a licensee’s failure to pay Quest amounts due under a licensing

agreement for overdeployment of software may give rise to a breach of contract claim, but does

not permit assertion of a copyright infringement claim. Upon information and belief, Quest is

asserting copyright infringement claims against NIKE and its other licensees as part of its

predatory audit practices, in order to inflate its claimed damages and force its licensees into unfair

settlements.




 PAGE 29 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
               COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
               AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18     Page 30 of 84




                                       FIRST COUNTERCLAIM

                 (Declaration of the Parties’ Rights and Remedies Under the SLSA)

        67.         NIKE incorporates by reference the allegations contained in the preceding

paragraphs of these Counterclaims as though set forth in their entirety.

        68.         The facts as alleged above show that there is a substantial controversy between

plaintiff and defendant regarding the meaning and legal effect of the SLSA with respect to:

               a. whether the amount to be paid by NIKE for any overdeployment of Quest

                    Software is to be calculated on the basis of “unauthorized users” of such software,

                    as provided in Section 12 of the SLSA, or on the basis of the number of persons

                    with theoretical access to such software, as Quest maintains;

               b. whether such calculation of overdeployment is to include or exclude use by NIKE

                    of expired freeware and trialware versions of Quest Software, when the SLSA

                    does not require NIKE to pay for use of such versions;

               c. whether NIKE is required to pay interest to Quest on amounts due to Quest under

                    Section 12 of the SLSA, when the SLSA does not provide for payment of interest

                    for amounts due for overdeployment;

               d. whether NIKE is required to pay any “multiplier” to Quest for a software license

                    included in an overdeployment calculation where the Quest Software has

                    allegedly been accessed through a license key or other device not provided by

                    Quest, where the SLSA does not provide for any such multiplier;

               e. whether Quest has waived any rights and remedies with respect to NIKE’s

                    overdeployment of Quest Software, including claims for copyright infringement




 PAGE 30 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR           Document 29       Filed 05/31/18     Page 31 of 84




                    and violation of the Digital Millennium Copyright Act, other than the right to be

                    compensated in accordance with Section 12 of the SLSA; and

               f. whether Quest may withhold or refuse to provide NIKE with Maintenance

                    Services or renew such Maintenance Services as required by Section 6 of the

                    SLSA, under the circumstances alleged above.

        69.         The parties have adverse legal interests with regard to this controversy of

sufficient immediacy and reality to warrant the issuance of a declaratory judgment.

        70.         The declaratory judgment sought herein may be made by the Court as a matter of

law, based solely upon the provisions of the SLSA, attached hereto as Exhibit A, and applicable

law.

        71.         The declaratory judgment sought herein will resolve, clarify and settle the

respective rights and obligations of the parties, and permit them to resolve any remaining disputes

without further litigation and use of the Court’s time and resources.

        72.         The Court should therefore issue an order declaring, determining and adjudging

that under the SLSA:

               a. NIKE’s obligation to pay Quest for overdeployment of Quest Software is to be

                    calculated on the basis of actual unauthorized users of that Quest Software;

               b. NIKE is not required to pay Quest for use by NIKE of freeware or trial versions

                    of Quest Software;

               c. NIKE is not required to pay interest to Quest on amounts determined to be owed

                    by NIKE to Quest for overdeployment of Quest Software under Section 12 of the

                    SLSA;




 PAGE 31 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR           Document 29        Filed 05/31/18     Page 32 of 84




               d. In calculating any amounts due to Quest for overdeployment of Quest Software,

                    the license price to be used for the calculation is the negotiated fee applicable to

                    the particular software program, whether or not the license key or other device

                    used to gain access to that program was supplied by Quest;

               e. Quest’s sole and exclusive remedy for overdeployment (including that involving

                    trialware, freeware, and license keys and other access devices not provided by

                    Quest) is payment by NIKE of amounts determined in accordance with Section 12

                    of the SLSA; and

               f. Quest is required to provide and renew Maintenance Services to NIKE in

                    accordance with Section 6 of the SLSA.

                                       SECOND COUNTERCLAIM

                                           (Breach of Contract)

        73.         NIKE incorporates by reference the allegations contained in the preceding

paragraphs of these Counterclaims as though set forth in their entirety.

        74.         On November 1, 2001, NIKE and Quest entered into the SLSA, which is binding,

enforceable, and remains in effect to this day.

        75.         NIKE has performed all of the conditions, covenants, and promises required to be

performed by it in accordance with the terms and conditions of the SLSA. Pursuant to Section 12

of the SLSA, NIKE is not in breach of the SLSA with respect to overdeployment of Quest

software because NIKE has offered to pay to Quest all amounts due under Section 12.

        76.         Under Section 6 of the SLSA, Quest is obligated to provide Maintenance Services

for the software products licensed to NIKE under the SLSA.




 PAGE 32 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR          Document 29       Filed 05/31/18     Page 33 of 84




        77.         Under Section 6 of the SLSA, Quest “may elect not to renew Maintenance

Services, but only in the event that Quest is no longer maintaining the particular Product for its

customers generally.”

        78.         Upon information and belief, Quest continues to provide Maintenance Services

for all software products licensed to NIKE to its customers generally.

        79.         Section 6 of the SLSA provides that “[i]n the event Quest elects to terminate

Maintenance Services for a particular Software Product, Quest must provide Licensee with four (4)

years written notice.”

        80.         Quest has not provided NIKE with four (4) years written notice of termination of

Maintenance Services for any software products licensed to NIKE.

        81.         Quest has refused, and continues to refuse, to provide and renew Maintenance

Services for NIKE in respect of software products licensed to NIKE.

        82.         Such refusal constitutes a material breach by Quest of the SLSA.

        83.         As a result of Quest’s breach of the SLSA, NIKE has been, and will continue to

be damaged, as alleged above.

        84.         NIKE is entitled to recover damages from Quest for said breach, in an amount to

be determined at trial.

                                      THIRD COUNTERCLAIM

                  (Breach of the Implied Covenant of Good Faith and Fair Dealing)

        85.         NIKE incorporates by reference the allegations contained in the preceding

paragraphs of these Counterclaims as though set forth in their entirety.

        86.         Oregon law implies a covenant of good faith and fair dealing into every contract.




 PAGE 33 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
              COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
              AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
           Case 3:18-cv-00721-BR           Document 29       Filed 05/31/18    Page 34 of 84




        87.         Quest’s demand that NIKE pay amounts not due to Quest under Section 12 of the

SLSA before Quest will provide and renew Maintenance Services to NIKE constitutes a bad faith,

willful rendering of imperfect performance of Quest’s obligations under the SLSA, and is designed

solely to be punitive to NIKE.

        88.         Quest’s refusal to provide and renew Maintenance Services to NIKE is a material

breach of the implied covenant of good faith and fair dealing of the SLSA as it has unfairly

frustrated the agreed common purpose of the SLSA, and has interfered with and prevented NIKE

from obtaining the benefit of its bargain under the SLSA.

        89.         As a direct and proximate result of Quest’s substantial and material breach of the

implied covenant of good faith and fair dealing in connection with the SLSA, NIKE has incurred,

and will continue to incur, actual and significant damages in an amount to be determined at trial.

                                         PRAYER FOR RELIEF

         WHEREFORE, NIKE requests that the Court:

          A.        Enter judgment in favor of NIKE in this action, and against Quest, dismissing

 Quest’s Complaint in its entirety, with prejudice, and deny Quest all requested relief;

          B.        Enter judgment in favor of NIKE, and against Quest, on NIKE’s Counterclaims,

 and award such compensatory damages as the trier of fact may determine;

          C.        Issue the declaratory judgment prayed for in the First Counterclaim;

          D.        Award NIKE its attorney’s fees and costs incurred in this litigation, as permitted

 under 17 U.S.C. § 505, and interest as permitted by law; and

          H.        Grant NIKE all other and further relief that the Court deems appropriate.




 PAGE 34 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
               COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
               AND DEMAND FOR JURY TRIAL
 96948958.3 0063718-00259
          Case 3:18-cv-00721-BR   Document 29   Filed 05/31/18      Page 35 of 84




Dated: May 31, 2018                       Respectfully Submitted,

                                          s/ B. John Casey
                                          B. John Casey, OSB No. 120025
                                          john.casey@stoel.com
                                          STOEL RIVES LLP
                                          760 SW Ninth Avenue, Suite 3000
                                          Portland, OR 97205
                                          Telephone: (503) 224-3380
                                          Facsimile: (503) 220-2480

                                          Andrew L. Deutsch, CSB No. 319286
                                          andrew.deutsch@dlapiper.com
                                          Admitted pro hac vice
                                          DLA PIPER LLP
                                          2000 Avenue of the Stars
                                          Los Angeles, CA 90067
                                          Telephone: (310) 595-3000
                                          Facsimile: (310) 595-3030

                                          Francis W. Ryan, NYB No. 2684058
                                          frank.ryan@dlapiper.com
                                          Admitted pro hac vice
                                          Kerry A. O’Neill, NYB No. 5143995
                                          kerry.oneill@dlapiper.com
                                          Admitted pro hac vice
                                          DLA PIPER LLP
                                          1251 Avenue of the Americas
                                          New York, NY 10020
                                          Telephone: (212) 335-4850
                                          Facsimile: (212) 335-4501

                                          Attorneys for Defendant /Counterclaimant
                                          NIKE, Inc.




PAGE 35 - DEFENDANT AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND
             COUNTERCLAIMS TO COMPLAINT FOR COPYRIGHT INFRINGEMENT
             AND DEMAND FOR JURY TRIAL
96948958.3 0063718-00259
Case 3:18-cv-00721-BR   Document 29   Filed 05/31/18   Page 36 of 84




                   Exhibit A
                                   Case 3:18-cv-00721-BR                      Document 29               Filed 05/31/18             Page 37 of 84
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              NIKE, lnc.
                    *



              DATE                      This Agreement is made this lStday of November, 200 1,


                                                                                  by and between:


              PARTIES

                                        Licensee and Customer:NIKE, Inc., a corporation organized and existing
                                        under Oregon law, having a principal place of business at One Bowerrnan
                                        Drive, Beaverton, Oregon 97005-6453, on behalf of NIKE, Inc. and its
                                        Affiliates (hereinafter referred to as "NIKE" or "Licensee").
                                                                                  ,
                                                                                  .   -
                             and

                                        Licensor and Service Provider: Quest Software, Inc., a corporation
                                        organized and existing under California law, having a principal place of
                                        business at 800 1 Irvine Center Drive, Irvine, CA 926 18 (hereinafter referred
                                        to as "Quest" or "Licensor.")

                                                                                          RECITALS
              WHEREAS:

              A.             NIKE is engaged in the design, development, manufacture, distribution and sale of footwear, apparel, accessories,
                             athletic equipment, and their components and related products;
              B.             NIKE wishes to acquire software applications and services from Quest;
 I            C.             Quest is the developer of and exclusive owner of, andfor has the right to license to others, a series of computer
                             software programs;
              D.             Quest wishes to grant to NIKE and NIKE wishes to accept from Quest, the right to use the software.


              NOW, THEREFORE,                         in consideration of the foregoing and the promises contained herein, the Parties agree:

              1. Definitions.
              Section numbers and exhibit numbers refer to the sections and exhibits of this Software License and Service Agreement. Unless otherwise defined herein,
              terms that are capitalized in this Agreement shall have the meanings set forth below :


              1.1 "AGliate" means, as to either Party,any company controlled by, controlling, or under common control with Party.
              1.2 "Agreement" means this Software License and Service Agreement dated November 1,2001 between Licensee and Quest.
              1.3 "Agreement Effective Date" means the date set forth on the cover page of this Agreement.
              1.4       "Deliverablesn means products, goods, or property (including intellectual property) produced by Quest in connection with or incidental to the
                        Services.

              Software License and Service Agreement (dated 11/1/2001)                                                                   Page 1 of 8
              Quest Software, Inc.MIKE, Inc.




                                                                                                                            Exhibit A - Nike Answer/Counterclaims
                                                                                                                                                     Page 1 of 25
                   !L
                                      Case 3:18-cv-00721-BR                        Document 29                   Filed 05/31/18            Page 38 of 84
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        ,'.-       NIKE, Inc.
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                   15 "D~umcntation"means published materials that describe the features of or functions of the Software Product, or of any Customization or Upgrade
                          to the Sothare Product, in sufficient detail to permit their use, including but not limited to reference guides, user or technical manuals.
                   1.6 "Educational Materials" means those training materials which may be included with shipment of Software Products or which Licensee may from
                       time to time order from Quest.
                   1.7 "Enterprise" means NIKE, Inc. and NIKE's Affiliates regardless of location of operation.
                   1.8    "Global" means pertaining to the worldwide operations of Licensee without geographical restriction.
                   1.9 "Licensee" means NIKE, Inc. or the particular Affiliate of NIKE, Inc. which is a party to a duly executed Order Form under this Agreement.
                   1.10 "Licensed Software" means the particular Software Product or Products which Licensee is licensing from Quest pursuant to this Agreement, as
                          specified on a duly executed Order Form.
                   1.11 "Maintenance Period" means the one year period beginning on the date of the first invoice for the Licensed Software or from the conclusion of any
                          previous maintenance period ljrovided that Licensee is current on all fees due.
                   1.11.1      "Maintenance Servicesn means the Services described in Section 6, Services, in this Agreement.
                   1.12 "NIKE Site" means any one of the buildings, plants, facilities, or remote locations where Licensee or a Licensee Affiliate regularly conducts
                          business, regardless of geographical location.
                   1.13 "Grder Effective Date" means the date on which an Order Ennn is executed by both Parties.
                   1.14 "Order Form" means t'lz Quest oidering document (each of which will be attached hereto as Ewhibit A-l and so orr).which is signed by both parties
                          and incorporates this Agreement by reference and in which the Parties list the specific Software Products andlor Services (including applicable
                          pricing) being ordered by Licensee pursuant to this Agreement.
                   1.15 "Party" means NIKE or Quest (collectively, ? h e Parties.")
                    1.16 "Platform" means the computer hardware configuration and operating system specified in the applicable Order Form.
                   1.17 "Server" means a computer or workstation on a NIKE Site where the Licensed Software is installed.
                    1.18 "Servicesn means Maintenance Services and other services rendered hereunder by Quest for Licensee.
                    1.19 "Software Productn means any computer program offered by Quest.
                    1.20 "Source Code" means, for any Licensed Software product, (a) a complete copy of the source code files, link list object files, data base files, existing
                         documentation, @) identification, including name and version number, of the too1 or tools used to translate Source Code into machineexecutable
                         code, and (c) or such other information as is necessary for a reasonably skilled programmer or analyst to understand and maintain the software
                         programs constituting the Licensed Software in the versions licensed to Licensee under this Agreement.
                    131 "Upgrade" means any new Release or new Version, as those terms are defined in Section 6.
                    1.22 "Users" means employees of Licensee and persons or entities under contract to perform services For Licensee and Affiliates of Licensee, provided
                          that, to the extent Licensee makes the Licensed Software available to third parties, Licensee shall be responsible for the compliance of all such
                          individuals with this Agreement.
                    1.23 "Warranty Period" means, as to any Licensed Software Product, the ninety (90) day period commencing on the Order Effective Date.




                                                                                                            C.    use the Educational Materials for the express purpose of
                                                                                                                  providing internal training, only to Users concerning
                         2    Scope of License.                                                                   Quest products.
                         2.1 License Grant. Quest hereby conveys to Licensee a non-
                                                                                                            This license consists of the right, for each copy of the Licensed
                             exclusive, non-transferable, non-sublicensable, perpetual,
                             Ghobal license to:                                                             Software that Quest is obligated to deliver in accordance with
                                                                                                            the applicable Order Form, to install, use, access, run, or
                              A.    install, integrate, implement, test, and operate, and use               otherwise interact with such copy on a single computer at a
                                    the Licensed Software; and                                              time, in and for Licensee's own purposes and business
                                                                                                            operations, in accordance with the related Documentation,
                              B, use the Documentation for purposes of supporting use of                    subject, however, to any restrictions set forth on the applicable
                                    the Licensed Software; and                                              Order Form (such as Tier restrictions). The computer on which
                                                                                                            the Licensed Software is installed may be located (a) at a NIKE
                                                                                                            Site; or (b) on the site of a third party service provider which is
                                                                                                            operating the Licensed Software for Licensee's benefit. The
                    Software License and Service Agreement (dated 11/1/2001)                                                                        Page 2 of 8
                    Quest Software, Inc./NIKE, Inc.




                                                                                                                                    Exhibit A - Nike Answer/Counterclaims
                                                                                                                                                             Page 2 of 25
        Case
NIKE, Inc.            3:18-cv-00721-BR                  Document 29           Filed 05/31/18              Page 39 of 84


     license grant also includes the right to use Quest technical      4. Expanding the License Scope.
     training materials in connection with Quest training Services
     provided hereunder. No other use is permitted. If the license     Licensee and its Affiliates may expand the scope of the licensing
     fee for the Licensed Software is determined by reference to a     rights granted hereunder to (a) include additional Software Products,
     tier, then the Licensed Software may be transferred from one      or to (b) allow additional use of the existing Licensed Software, in
     computer to ano,ther computer within the same Tier at no          either case by submitting a signed Order Form to Quest and Quest
     additional cost. If Licensee transfers such Licensed Software     shall accept such order by countersigning the Order Form.
     to another computer of a higher Tier than the Tier indicated in
     the Order Form, Licensee shall become obligated to pay to
     Quest an additional license fee for such Licensed Software        5. Deleted by Agreement of the Parties.
     based on the difference between Quest's then discounted
     license fee for the originally licensed Tier and its discounted
     license fee for the Tier to which such Licensed Software is       6. Services.
     transferred.                                                      During any Maintenance Period and for the fees as set forth on the
     Restrictions on Use. Quest reserves any rights in the Licensed    applicable Order Form, Quest shall provide the Maintenance
     Software not expressly granted to Licensee and retains title      Services as described in this Section. Quest may, from time to time,
     and full ownership rights under the copyright laws of the         request dial-in access to Licensee's system, as necessary to perform
     United States or any other jurisdiction or under any federal,     Maintenance Services, and Licensee may grant such dial-in access at
     state or foreign laws. Except as provided herein and in           Licensee's sole discretion. Quest's ability to provide some
     Section 7, Quest is not obligated to provide and Licensee         Maintenance Services will be impaired without dial-in access to
     acquires no right of any kind with respect to any source code     Licensee's system. Acthe end of each Maintenance Period for a
     for the Licensed Software. Licensee shall naf nor pcrmlt any      particular Licensed Sdttware, Q ~ e sshall
                                                                                                             t generate and deliver t~
     third party to (a) disassemble, decompile, or reverse engineer    Licensee an invoice to renew Maintenance Services for the
     the Licensed Software or @) modify, enhance, or prepare           particular Licensed Software for an additional twelve-month period.
     derivatives of the Licensed Software; or (c) distribute,          Licensee may elect not to renew Maintenance Services on all or any
     sublicense, loan, or otherwise transfer the Software Product or   Licensed Software or by terminating maintenance in writing, in
     any component thereof to third parties other than Amliates.       which case Quest will no longer be responsible for providing
                                                                       maintenance for the particular Licensed Software for which Licensee
2.3 Copies. Quest shall provide the number of copies of the            has terminated Maintenance Services. Quest may elect not to renew
    Licensed Software and of the Documentation specified on the        Maintenance Services, but only in the event that Quest is no longer
    Order Form. Licensee may make one copy (in machine-                maintaining the particular Product for its customers generally. In the
    readable form only) of each copy of the Licensed Software          event Quest elects to terminate Maintenance Service for a particular
    solely for backup or disaster rewvety purposes, provided that      Software Product, Quest must provide Licensee with four (4) years
    any proprietary legends are reproduced.                            written notice. In the event that maintenance has lapsed, Licensee
                                                                       shall have the right to reinstate Maintenance Services upon payment
                                                                       of all past maintenance fees calculated in accordance with Exhibit B,
3. Delivery                                                            Pricing, which is attached hereto and is hereby incorporated into this
Quest shall deliver the Licensed Software as set forth in the Order    Agreement by this reference. Maintenance Services shall include
Form.                                                                  the following:

                                                                            Quest shall make Software Product corrections, enhancemen&
                                                                            and upgrades available to Licensee if and when it makes them
                                                                            generally available to its maintenance subscribers.
                                                                            Quest shall respond to unlimited communications from
                                                                            Licensee that report software failures.
                                                                            Quest shall respond to a reasonable number of communications
                                                                            from Licensee's Technical Coordinators that request
                                                                            consultation on the operationalltechnicalaspects of the
                                                                            Software.
                                                                            For all Software other than SQL Navigator and TOAD, Quest's
                                                                            support service shall be available via telephone or email on
                                                                            business days between the hours of 5:00 a.m. and 5:OOp.m.
                                                                            PSTPDT. During those hours, Quest shall respond to inquiries
                                                                            within four (4) hours of receipt of such inquiries. For the SQL
                                                                            Navigator and TOAD Software, Quest's support service shall be
                                                                            available via email or the Internet on business days between the
                                                                            hours of 5:OOa.m. and 5 0 0 p.m. PSTJPDT. During those hours,
                                                                            Quest shall respond via email to inquiries within twenty-four
                                                                            (24) hours of receipt.
                                                                            For all Live-Reorg software licensed by Quest to Licensor,
                                                                            Maintenance Services also include 24x7 Severity Level 1
                                                                            support, after-hours phone support 365 daysfyear.

                                                                       Additional details of the Maintenance Services described above are
                                                                       included in the 'Quest Software Technical Support User Guide'

Software License and Service Agreement (dated 1 1/1/2001)                                                           Page 3 of 8
Quest Software, Inc./NIKE, Inc.




                                                                                                  Exhibit A - Nike Answer/Counterclaims
                                                                                                                           Page 3 of 25
         ,... NIKE, Inc.Case 3:18-cv-00721-BR                       Document 29            Filed 05/31/18               Page 40 of 84

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            which is attached hereto as Exhibit C and is hereby incorporated        8.4 Payment Terms. Licensee shalt make all payments in U.S.
            into this Agreement.                                                        dollars. Payments shall be due thirty (30) days after Licensee's
                                                                                        receipt of a proper invoice.
            7. Source Code Escrow.
                                                                                    9. Performance Warranty.
            Quest agrees to maintain Licensee as a subscriber to Quest's            9.1. Limited Warranty. Quest warrants that during the Wmanty
            standard third-party source code escrow account holding a current            Period: (a) The Licensed Software shall conform in all material
            version of the source code for the Licensed Software during the              respects with Quest's Documentation; and @) the material of
            Maintenance Period for such Licensed Software. Such escrow                   the media on which the Licensed Software is delivered shall be
            account will provide fot instructions for release of one copy of the         free from material defects in materials and workmanship under
            source code for such Licensed Software to account subscribers in             normal use which is consistent with Documentation.
            good standing in the event of a Release Condition (as defined
            below), whereupon Licensee shall have a nonexclusive right to use       9.2. Remedy for Nonconformity. If during the Warranty Period, the
            and make working copies of the Source Code and Documentation                 Licensed Software does not wrform in accordance with the
            for the purposes of supporting and maintaining the Licensed                  Documentation, Licensee shall notify Quest in writing,
            Software for its use as permitted under this Agreement. The Source           specifying in reaonable detail the reason for the claimed
            Code shall be deemed Licensor's confidential information subject to          breach, as soon as practicable after discovery of the breach.
            the nondisclosure provisions of the Agreement. A "Release                    Quest shall then, at its own expense, repair, replace, or make
            Condition" shall occur if at any time during the term of the                 such corrections to the Licensed S o h a r e as are necessary to
            Agreement, Licensor files a petition of bankruptcy, :crminaiqs its           cure the deficiency, Quest shall notify Licensee when such
            business operations, or ceases to make Maintenance Services                  corrections have been completed, and the Warranty Period shall
            generally available to licensees of snch Licensed Software, unless           be extended for a period of time equal to the interval in which
            within a sixty (60) day period, Quest provides to Licensee adequate          the Licensed Software was nonconforming or defective and not
            assurances, reasonably acceptable to Licensee, of its continuing             available for Licensee's use. Licensee's exclusive remedy, and
            ability and willingness to fulfill all of its maintenance and support        Quest's sole obligation, for any such breach of warranty shall be
                                                                                         for Quest to replace the defective media and to correct or
            obligations hereunder.                                                       provide a workaround for reproducible errors that cause a
                                                                                         breach of the warranty within a reasonable time considering the
            8. Fees and Payment Terms.                                                   severity of the error and its effect on Licensee, or, if repair or
                                                                                         correction is not possible Licensee can elect to terminate the
            8.1 Feesllnvoices. The pricing, discount, and other provisions,              license for that particular Software Product and, upon de-
                terms, and conditions set forth in Exhibit B, Pricing, shall be          installation and return of the Licensed Product by Licensee to
                effective throughout the term of this Agreement. The fees set            Quesc Quest shall refund the license fees paid for the
                forth in the applicable Order Form (s) shall reflect the pricing         nonconforming Licensed Software.
                and discount provisions of Exhibit B and be full payment for
                (a) licensing of and first year of Maintenance Services for the     9.3. Remedy for Defective Media. If during the Warranty Period,
                Software Product or Products designated; and (b) the training            the material of the media on which the Licensed Software is
                and installation Services indicated (if any).                            defective, Licensee shall notify Quest and Quest shall promptly
                                                                                         repair or replace the media.
            8.2   .Additional Pro=.       In the event that Licensee expands the
                  scope of the license to include (a) additional licensed use or
                  (b) additional products, as described in Section 4, the fee
                  applicable to such software orders shall be as set forth in       10. Warranty of Title.
                  Exhibit B, Pricing. Order Forms shall be unenforceable to the     10.1 Non-infringement. Quest represents and warrants that it owns
                  extent they contain pricing terms inconsistent with Exhibit B,         or has the absolute right to license, or otherwise grant the rights
                  Pricing, and shall be automatically revised to reflect the             in the Licensed Software conveyed to Licensee herein, and that
                  agreed pricing set forth in Exhibit B.                                 neither the Licensed Software nor any Customizations or
            8.3   m.The fees specified in this Agreement do not include                  Upgrades, infringes any patent, copyrights, or other
                                                                                         intellectual property right of, or misappropriates the trade
                  taxes, duties or fees. Licensee shall pay or reimburse Quest           secrets of, any person or entity.
                  for any sales, use, property, value-added, withholding and
                  other taxes, and all customs or other duties, and any import,     10.2 Defense and Indemnity. Quest shall defend Licensee and
                  warehouse or other fees, associated with the importation or            Licensee's officers and directors, agents, and employees, and
                  delivery based on the Software Products licensed or Services            Licensee's Affiliates and the officers, directors, agents, and
                  provided in this Agreement or use of the Software Products or          employees of Licensee's Affiliates, against any claim or legal
                  Services by Licensee or the Enterprise which are imposed               action brought by a third party arising out of a claim of
                  upon Quest in connection with this Agreement. Quest is                 infringement of a patent, copyrights, or other intellectual
                  solely responsible for paying or otherwise discharging (a) any         property rights, or misappropriation of trade secrets by
                  taxes imposed upon Quest based upon Quest's net income or              Licensee arising as a result of use of the Software Products by
                  assets; or (b) sales and use taxes for which Licensee has              the Enterprise in accordance with the terms and provisions of
                  provided a valid tax exemption certificate within sixty (60)           this Agreement. Quest shall indemnify and hold harmless such
                  days of the Agreement Effective Date; or (c) payroll taxes in          parties against any expenses, liabilities, costs, settlements or
                  respect of Quest's employees.                                          judgments, including attorneys fees at trial and at appeal, in
                                                                                         connection with any such third party claims or actions.
                                                                                         Licensee agrees to notify Quest in writing of such claim or suit
                                                                                         promptly after the pleading, demand letter, or other notice is
            Software License and Service Agreement (dated 11/1/2001)                                                               Page 4 of 8
            Quest Software, Inc.MIKE, Inc.




                                                                                                                Exhibit A - Nike Answer/Counterclaims
                                                                                                                                         Page 4 of 25
                              Case 3:18-cv-00721-BR                        Document 29             Filed 05/31/18              Page 41 of 84
         ....   NIKE, Inc.
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                      sewed upon Licensee. Quesrs indemnificationobligation
                      shall only extend to those claims where Quest has sole control       b. Disclaimer. Quest does not warrant that the operation of the
                      of the defense, investigation andfor settlement thereof;             Licensed Softwan will be uninterrupted or enor-free.
                      provided however, that Quest shall not enter into any
                      settlement that obligates Licensee to incur any expense              11.1 Pending litigation. Quest represents and warrants that as of the
                      without Licensee's prior written consent, andfirther                      Agreement Effective Date, thcre are no actual, threatened, or
                      provided, that Licensee shall have the right to be represented            pending legal actions which would have an adverse affect on
                      at its own expense by independent counsel of Licensee's own               Quest's performance of this Agreement.
                      choosing in connection with such claim or suit. Licensee
                      shall, at the expense of Quest, cooperate with Quest in              11.2 The foregoing warranties set forth in Sections 9, 10 & 11
                      defense of such suit.                                                     herein shall be the only warranties provided by QUEST AND
                                                                                                QUEST EXPRESSLY DISCLAIMS ALL OTHER
                 10.4 Limitation. Notwithstanding the foregoing, Quest has no                   WARRANTIES, EITHER EXPRESS OR IMPLIED,
                      obligation to indemnify Licensee in connection with claims of             NCLUDING BUT NOT LIMITED TO IMPLIED
                       infringement or misappropriation, to the extent such claims (i)          WARRANTIES OF MERCHANTABILITYAND FITNESS
                      arise out of any modification of the System other than one                FOR PARTICULAR PURPOSE.
                      developed by or on behalf of Quest; (ii) arise out of use of a
                      bundled product of which the Licensed Software is a
                      component (except to the extent that the product is bundled          12. Audit.
                      by Quest), if the Licensed Software alone would not have
                      been infringing; or (iii) are the direct result of the use by       Quest shall have the right to perform, or cause an independent
                      Licensee of software not supplied by Quest Furthermore, if          accounting firm to perform, at Quest's sole expense, an audit to
                      Quest has notified License in writing that the Licensed             verify that Licensee is using thc Licensed Software in compliance
                      Software may be the subject of an infringement or                   with this Agreement; provided, however that if the Licensed Software
                      misappropriation claim, and has (a) provided Licensee with          is installed at a third party Site, Licensee shall make reasonable
                      an Upgrade which is a non-infringing version providing the          efforts to facilitate an audit. Any such audit shall be conducted upon
                      same, or greater, functionality and performance, and (b)            prior notice of not less than thirty (30) days to a) the person
                      provided at Quest's own expense Training (if necessary) for         designated in the applicable SoftwareOrder; and b) the Licensee IT
                      the Upgrade, and Licensee does not promptly replace all             Department and c) the Licensee Legal Department. Any such audit
                      copies of the infringing version of the Licensed Software with      shall be performed during ordinary business hours at a Site approved
                      the non-infringing version, then Quest shall have no                by Licensee, subject to reasonable security and access restrictions.
                      obligation to indemnify Licensee pursuant to this Section 10        Licensee shall be permitted to have Licensee personnel present
                      to the extent the infringement or misappropriationclaim             during the audit. In the event that an audit conducted as set forth
                      relates to Licensee's use of the infringing Licensed Software       herein discloses that Licensee has caused or permitted access to or
                      after delivery of the non-infringing version.                       use of the System by persons or entities that are not authorized under
                                                                                          the terms of this Agreement to such use or access, Licensee shall pay
                                                                                          Quest the underpayment, in the amount of the negotiated fee
                                                                                          applicable to the particular Software Product or Product to which
                11. General Warranties.                                                   unauthorized access was permitted, for all such unauthorized users.
                The following warranties shall be in effect for the entirc term of this   Provided that Licensee pays the underpayment as described above,
                Agreement, except where noted otherwise.                                  Licensee shall not be deemed to be in breach of this Agreement or of
                                                                                          any licensing rights granted hereunder. Audits shall be initiated no
                a. No surrepfifiouscode. Quest represents and warrants that:
                                                                                          more often than once every eighteen months and each audit shall be
                     i. No self-help code. The Licensed Software contains access          completed within forty-five (45) days of Licensee's receipt of notice.
                     code, to which Licensee will be given the access key, but no
                     other code that is designed to disable the Software, or any          13. Export.
                     feature or component thereof or to disable any feature or
                     component thereof after passage of a particular period of            Subject to the restrictions set forth below, Licensee shall have the



                                                                                                                                                                      k
                     time.; and                                                           right to use the System at Licensee Sites outside the United States.
                                                                                          Licensee may, but shall not be required to, deliver the Licensed
                     ii. No unauthorized code. At the time of delivery the                Software to locations outside the United States in order to exercise
                     Licensed Software does not (and during any Maintenance               such right. In the event Licensee wishes to use the Licensed
                     Period, the Licensed Software and any Upgrade shall not)             Software outside the United States, Licensee shall provide Quest
                     contain any Trojan horses, traps, worms or other software            with written notice identifying the person or entity, and the location
                     routines which might                                                 where the Licensed Software is to be used, whereupon Quest shall
                                                                                          promptly deliver the Software to the specified individuals or entity at
                           A. erase or alter the Licensed Software, or erase,             the specified location. Quest represents and warrants that any
                                 corrupt or alter any of Licensee's files, data, or       delivery by Quest of the Licensed Software, or any other System
                                 other software, or harm in any way the hardware or       components, to Licensee shall be in compliance with all applicable
                                 related components; or                                   local, state, federal, and international laws, treaties, regulations, and
                                                                                          ordinances; and in particular, that delivery shall comply with the U.S.
                           B. permit access to, or extract or collect data, from          Department of Commerce Export Administration Regulations. Both
                                 any Licensee systems; or                                 parties agree not to export or reexport the Licensed Software or the
                                                                                          Documentation and Quest shall not be obligated to deliver Software or
                           C. perform any functions other than those specified in         Documentation, to any country to which the United States has
                                the Documentation.                                        embargoed goods, to anyone on the U.S. Treasury Department's list of
                                                                                          Specially Designated Nationals or the U.S. Commerce Department's
                Software License and Service Agreement (dated 11/1/2001)                                                                   Page 5 of 8
                Quest Software, Inc.MIKE, Inc.




                                                                                                                        Exhibit A - Nike Answer/Counterclaims
                                                                                                                                                 Page 5 of 25
NIKE, Inc.
        Case           3:18-cv-00721-BR                   Document 29            Filed 05/31/18               Page 42 of 84


Table of Denial orders, or to any country for which the United States           performing this Agrcemenf whether through an intentional
Export AdministrationAct, or any similar United States law or                   communication or transmission, or through inadvertent
ngulation rcquires an export license or other U.S. Government                   disclosure. This list shall not be treated exhaustive, and
approval, unless the appropriate export license or approval has fist            protectible information shall include such information as
been obtained. Quest shall be responsible for filing applications for           Licensee may, from time to time, classify as proprietary or
and obtaining all such licenses and approvals prior to delivering the           confidential and in general any other information which
Licensed Software or Documentation to a destination that requires               Licensee makes reasonable efforts to protect from disclosure,
such steps to be taken;provided, however, thd Licensee shall pay or             and which derives independent economic value from not being
reimburse Quest uponrequest for any and all expenses incurred by                generally known. Quest shall protect Licensee's proprietary
Quest in connection with the performance of its obligations under this          and confidential information from disclosure with the same
Section 13. In no event shall Licensee incur additional license fees            degree of care that it would exercise in protecting its own
or "uplift" charges in connection with use of the Licensed Software             information that it does not wish to be disclosed to the public,
outside the United States; provided, however, that Licensee shall,              and at a minimum, with reasonable care. In particular, Quest
upon prior notice from Quest, pay any taxes, tariffs, or export fees            shall (a) refrain from divulging confidential information to
that may be validly imposed upon Quest by a government properly                 third parties and protect electronic files and other media on
asserting jurisdiction, in order for Quest to effect the deliver                which such information is stored from unauthorized access by
abroad. Quest shall reasonably assist Licensee in obtaining such                third parties under the control of Quest; and (b) instruct any
permits, licenses, or certifications as may be required by the                  Quest employee, contractor, agent, or representative who may,
destination country, in order to use the Licensed Software at                   in the course of conducting Quest's business, have access to
Licensee Sites outside the USA, at Licensee's expense. Licensee                 Licensee's confidential information, to refrain from divulging
shall (A) make best efforts to comply with all the legal requirements           such information to any person without Licensee's prior
estnblished under applicable export controis; and (B) cooperdte with            written approval.
Quest in any official audit or inspection by governmental agency
that relates to applicable export controls.
                                                                          15. Publicity Restrictions.
14. Non-disclosure Obligations.                                           Quest shall not (i) use Licensee's name, nor any Licensee trade name,
                                                                          logo, trademark, or service mark, whether registered or not, or the
Each Party acknowledges that performany of this Agreement may             name, assumed business name, trade name, logo, trademark, or
give it access to information disclosure of which would cause             service mark, whether registered or not, of any Licensee affiliate,-in
substantial or irreparable harm to the other Party.                       connection with publicity, advertisements, promotion or in any other
14.1 Quest's confidential information. Quest's "Confidential              connection, or (ii) identify Licensee in any manner on Quest's
     Information" means Software, source code, object code,               customer list or its web site (or on any third party web site identifying
     documentation and any proprietary tools, knowledge, or               Quest), or (iii) disclose to any third party the existence of this
     methodologies disclosed by Quest to Licensee under this              Agreement or the monetary value of this Agreement unless so
     Agreement. Licensee shall observe complete confidentiality           required by a court or govkmment agency i f competentjurisdiction.
     with respect to the Confidential Information, and shall take all     Quest shall indemnify Licensee for reasonable costs and expenses,
     reasonable steps to protect the Confidential Information from        including attorneys' fees, incurred in connection with enforcing the
     any use, reproduction, publication, disclosure., or distribution     provisions of this Section 15.
     except as specifically authorized by this Agreement.
     Licensee shall promptly notify Quest of any known
     unauthorized use or disclosure of the Confidential                   16. LIMITATION OF LIABILITY.
     Information and will cooperate with Quest at Quest's expense
     in any litigation brought by Quest against third parties to          Except for Quest's obligations under Sections 10.2, 14 and 15, and
                                                                          Licensee's obligations under Sections 2 &14, in no event shall the
     protect its proprietary rights.
                                                                          liability of either Party for money damages arising under this
                                                                          Agreement exceed the total amount of fees, in the aggregate, paid by
 14.2 Licensee's confidential information. Licensee and Quest             Licensee under this Agreement. EXCEPT FOR DAMAGES
      hereby agree that all of the following types of information are     ARISING UNDER SECTIONS 10.2,14 and 15, IN NO EVENT
      concl&i;ely presumed to be ~icensee'sconfidentialand                WILL EITHER PARTY,ITS SUBSIDIARIES OR ANY OF THAT
      proprietary;nformation, regardless of the form in which the         PARTY'S, DIRECTORS, OFFICERS, EMPLOYEES OR
                                        -
      information is expressed and regardless    of the medium or         AFFILIATES OF ANY OF THE FOREGOING BE LIABLE TO
      media on which such information is stored, recorded,                THE OTHER PARTY WITH RESPECT TO ANY SUBJECT
      conveyed, or communicated: (a) cost, profit and other               MATTER OF THIS AGREEMENT UNDER ANY CONTRACT,
      financial and accounting data, (b) personnel or human               NEGLIGENCE, STRICT LIABILITY OR OTHER LEGAL OR
      resources data and employee files, (c) manufacturing know-          EQUITABLE THEORY FOR ANY CONSEQUENTIAL,
      how, (d) business or marketing plans, strategies, policy            INCIDENTAL, INDIRECT OR SPECIAL DAMAGES
      statements, and forecasts, (e) product pricing information, ( f )   WHATSOEVER (INCLUDING, BUT NOT LIMITED TO,
      research and development, (g) identities of customers,              DAMAGES FOR LOSS OF BUSINESS PROFITS, BUSINESS
      vendors and suppliers, (h) information about competitors or         INTERRUPTION, LOSS OF BUSINESS INFORMATION AND
      their products, (i) production figures, (j) inventions (whether     THE LIKE), WHETHER FORESEEABLE OR UNFORESEEABLE,
      or not patentable), unpublished product specifications,             OR FOR COST OF PROCUREMENT OF SUBSTITUTE GOODS,
      product designs, or technical drawings, (k) the proprietary         TECHNOLOGY OR SERVICES, ARISING UNDER THIS
      information of third parties, including software, as to which       AGREEMENT, REGARDLESS OF THE BASlS OF THE CLAIM
      Licensee has undertaken confidentiality obligations to such         AND EVEN IF EITHER PARTY OR A REPRESENTATIVE OF
      third parties; and (I) all information disclosed by Licensee to
      Quest, or to which Quest gains access, in the course of
Software License and Service Agreement (dated 11/1/2001)                                                                 Page 6 of 8
Quest Sofiware, Inc./NIKE, Inc.




                                                                                                      Exhibit A - Nike Answer/Counterclaims
                                                                                                                               Page 6 of 25
NIKE, Inc.
        Case            3:18-cv-00721-BR                      Document 29           Filed 05/31/18             Page 43 of 84


EITHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY                                   all amounts that an not reasonably in dispute. In the event that
OF SUCH DAMAGE.                                                                    the disputed amount exceeds $1 million, Licensee shall
                                                                                   deposit the entire disputed amount into an interest-bearing
                                                                                   escrow account and maintain such deposit until resolution of
17.   Notices.                                                                     the dispute, during which period Quest shall continue to
                                                                                   perform Services, and both Parties agree to otherwise comply
Every notice required or contemplated by this Agreement shall be




                                                                                                                                                      d
                                                                                   with this Agreement.
(a) delivered in person; or (b) sent by courier, overnight delivery
service, or certified mail, return receipt requested, postage prepaid,     19.2    Return of Property. Upon termination of this Agreement, each
to the addresses indicated below, or (c) transmitted by facsimile, to              Party shall return to the other Party all proprietary documents
the fax number indicated on the applicable Software Order with a                   and materials of the other Party then in its possession. Upon
copy by U.S. Mail. Notice sent by courier, express mail, certified                 termination of a license as to a particular Software Product,
mail or registered mail shall be deemed effective on the date                      Licensee shall de-install that product and certify in writing
oficially recorded as delivered, according to return receipt or other              within 30 days of such termination that all copies of that
record of delivery. Notices sent by facsimile shall be deemed                      product have been destroyed or returned to Quest.
effective upon the printing of the fax machinejournal confirmation
rcport. Either Party may, by written notice, change the address for        19.3 Survival. The rights and obligations of the Parties pursuant to
delivery of notices.                                                            Sections 7, 10, 14, 15, 16, 19,21,22, and any other provision
                                                                                   of this Agreement to the extent that provision creates an
                                                                                   indemnity obligation, or provides for rights or remedies after
                                                                                   termination, shall survive the termination of this Agreement
                                                                                   for any reason.


 For Licensee:                        ForLicensoc         .
                                                                           20. Assignment.
 NIKE, Inc.                           Quest Software Inc.                  Neither Party may subcontract, assign its rights or delegate or its
 Corporate Procurement                                                     duties under this Agreement without the prior written consent of the
 Contracts Manager, MS-4              (Attn: Contracts Manager)            other Party.
 One Bowerman Drive                   8001 Iwine Center Drive
 Beaverton, OR                        Iwine, CA 92618
 970054453                                                                 21. Legal Actions
                                                                           21.1 Choice of Law. This Agreement will be interpreted under, and
18. Force Majeure.                                                              any disputes arising out of this Agreement will be governed by,
                                                                                the patent, trademark, and copyright laws of the United States
In the event that it becomes impossible for one Party to perform its
obligations under this Agreement or to enjoy the benefits of this               (where applicable) and the laws of the State of Oregon. THE
Agreement due to strike or insurrection war, riot, explosion, or                UNITEDNATIONS         CONVENTION       ON CONTRACTS       FOR
nuclear incident; or fire, flood, earthquake, or other natural disaster,        THE INTERNATIONALSALEOF GOODSSHALL NOT
then that Party shall immediately give notice to the other Party and            APPLY.
take reasonable and expedient action to resume performance. Upon
receipt of such notice, performance under this Agreement shall             21.2 Forum Selection. All actions arising out of or in connection
immediately be suspended, and neither Party shall be liable for                 with this Agreement shall be brought in.the state and federal
nonperformance or delay for as long as such circumstances prevail               courts located in the state of Oregon, USA, and both parties
and the Party continues to use its best efforts to recommence                   irrevocably consent to the exclusivejurisdiction of such courts.
performance.

19. Term and Termination. This Agreement shall                             22. Miscellaneous.
commence on the Agreement Effective.Date and shall remain in               22.1 Entire Agreement. The Recitals and the Exhibits attached
effect until terminated in accordance with this Section 19.                     hereto are hereby incorporated into and form a part of this
19.1 Grounds for termination. In the event that either Party is in                Agreement. This ~ ~ r e & n e nalong
                                                                                                                   t , with any siftware Orders
       default of a material obligation, which default remains                    the Parties may execute, constitutes the entire agreement
       uncured more than 30 days after receipt of written notice of               between Licensee and Quest, with respect to the subject matter
       default, the nondefaulting Party, in addition to any other                 of this Agreement, superseding all drafts, all prior or
       rights available to it under law or equity, may terminate this             contemporaneous agreements, and all promises or
       Agreement by giving written notice to the defaulting Party.                representations, written or oral. Neither Party is relying upon
                                                                                  any representations or promises other than those set forth
       Notwithstanding the foregoing, once Licensee has paid in
                                                                                  herein.
       full the agreed license fee for a particular Software Product,
       the licensing rights granted hereunder shall not terminate as       22.2   Waiver. The nonenforcement of any provision of this
       to that S o h a r e Product, unless Licensee has breached                  Agreement, or failure to insist on strict compliance with any of
       Section 2 or Section 14, or unless the parties mutually agree              the terms, covenants or conditions hereof, shall not be deemed a
       to terminate the license. Furthermore, Quest may not                       waiver of any right granted under this Agreement; nor shall any
       terminate any license granted under this Agreement due to                  waiver of any right granted hereunder on one occasion be deemed
       nonpayment if Licensee (i) reasonably and in good faith                    a waiver at any other time.
       disputes the amount that Quest asserts is due; and (ii) pays
Software License and Service Agreement (dated 1 11112001)                                                                 Page 7 of 8
Quest Software, Inc./NIKE, Inc.




                                                                                                        Exhibit A - Nike Answer/Counterclaims
                                                                                                                                 Page 7 of 25
                      Case 3:18-cv-00721-BR                       Document 29                Filed 05/31/18             Page 44 of 84
..   . ,.
             NIKE, Inc.



              22.3 Modification. This Agreement may be modified only by written              Agreement, and the rest of the Agreement shall remain in full
                   instrument which states the Parties' intent to amend, expressly           force and effect.
                   refers to the provision(s) of this Agreement to be amended,
            .      provides the full text of the amendment, and is countersigned       22.6 Captions. The section captions in this Agreement are for
                   by an authorized representative of both Licensee and Quest.              convenience of reference only, and shall not affect the
                   Any "shrink-wrap" agreement, invoice, or other standard form             interpretation of the body of the contract.
                   which purports to govern acquisition of products shall be           22.7 Execution by Countemarts. This Agreement may be executed
                   ineffective to modify this Agreement unless so signed or                 by facsimile and in one or more counterparts, each ofwhich
                   countersigned.                                                           shall be deemed an original and all of which shall constitute one
             22.4 Advice of Counsel. Each Party to this Agreement consulted                 and the same Agreement.
                  with, or had the opportunity to consult with, its legal              22.8 Throughout the term of this Agreement, Quest shall include and
                  department or with the independent attorney of its choice with       insert the following language above the signature lines of each and
                  regard to the Agreement, and signs it voluntarily.                   every Order Form: "This order is subject to the provisions, terms,
             22.5 Severability. In the event that any clause of this Agreement is      and conditions of the 'Software License and Service Agreement
                  found by a court validly assertingjurisdiction to be invalid or      (dated November 1,2001)' between NIKE,Inc. and Quest Software,
                  otherwise unenforceable, that clause will be considered void to      Inc. (the 'Agreement') and hereby incorporates by this reference all
                  the extent it is contrary to the applicable law, but such a          of the provisions, terms, and conditions of the Agreement. In the
                  finding shall not affect the validity of any other clause of the     event of conflict, the provisions, terms, and conditions of the
                                                                                       Agreement shall prevail over those of this Order Form.




                  In WITNESS WHEREOF,

                  The Parties have caused this Software License and Service Agreement to be executed and each individual
                  whose signature appears below hereby warrants that helshe is duly authorized to execute this Agreement on
                  behalf of the Party hefshe represents.


                  NIKE, Inc.                                                         Quest Software, Inc.




                                                                                                              -
                                                                                     BY

                                                                                     Printed Name:


                  Title: Chief Information Officer


                  Date: November 12,2001                                             Date:    /[hQb


            Software License and Service Agreement (dated 11/1/2001)                                                               Page 8 of 8
            Quest Software, Inc.MIKE, Inc.



                                                                                                                  Exhibit A - Nike Answer/Counterclaims
                                                                                                                                           Page 8 of 25
                   Case 3:18-cv-00721-BR                           Document 29                    Filed 05/31/18               Page 45 of 84




For     NlKE INC
        BEAVERTON-2
                                                                               1    Date                ~ o / ~ o /1~ o o
                                                                                    Quote #             1J 3 4 M          Rev#          1

        Scott Nasmyth                                                               Effective From 10130/2001             Through       11/29/2001
        Phone # (503) 532-2224
                                                                                    Sales Rep:          Greg Lockett
                                                                                    Phone #             (206) 281-1636 Fax #



    Bill To                                           Ship To                                                End User
     NlKE lNC                                           NlKE INC                                              NlKE INC
     BEAVERTON-2                                        BEAVERTON-2                                           BEAVERTON-2
     S w t t Nasmyth                                    Scott Nasmyth                                         Scott Nasrnyth
     1 SW Bowerman Dr                                   1 SW Bowerman Dr                                      1 SW Bowerman Dr
     BEAVERTON, OR 97005-6453                           BEAVERTON, OR 97005-6453                              BEAVERTON, OR 97005-6453
     United States                                      United States                                         United States
                                                                                                              swtt.nasrnyth@nike.com




1     UNX-LIV-PB-TRF        LIVE-REORG FOR UNlX SERVER TIER F
                                     2 $210,000.00 Disc %: 54.2%                                        Net Price:   $96,180.00                 $192,360.00




Payment Terms:Net 30                                                                              Subtotal                                     $199,688.00
                                                                                                                                                       --

                                                                                                  Tax                                                   TBD

                                                                                                  Total (before taxes)                        $199,688.00
                                                                                   lines of this order are hereby


    Accepted by NlKE INC                                                            Accepted By Quest So
      Authorized Signature:                                                            Authorized Signature:

               Printed Name:                                                                    Printed Name:

                                                                                                          Title:

                          Date       //-/2-6 /                                                             Date

                          PO#            278241
This order is subject to the provisions, terms and conditions of the Software License and Service Agreement (dated November 1, 2001) between
NIKE, Inc. and Quest Software, Inc. (the "Agreement") and hereby incorporates by this reference all of the provisions, terms and wnditions of the Agreement.
In the event of conflict, the provisions, terms, and conditions of the Agreement shall prevail over those of this Order Form.

             This order is Exhibit A-1 to the Agreement and is an 'Order Form' within the meaning of the Agreement.

             Quest will deliver the Licensed Software in CD form and Documentationin hard copy to NlKE within approximately 7 days of the date this
             Order Form is signed by NIKE. Quest will deliver the applicable permanent activation keys for the Licensed Software to NlKE within
             approximately 7 days of the date that NlKE requests those keys from Quest.

             Jumpstart Services are defined as:
             -Technical assistance for Nike in the installation of LiveReorg into a production environment.
             -Basic advisory services and knowledge transfer on reorganization methodologies,including "best practices" recommendations.
             -Sample live reorganizations. The database instance involved in reorganizationactivities will be monitoredjointly with Nike to ensure
             beneficial knowledgetransfer to Nike's personnel.
             -This includes a minimum of two days of onsite professionalservices, travel and expenses are included in the price, at a time that is
             mutually agreeable to both parties.



IE. &=+&-       ~ ~ ~ ~ , 8001
                           t ~ l .~ il n Center
                                         e                                                  -
                                                       Drive, Iwine, California 92618 800.306.9329 - Fax 949.754.8999                          Page 1 of 2




                                                                                                                        Exhibit A - Nike Answer/Counterclaims
                                                                                                                                                 Page 9 of 25
                     Case 3:18-cv-00721-BR                    Document 29              Filed 05/31/18              Page 46 of 84



For      NlKE INC
         BEAVERTON-2
                                                                    I   Date            1013012001

                                                                        Quote #         1J34M            Rev#        1

         Scott Nasmyth                                                  Effective From 10/30/2001        Through     11/29/2001
         Phone # (503) 532-2224
                                                                        Sales Rep:     Greg Lockett
                                                                        Phone #        (206) 281-1636 Fax #
         scott.nasrnyth@nike.com




@=&,mi        Repodv.1      8001 lrvine Center Drive, Irvine, California 92618 - 800.306.9329 - Fax 949.754.8999         Page 2 of 2




                                                                                                           Exhibit A - Nike Answer/Counterclaims
                                                                                                                                   Page 10 of 25
        Case 3:18-cv-00721-BR               Document 29           Filed 05/31/18          Page 47 of 84




                                                   Exhibit B
                                                    Pricing

This is 'Exhibit B' to the 'Software License and Service Agreement (dated November 1,2001) between
NIKE, Inc. and Quest Software, Inc. (the 'Agreement'). The defined terms in the Agreement shall have the
same meanings in this Exhibit.

 I.   Definitions. Unless otherwise defined herein, terms that are capitalized in this Exhibit B shall have the
      meanings set forth below:

1. I 'List Price" means Quest's then-current list price at the time of the purchase of a particular Sofhvare
     Product license the list price for that Software Product license as set forth in 'ScheduleA, Quest
     Price Book, dated October, 2001: whichever is less. Said 'Schedule A', is attached hereto and hereby
     incorporated into this Exhibit B by this reference. Throughout the term of the Agreement on a quarterly
     basis, and at Licensee's request, Quest shall provide Licensee with a soft copy of its then-current list
     prices for all of its Software Products.
1.2 'License Price" means the discounted pace to purchase a Software Product license under the
     Agreement, as calculated below in Section 2.
1.3 '"Select Products" means the following Quest products and all of the modules within their suites:
     LiveReorg, SQL Navigator, TOAD, SQL Impact, Schema Manager, Data Manager, Data Factory, and
     Qdesigner. Individually, each of these products may also be referred to herein as a "Select Product".
1.4 "Total Payments" means the total amount paid by Licensee to Quest and to resellers for Select
     Products, including license fees and fees for Maintenance Services and other services, over a certain
     period of time.

2. Discount for Purchases of Software Product Licenses.

2.1 From November 1,2001 thru December 31,2003 (twenty-six months), Quest's price to Licensee for
    Select Products shall be calculated as follows:

          a.) If at the time of the particular license purchase, the Total Payments from November 1,2001 up
              to the date of the particular license purchase is less than $521,000, then the price for the
              particular license purchase shall be List Price less 50%.
          b.) If at the time of the particular license purchase, the Total Payments from November I , 2001 up
              to the date of the particular license purchase is at least $521,000 but less than $821,000, then
              the price for the particular license purchase shall be List Price less 60%.
          c.) If at the time of the particular license purchase, the Total Payments from November 1,2001 up
              to the date of the particular license purchase is greater than $821,000, then the price for the
              particular license purchase shall be List Price less 70%.

2.2 If the Total Payments from November 1,2001 thru December 31,2003 is equal to or greater than
$821,000, then from January 31,2004 thru December 31,2004, Quest's pricing to Licensee for the Select
Products shall be List Price less 70%. This same pricing formula of 'List Price less 70%' for Select Products
will continue from year-to-year thereafter until January 1'' of the first calendar year to follow a calendar year
in which Total Payments were less than $500,000.

2.3 Throughout the term of the Agreement, Quest's discounted price to Licensee for Software Products that
are not Select Products shall be as mutually negotiated between Quest and Licensee.


3. Pricing for Maintenance Services.

3.1 For the License Price, Quest will also provide the first year of Maintenance Services to Licensee at no
additional charge. Said one-year period of Maintenance Services commences on the date of the invoice for
the license fees for the particular Licensed Software.



                                                                                                      Page 1 of 2
Exhibit 0, Pricing
Software License and Service Agreement (dated 11/1/2001)
Quest Software, Inc./NIKE, Inc.



                                                                                    Exhibit A - Nike Answer/Counterclaims
                                                                                                            Page 11 of 25
                 Case 3:18-cv-00721-BR                Document 29           Filed 05/31/18         Page 48 of 84

....   -
           3.2 If Licensee chooses to renew Maintenance Services for any Licensed Somare that was purchased on
           or after the effective date of the Agreement, the price for renewal shall be as follows:
                     For the second year of Maintenance Services, the monthly price is 1.25% of the License Price.
                     For the third year of Maintenance Services and all years thereafter, Quest may increase the
                     monthly price by no more than five percent (5%) above the preceding year's monthly price for
                      Maintenance Services. However, notwithstanding the preceding, in no event may the monthly price
                     for Maintenance Services exceed 1.67% of the License Price of the particular Licensed Software.
                      In order to renew Maintenance Services coverage, Licensee must also reinstate lapsed coverage, if
                     any, by paying all past due Maintenance Services fees for the period of time between the date
                     coverage lapsed and the date of reinstatement. Said past due fees shall be at the same monthly
                      price as the monthly price charged for a renewal under this Section 3.2. For example, if at the time
                     of reinstatement,the monthly price to renew maintenance coverage is 1.25% of the License Price,
                     then the monthly reinstatement fee is also 1.25% of the License Price.

           3 . 3 If Licensee chooses to renew Maintenance Services for any Software Product that was purchased at
           any time prior to the effective date of the Agreement, the price for renewal shall be as follows:
                       For coverage at any time on or after the effective date of the Agreement but before December 31,
                       2002, the monthly price is 1.25% of what would have been the License Price for the particular
                       Software Product if the Software Product had been purchased on the effective date of the


                                                                                                        L?
                       Agreement.
                       For coverage at any time in 2003 and in years thereafter, Quest may increase the onthl rice by
                       no more than five percent (5%) above the preceding calendar year's monthly price or aintenance         $$fl&>4
                       Services. However, notwithstanding the preceding, in no event may the monthly price for
                       Maintenance Sewices exceed 1.67% of what would have been the License Price for the particular
                       Software Product if the Software Product had been purchased on the effective date of the
                                                                                                                                     Fee--
                       Agreement.
                       In order to renew Maintenance Services coverage, Licensee must also reinstate lapsed coverage, if
                       any, by paying all past due Maintenance Services fees for the period of time between the date
                       coverage lapsed and the date of reinstatement. Said past due fees shall be at the same monthly
                       price as the monthly price charged for a renewal under this Section 3.3. For example, if at the time
                       of reinstatement the monthly price to renew maintenance coverage is 1.25% of what would have
                       been the License Price for the particular Software Product if the Software Product had been
                       purchased on the effective date of the Agreement, then the monthly reinstatement fee is the same
                       amount.

           4. With the purchase of every LiveReorg license and at no additional charge to Licensee, Quest shall also
           provide Licensee with one standby license (only to be used in the event of a failover or down production
           system) and one tesvdevelopment license.




                                                                                                                Page 2 of 2
           Exhibit B, Pricing
           Software License and Service Agreement (dated 1111/2001)
           Quest Software, Inc.lNIKE, inc.



                                                                                             Exhibit A - Nike Answer/Counterclaims
                                                                                                                     Page 12 of 25
       Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 49 of 84



                                            Quest Price Book

QSIPB 0701 Quest Software Internal Confidential l w a fchTM
Prices in US dollars - Effective 07/01/01
IMlatch for Oracle Price
Tier A $3,000
Tier B $6,000
Tier C $12,000
Tier D $21,600
Tier E $31,200
Tier F $43,200
IMlatch Jumpstart Services Price
IMIatch Jumpstart Services              -
(must be hcluded for every first time North American
I/Watch customer)
INVatch for SQL Server Price
Tier A $3,000
Tier B $6,000
Tier C $12,000
INVatch for Oracle E-Business Suite Price
Tier A $7,200
Tier B $10,800
Tier C $18,000
Tier D $32,400
Tier E $46,800
Tier F $62,400
Notes:
1. All prices include license fee and standard first year maintenance.
2. 24x7 Severity Level 1Support is available for an additional 5% of list price.
3. I/Watch supports both Oracle and SQL Server but NOT Linux.
4. I/Watch for Oracle E-Business Suite quote must include all servers (database and
application) that the software sits on. It includes the I/Watch base cartridge.


Foglight@
Prices in US dollars - Effective 07/01/01
Foglight (Sun Solaris only) Price
Foglight Management Server
(One base fee per customer)
$40,000
Foglight Base Cartridge* (see note 3) Price
Tier A $750
Tier B $1,800
Tier C $3,600
                                                                                              Page 1 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Software License and Service Agreement (dated 1 1/1/2001)
Quest Software, Inc.R\IIKE, Inc.


                                                                          Exhibit A - Nike Answer/Counterclaims
                                                                                                  Page 13 of 25
        Case 3:18-cv-00721-BR                   Document 29   Filed 05/31/18    Page 50 of 84



Tier D $6,300
Tier E $10,800
Tier F $15,000
Foglight Database Cartridge* (see note 4)
(available for Oracle, Sybase and SQL Server)
Price
Tier A $960
Tier B $1,920
Tier C $4,200
Tier D $7,200
Tier E $11,880
Tier F $17,280
Foglight Cartridge for Peoplesoft* (see note 4) Price
Tier A $5,000
Tier B $7,500
Tier C $10,000
Tier D $17,500
Tier E $26,250
Tier F $37,500
Foglight (continued)
                         -
Prices in US dollars Effective 07/01/01
Foglight Cartridge for mySAP.com* (see note 4) Price
Tier A $7,500
Tier B $10,000
Tier C $15,000
Tier D $21,000
Tier E $31,500
Tier F $56,250
Foglight Cartridge for Siebel eBusiness*
(see note 4)
Price
Tier A $7,500
Tier B $10,000
Tier C $15,000
Tier D $21,000
Tier E $31,500
Tier F $56,250
Foglight Cartridge for WebLogic* (see note 4) Price
Tier A $960
Tier B $1,920
Tier C $4,200
Tier D $7,200
Tier E $8,500
Tier F $10,000

                                                                                             Page 2 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Software License and Service Agreement (dated 11/1/2001)
Quest Software, Inc.MIKE, Inc.


                                                                          Exhibit A - Nike Answer/Counterclaims
                                                                                                  Page 14 of 25
       Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 51 of 84



Foglight Cartridge for ARTM* (see note 4)
(Active Response Time ~anagement)
Price
Base $5,000
*see IQ for latest version and supported platforms
Notes :
1. All prices include license fee and standard first year maintenance.
2. 24x7 Severity Level 1Support is also available for this product for an additional
5% of list price.
3. Base Cartridge needs to be licensed on all managed servers.
4. Database and Application cartridges do NOT include the Basecartridge.

Funnel Web@
Prices in US dollars - Effective 07101/01
Funnel Web Price
Funnel Web 4.0 * $495
Funnelweb Enterprise * $2,495
Funnel Web Pro 3.7 "
(electronic download only) $2,495
Funnel Web Pro 3.7 for Solaris
(electronic download only) $2,495
Additional Server license
(for Enterprise or Pro versions only) $1,495
Cluster License
(for Enterprise and Pro versions only) $1,495
Upgrade FW 3.7 to FW Analyzer 4.0
(electronic download only) $195
Upgrade FW Pro 3.7 to FW Analyzer Enterprise 4.0
(electronic download only)             $0
Funnel Web Profiler Professional -
(electronic download only; seat-based licensing) $595
* available for Macintosh, Windows 95/98/2000/NT
** available for Linux and FreeBSD
Notes :
1. All prices include license fee and standard first year maintenance.
2. 24x7 Severity Level 1Support is not available for this product.
3. Upgrades are electronic download only via the Quest website.
4. I f customer purchased upgrade, then the maintenance due will be based on
the new edition purchased and not the upgrade price.

QSIPB 0701 Quest Software Internal Confidential LiveReorgB
Prices in US dollars - Effective 07/01101
LiveReorg for UNlX
(Professional Services are now required for all first time
LiveReorg customers in North America)
Price
Tier A $26,750
                                                                                              Page 3 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Software License and Service Agreement (dated 111112001)
Quest Software, Inc.MIKE, Lnc.


                                                                          Exhibit A - Nike Answer/Counterclaims
                                                                                                  Page 15 of 25
                                Case 3:18-cv-00721-BR                   Document 29   Filed 05/31/18    Page 52 of 84
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                         Tier B $45,500
                         Tier C $83,000
                         Tier D $128,000
                         Tier E $165,500
                         Tier F $218,000
                         1. 24 x 7 Severity Level 1 support is mandatory for LiveReorg and is included in
                         the first year's license fee. Support renewal will be 25% of purchase price for
                         subsequent years.
                         2. Where Professional Services are involved in a LiveReorg deal, a LiveReorg
                         "Statement of Work" must be included with the sales order.


                         QDesignerTM
                         Prices in US dollars - Effective 07/01/01
                         QDesigner Price License Maint.
                         PhysicalArchitect $1,300 $2,000 $300
                         DataArchitect $3,900 $3,000 $900
                         Developer $3,900 $3,000 $900
                         ObjectArchitect $6,500 $5,000 $1,500
                         PhysicalArchitect with MetaWorks $3,900 $3,000 $900
                         DataArchitect with MetaWorks $6,500 $5,000 $1,500
                         Developer with MetaWorks $6,500 $5,000 $1,500
                         ObjectArchitect with MetaWorks $9,100 $7,000 $2,100
                         MetaWorks (repository) $2,600 $2,000 $600
                         QDesigner Documentation Price
                         QDesigner PhysicalArchitect User's Guide Media/Manual$79
                         QDesigner DataArchitect User's Guide Media/Manual$79
                         QDesigner ObjectArchitect User's Guide MediaJManual $119
                         QDesigner Developer User's Guide Media/Manual$79
                         QDesigner MetaWorks User's Guide Media/Manual$49
                         Notes:
                         1. All prices include license fee and standard first year maintenance.
                         2. 24x7 Severity Level 1Support is not available for this product

                         QMastem
                         Prices in US dollars - Effective 07/01/01
                         QMaster Base Product Price
                         QMaster Master Output Server - ("MOS") (includes 10 Admin
                         GUls, Alternate destination delivery, 1 Probing module) $25,000
                         QMaster Output Server Agent (JME) $6,000
                         Printer Paths (by number of printers per Master Output Server)
                         1 - 10, per printer $360
                         11 - 50, per printer $120
                         51 - 100, per printer $84
                         101 - 250, per printer $60
                         251 - 500, per printer $48
                                                                                                                      Page 4 of 13
                         Schedule A, Quest Price Book, dated October, 2001
                         Exhibit B, Pricing
                         Software License and Service Agreement (dated 11/1/2001)
                         Quest Software, Inc./NIKE,Inc.


                                                                                                  Exhibit A - Nike Answer/Counterclaims
                                                                                                                          Page 16 of 25
       Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 53 of 84



501 +, per printer $36
QMaster Server Options Price
Document Parsing 1 Bursting (per MOS) (file interrogation and
splitting of document for bursting distribution) $21,500
Document Bundling (per MOS) (for merging of multiple
datastreams into a single job) $12,000
Printer Clustering (per manufacturer for up to 10 printers)
(includes 1 Clustering module, I Probing module, 10 PC Agents) $6,000
Printer Probing (per manufacturer for SNMP and other types that
do not support SNMP i.e. Cannon, Tecktronics, Lantronics and QMS) $6,000
Chargeback Accounting Module (per MOS)
Costing, tracking and reporting into export facility $12,000
Alert Notification (per MOS for up to 10 users plus integration
script) Propagates console forward messages to operatorluser
desktop
$9,000
User Security (per MOS) Restriction of specific userslgroups to
specific devices, hosts, queues and at specific times $12,000
Backup 1 Failover or Development Master Output Server
Includes basic server only - Professional Services for integration
provided at an additional fee
$12,000
SDK API (per operating system) (For integration to third party
applications) $2,500
QMaster lnterface for Unicenter TNG (per installation) $12,000
QMaster lnterface for SAP Rl3 (per installation) $ 30,000
QMaster Web Client (per MOS) $10,000

Quest CentralTMfor DB2lUDB (Windows, UNiS( and 0 ~ 1 2 )
Prices in US dollars - Effective 07/01/01
Quest CentralTMfor DB2lUDB
includes Monitoring, Space Management, SQL Tuning
& Database Admin. Components
Price
Tier A $ 1 1,900
Tier B $20,000
Tier C $36,700
Tier D $64,800
Tier E $97,200
Tier F $135,000
Performance Monitoring for DBZIUDB Price
Tier A $3,600
Tier B $6,000
Tier C $12,000
Tier D $24,000
                                                                                             Page 5 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Software License and Service Agreement (dated 1 1/1/2001)
Quest Software, Inc./NlKE, Inc.


                                                                          Exhibit A - Nike Answer/Counterclaims
                                                                                                  Page 17 of 25
            Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 54 of 84
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     Tier E $36,000
     Tier F $48,000
     Space Management for DBZIUDB Price
     Tier A $2,400
     Tier B $4,800
     Tier C $8,400
     Tier D $14,400
     Tier E $21,600
     Tier F $30,000
     SQL Tuning for DBZIUDB Price
     Tier A $4,800
     Tier B $7,200
     Tier C $14,400
     Tier D $24,000
     Tier E $36,000
     Tier F $48,000
     Database Administration for DBZIUDB Price
     Tier A $2,400
     Tier B $4,200
     Tier C $6,000
     Tier D $9,600
     Tier E $14,400
     Notes: Tier F $24,000
     1. All prices include license fee and standard first year maintenance.
     2. 24x7 Severity Level 1 Support is also available for an additional 5% of list price.
     3. Components may be purchased individually; Quest Central interface included.

     Quest CentralTMfor DB21UDB (Windows, UNlX and OS12)
                               -
     Prices in US dollars Effective 07/01/01
     SQL Tuning for DBZIUDB OSl390 module Price per
     MIP
     I - 260 MIPS $250
     261 - 663 MIPS $200
     664 - 1821 MIPS $175


     RevealNetTM(complimentary to TOADISQL Navigator)
     Prices in US dollars - Effective 07/01/01
     RevealNet Price License Maint.
     Knowledge Base for Active PUSQL
     Development $295 $225 $70
     Knowledge Base for Oracle Administration $395 $300 $95
     Formatter Plus $200 $150 $50
     Upgrade from PUFormatter to Formatter Plus $75 $75 $0
     PUGenerator $670 $495 $175
                                                                                                  Page 6 of 13
     Schedule A, Quest Price Book,dated October, 2001
     Exhibit B, Pricing
     Software License and Service Agreement (dated 11/1/2001)
     Quest Software, Inc./NIKE, Inc.


                                                                               Exhibit A - Nike Answer/Counterclaims
                                                                                                       Page 18 of 25
        Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 55 of 84



Line # # of Seats Max Discount
Line1 I - 4 0 %
Line25-97%
Line 3 10 - 25 13%
Line 4 26 - 50 16%
Line 5 51 - 75 20%
Line 6 76 - 100 22%
Line 7 101 - 150 27%
Line 8 151 - 250 33%
Line 9 251 - 500 40%
Line 10 501 - 750 45%
Line I 1 751 + 50%
Notes:
1. All prices include license fee and standard first year maintenance.
2. 24x7 Severity Level 1Support: is not available for this product option.

Schema ManagerTM
Prices in US dollars - Effective 07/01/01
Schema Manager for Oracle Price
Tier A $2,160
Tier B $4,320
Tier C $8,640
Tier D $15,300
Tier E $21,600
Tier F $27,000
Data Manager with Schema Manager Price
Tier A $3,780
Tier B $7,560
Tier C $15,120
Tier D $26,770
Tier E $37,800
Tier F $47,260
Notes:
1. All prices include license fee and standard first year maintenance.
2. 24x7 Severity Level 1Support is not available for these products.

SharePlexB for Oracle0
Prices in US dollars - Effective 07/01/01
Sharepack (See note 5 & 6 ) Price
Tier A $52,090
Tier B $76,800
Tier C $104,470
Tier D $161,840
Tier E $221,620
Tier F $278,500
                                                                                              Page 7 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Software License and Service Agreement (dated 1 1/1/2001)
Quest Software, Inc./NIKE, Inc.


                                                                           Exhibit A - Nike Answer/Counterclaims
                                                                                                   Page 19 of 25
       Case 3:18-cv-00721-BR                   Document 29   Filed 05/31/18    Page 56 of 84



SharePlex for Oracle (See note 7) Price
Tier A $43,125
Tier B $64,685
Tier C $86,250
Tier D $129,375
Tier E $172,500
Tier F $215,625
Notes:
1. All prices include license fee and 24x7 Severity Level 1first year maintenance.
Support renewal will be 25% of purchase price for subsequent years.
2. Professional services must be scoped on every order and a statement of work
completed.
3. 3-day SharePlex training class in Irvine is $1500 per person.
4. Client is responsible for all travel expenses.
5 . SharePack includes SharePlex for Oracle with Overdrive and 1server of each of
the following products: Scheme Manager, SQLab Vision, Space Manager with
FastC~py& Spotlight on Oracle.
6. SharePack includes a built-in discount of 15-25%, based upon tier - no
additional discounting.
7. Shareplex for Oracle includes the use of Overdrive, the Reconcile Post feature.

SharePlex0 FS
Prices in US dollars - Effective 07/01/01
SharePlex FS Price
Tier A $10,000
Tier B $20,000
Tier C $30,000
Tier D $45,000
Tier E $60,000
Tier F $75,000
SharePlex FS Test Server (see note 2)
(25% of list SharePlex FS Tier Price)
Price
Tier A $2,500
Tier B $5,000
Tier C $7,500
Tier D $11,250
Tier E $15,000
Tier F $18,750
SharePlex FS Non-Production (see note 3)
(35% of list SharePlex FS Tier Price)
Price
Tier A $3,500
Tier B $7,000
Tier C $10,500
Tier D $15,750
                                                                                            Page 8 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Solhare License and Service Agreement (dated 11/112001)
Quest Software, Inc./NIKE, Inc.


                                                                         Exhibit A - Nike Answer/Counterclaims
                                                                                                 Page 20 of 25
                    Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 57 of 84
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             Tier E $21,000
             Tier F $26,250
             Notes:
             1. All prices include license fee and 24x7 Severity Level 1first year
             maintenance. Support renewal will be 25% of purchase price for
             subsequent years.
             2. Test Server license - for servers used in training, testing, development,
             or pre-production environments only
             3. Non-Production - for servers used in production cluster environments;
             software will only be used during failure (non-operation) of a source
             Production server and during occasional disaster recovery testing
             4. Supports HP UX version 10.20 and above and Sun Solaris version 2.6 and
             above; also supports UFS and vXFS on Sun.

             Space ManagerTM
             Prices in US dollars - Effective 07/01/01
             Space Manager for Oracle Price
             Tier A $3,600
             Tier B $7,200
             Tier C $14,400
             Tier D $25,200
             Tier E $36,000
             Tier F $45,000
             Notes:
             1. All prices include license fee and standard first year maintenance.
             2. 24x7 Severity Level 1Support is also available for an additional 5% of list price.

             SpotlightTM
             Prices in US dollars - Effective 07/01/01
             Spotlight on Oracle Price
             Tier A $2,400
             Tier B $4,800
             Tier C $8,400
             Tier D $14,400
             Tier E $21,600
             Tier F $28,800
             Spotlight on SQL Server
             for NT 12000 I Linux (see note 3)
             Price
             Tier A $1,195
             Tier B $2,395
             Tier C $4,795
             Spotlight on Exchange Price
             Tier A $1,195
             Tier B $2,395
             Tier C $4,795
                                                                                                          Page 9 of 13
             Schedule A, Quest Price Book, dated October, 2001
             Exhibit B, Pricing
             Software License and Service Agreement (dated 11/1/2001)
             Quest Software, Inc.MIKE, Inc.


                                                                                       Exhibit A - Nike Answer/Counterclaims
                                                                                                               Page 21 of 25
                     Case 3:18-cv-00721-BR                   Document 29   Filed 05/31/18    Page 58 of 84
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               Spotlight on Windows
                for NT 4.0 / 2000
                Price
              - Tier A $395
                Tier B $995
                Tier C $2,495
               Spotlight on Active Directory Price
               1 CPU $1,495
               2 Processor $2,595
               3 Processor $3,295
               4+ Processor $3,695
               Spotlight on Web Servers * Price
               First Server $1,495
               Each additional server $995
               *For (11s 4.0 / NES 3.62 / iPlar!et 4.0) on Windows NT 4
               For (11s 5.0 / NES 3.62 / iPlanet 4.0) on Windows 2000
               For (Apache 1.3) on RedHat Linux 6.2
               For (NES 3.62 / iPlanet 4.0) on Sun Solaris 2.6+

               SpotlightTM(continued)
               Prices in US dollars - Effective 07101101
               Spotlight on EMC Symmetrix
               (determined by raw storage capacity in
               terabytes; add up each server's capacity for
               total price)
               Price
               (per Symmetrix
               system)
               Up to 2 terabytes $3,000
               2 terabytes to 6 terabytes $5,000
               Greater than 6 terabytes $7,000
               Spotlight on Oracle E-Business Suite
               (formerly Spotlight on Oracle Applications -
              see notes 5 & 6)
              Price
              Tier A $5,760
              Tier B $8,640
              Tier C $12,600
              Tier D $21,600
              Tier E $32,400
              Tier F $41,600
              Notes:
               All prices include license fee and standard first year maintenance.
               For Spotlight for SQL Server a license must be purchased for every node in a
               cluster.
               Pricing for Spotlight on Oracle E-Business Suite does not include Spotlight on
                                                                                                          Page 10 of 13
              Schedule A, Quest Price Book, dated October, 2001
              Exhibit B, Pricing
              Software License and Service Agreement (dated 11/1/2001)
              Quest Software, Inc.MIKE, Inc.



                                                                                       Exhibit A - Nike Answer/Counterclaims
                                                                                                               Page 22 of 25
       Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 59 of 84



Oracle base product.
Spotlight on Oracle is not required t o run Spotlight on Oracle E-Business Suite
but is recommended.
Spotlight on Oracle E-Business Suite quote should include all the servers
(database and application) that the Oracle E-Business software sits on.


SQLab VisionTM
Prices in US dollars - Effective 07/01/01
SQLab Vision (includes SQLab Xperf, SQL Impact and
StealthCollect (Recon))
Price
Tier A $10,000
Tier B $15,000
Tier C $24,000
Tier D $31,500
Tier € $43,000
Tier F $54,000
SQLab Xpert to SQLab Vision Upgrade Price
Tier A $3,500
Tier B $3,500
Tier C $5,250
Tier D $6,300
Tier E $8,400
Tier F $10,500
SQLab Tuner to SQLab Vision Upgrade Price
Tier A $4,200
Tier B $5,460
Tier C $8,400
Tier D $10,290
Tier E $13,300
Tier F $16,800
Notes:
All prices include license fee and standard first year maintenance.
24x7 Severity Level 1Support is not available for this product.
SQLab XpertITuner (instance based licenses) upgrade t o SQLab Vision -
Credit the customer for what they have, a t list price and charge them the
difference t o the SQLab Vision list price. This will replace their existing licenses.

SQLab XpetW
Prices in US dollars - Effective 07/01/01
SQLab XpertTMfor Oracle Price
Tier A $6,000
Tier B $12,000
Tier C $19,200
Tier D $25,200
                                                                                            Page 1 1 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Software License and Service Agreement (dated 11/1/2001)
Quest Software, Inc.MIKE, Inc.


                                                                          Exhibit A - Nike Answer/Counterclaims
                                                                                                  Page 23 of 25
                      Case 3:18-cv-00721-BR                   Document 29   Filed 05/31/18    Page 60 of 84

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               Tier E $36,000
               Tier F $45,000

               SQL ImpactTM
               Prices in US dollars - Effective 07/01/01
               SQL lmpact Price
               SQL lmpact Server
               (Unlimited users - all languages)
               $9,000
               SQL lmpact Seat (single server) $1,350
               SQL lmpact to SQLab Vision Upgrade Price
               Tier A $1,750
               Tier B $2,450
               Tier C $8,400
               Tier D $13,650
               Tier E $21,700
               Tier F $29,400
               Notes:
               1. SQL Impact Server includes support for all available languages
               2. SQL Impact Server includes unlimited registration and viewing seats
               3. Customer must purchase a server license for any server against which
               they want to run the impact analysis
               4. 24x7 Severity Level 1Support is not available for this product
               5. All prices include license fee and standard first year maintenance.
               6. Supported languages include the following:

               SQL NavigatorTM
               Prices in US dollars - Effective 07/01/01
               SQL Navigator Bundles Price
                                        -
               SQL Navigator Standard Edition $795
               (includes I seat of SQL Navigator with PUFormaffer)
               SQL Navigator - Professional Edition $1,325
               (includes I seat of SQL Navigator with Debugger and Formafter Plus)
               SQL Navigator - Xpert Edition $1,980
               (includes I seat of SQL Navigator with Debugger, Xpert option and Formafter Plus)

                SQL Navigator for Oracle Price License Maint.
              --SQL Navigator (Base Product) $670         $495    $175
             -, Debugger $520 $395 $125
                Xpert Tuning module (SQLab Xpert client) $1,350 $1,000 $350
                SQLab Tuner option upgrade to SQLab Xpert
                option (See Note 4) $250 $250 $0
                DataFactory (formerly TestBase)
                (Standalone product - SQL Nav not required) $590 $495 $95
                PUFormatter $125 $95 $30

                                                                                                           Page 12 of 13
               Schedule A, Quest Price Book, dated October, 2001
               Exhibit B, Pricing
               Software License and Service Agreement (dated 11/1/2001)
               Quest Software, Inc.MIKE, Inc.


                                                                                        Exhibit A - Nike Answer/Counterclaims
                                                                                                                Page 24 of 25
       Case 3:18-cv-00721-BR                    Document 29   Filed 05/31/18    Page 61 of 84



StorageXpertTM
Prices in US dollars - Effective 07/01/01
StorageXpertTMfor Oracle
(Pricing based on configured space per server)
Price
0 - 255 GB $20,000
257 - 512 GB $36,000
513 - 1024 GB $64,000
1025 - 4096 GB $104,000

TOAD@
Prices in US dollars - Effective 07/01/01
TOAD Bundles TOAD - Standard Edition $795
(includes I seat of TOAD with PUFormalter)
                            -
TOAD Developer Professional Edition $1,325
(includes I seat of TOAD with Debugger and Formatter Plus)
                            -
TOAD Developer Xpert Edition $1,980
(includes 7 seat of TOAD with Debugger, Xpert option and Formatter Plus)

TOAD Price License Maint.
TOAD (Base Product) $670 $495 $175
Debugger $520 $395 $125
Xpert Tuning module (SQLab Xpert client) $1,350 $1,000 $350
SQLab Tuner option upgrade to SQLab Xpert
option (see note 4)
$250$250$0
DataFactory (formerly TestBase)
(standalone product - TOAD not required)
$590$495$95
PUFormatter $125 $95 $30
Notes:




                                                                                            Page 13 of 13
Schedule A, Quest Price Book, dated October, 2001
Exhibit B, Pricing
Software License and Service Agreement (dated 111112001)
Quest Software, Inc.MIKE, Inc.


                                                                          Exhibit A - Nike Answer/Counterclaims
                                                                                                  Page 25 of 25
Case 3:18-cv-00721-BR   Document 29   Filed 05/31/18   Page 62 of 84




                   Exhibit B
               Case 3:18-cv-00721-BR                          Document 29                Filed 05/31/18            Page 63 of 84
                     Case 3:17-cv-05989                       Document 1-1           Filed 11/28/17               Page 2 of 9



                                                                                                                  re QUEST
                                                                                                                              SOFTWARE'
                                                                                                                              SImplkfty At Work'



Quest Software, Inc.                                                                     Agreement Number: US-MPA-12-0008
Master Product Agreement


This Master Product Agreement (the "Agreement") is made between Quest Software, Inc. with its principal place of business
located at 5 Polaris Way, Aliso Viejo, California, 92656 ("Quest") and World Fuel Services Corporation, with its principal place
                                                                                                                                 of
business located at 9800 NW   41st Street, Suite 400, Miami, FL 33178 ("Customer").

1.    Definitions.    Capitalized   terms not defined in context shall have the     meanings assigned       to them below


(a) "Affiliate" means any legal entity controlling, controlled by,          or   under   common    control with   a   party to this Agreement, for          so

long as such control relationship exists,

(b) "Documentation"          means   the   user   manuals and documentation that Quest delivers with the Software, and all copies of the
foregoing,

(c) "Hardware"       means   the hardware products         purchased by Customer under this Agreement.

(d) "License Type" means the model by which                    the Software is licensed    (e.g., by   server,   by mailbox, by managed user)               as

indicated in the applicable Order.

(e) "Partner" means a reseller or distributor that is under contract with Quest            or   another Partner and is authorized via the contract
to resell the Products and/or Maintenance Services.


(f)   "Product Guide"     means     the document located at       http://wwweuest.com/oroductouide        that contains the Product Terms,


(g) "Product Terms"       means      the usage    rights   and other terms associated with each License      Type     or   individual Product.


(h) "Products"       means   the Software and/or Hardware         purchased by   Customer under this Agreement.


(i) "Schedule" means a document. such                 as a   Quest Quotation, that is executed by the parties          or   their   respective Affiliates   in
connection with an Order.

(j) "Software" means the object code version of the software that is delivered pursuant to an Order as well as any corrections,
enhancements, and upgrades to such software that Quest may provide to Customer pursuant to this Agreement, and all copies
                                                                                                                             of
the   foregoing.
2.     Ordering.

(a) Customer and its Affiliates may order Products and Maintenance Services under this Agreement by either (a) issuing
                                                                                                                                   a

purchase order ("PO") to Quest, a Quest Affiliate, or a Partner or (b) by executing a Schedule with Quest or a Quest Affiliate (each
Schedule or PO shall be an "Order"). Each Order shall include (i) a description, unit price, and quantity for each Product and/or
Maintenance Service being ordered, and (ii) for Software, the License Type, License duration (if other than perpetual), and an
                                                                                         be used for MSP purposes, the Order shall
express indication if the Software is to be used for MSP purposes, If the Software is to
also include the name of the MSP Client, Each Order shall be the ordering party's irrevocable commitment to purchase and pay for
the Products and/or Maintenance Services stated in the Order and, except for POs to Partners, shall be subject to approval by
Quest either in writing or by shipment ("Approve" or "Approved").

(b) If an Order is placed by an Affiliate of Customer, such Affiliate agrees to be bound by the terms of this Agreement and shall be
considered the "Customer" as that term is used herein. If an Order is issued to and Approved by a Quest Affiliate, such Affiliate
                                                                                             term is used herein,
agrees to be bound by the terms of this Agreement and shall be considered "Quest" as that

                                                                                                                     terms of this
(c) Customer and Quest agree that (i) Orders issued by Customer to Quest shall be governed solely by the
                                                                                                                      the terms of
Agreement and the applicable Schedule (if any), and (ii) Orders placed through a Partner shall be governed solely by
this Agreement. Any conflicting or additional terms in or accompanying an Order (including but not limited to terms on Customer's
                                                                                                                     and payment
POs) will not be binding on Quest unless Quest accepts such terms in writing. For the avoidance of doubt, pricing
terms for Orders placed through a Partner shall be as agreed upon between Customer and the Partner.




                                                                                                            Exhibit B - Nike Answer/Counterclaims
                                                                                                                                      Page 1 of 8
               Case 3:18-cv-00721-BR                        Document 29                Filed 05/31/18              Page 64 of 84
                    Case 3:17-cv-05989                     Document 1-1               Filed 11/28/17              Page 3 of 9



                                                                                             date of the Order unless Product                    Terms
(d) The Product Terms for each Order shall be as stated in the Product Guide as of the
                                                                    of doubt, Product   Terms that conflict with the Product Guide and
are stated in the applicable Schedule (if any). For the avoidance
any future pricing commitments that are agreed upon by
                                                        the parties  must be  stated in a Schedule  signed by Quest and Customer.


3.    Software License.

                                                                                                      and Customer accepts from Quest, a
(a) Internal Use License. Subject to the terms of this Agreement, Quest grants to Customer,
                                  forth in     Order), non-exclusive,  non-transferable   (except  as otherwise set forth herein) and non-
perpetual (unless otherwise   set          an
                                                                                                                of Software identified in the
sublicensable license to (i) install, execute, access, run, or otherwise use the quantities of each item
                                                                              with the  applicable  Product   and  License Type, (ii) make a
applicable Order within the parameters of the Product Terms associated
reasonable number of additional copies of the Software to be used solely for non-productive archival or passive
                                                                                                                           disaster recovery

purposes, provided such copies are kept     in a  secure location and  are not used   for production  purposes    unless the primary copy of
the Software is not being used for production purposes, and (iii) make and use copies of the Documentation as reasonably
necessary to support Customer's authorized users in their use of the Software (collectively,
                                                                                                   "License"). Each License shall only be
used by Customer in the country in which the Software is initially delivered        to  Customer.   Except for MSP Licenses (as defined
                        only      the  Software  to support the internal business  operations  of itself and its worldwide Affiliates.
below). Customer  shall       use


                                          is specifically identified in an Order, Customer shall be granted a License to use              the Software
(b) MSP License. If an MSP License
                                                                                                                                          and systems
identified in the Order and the associated Documentation as a managed service provider ("MSP") to provide software
management services, including, without limitation, application, operating system, and database implementation,                           performance
                                                                                                       named client stated                in the Order
tuning, and maintenance services ("Management Services"), for the benefit of the single
                                           Agreement     and the  MSP   Use Terms  in the Product Guide.
("Client"), pursuant  to the terms of this


(c) Evaluation License. If      Order indicates that Software is to be used for evaluation purposes, or if the Software is otherwise
                                an
                                                                                                                                      in
obtained from Quest for evaluation purposes, Customer shall be granted a non-production License to use the Software identified
the Order and the associated Documentation solely for Customer's own internal evaluation purposes for an evaluation period
                                                                                                                                  of up
to thirty (30) days from the date of delivery of the Software, plus any extensions granted by Quest in writing (the
                                                                                                                         "Evaluation
Period"). There is no fee for Customer's use of the Software for non-production evaluation purposes during the Evaluation Period,
                                                                                                                   fees which may be
however, Customer is responsible for any applicable shipping charges or taxes which may be incurred, and any
associated with usage beyond the scope permitted    herein. Customer's  opportunity for a free evaluation of the Software is limited to
one Evaluation Period per release of the Software. Notwithstanding anything
                                                                                  otherwise set forth in this Agreement, Customer
                                                                                                                         Maintenance
understands and agrees that evaluation Software is provided "AS IS" and that Quest does not provide a Warranty or
Services for evaluation Licenses.

(d) Third Party Use. If Customer contracts with a third party who performs Software implementation, configuration, consulting
                                                                                                                                    or
                                                                                                               Licensed by Customer
outsourcing services ("Service Provider"), the Service Provider may use the Software and Documentation
                                                                                                                     Service Provider
hereunder solely for purposes of providing such services to Customer, provided that (i) Customer ensures that the
                     and  Documentation     in accordance   with the terms  of  this Agreement,   (ii) the use  of the Software and
uses the Software
                                                                                                                               Service
Documentation by the Service Provider will not violate the terms of the export restrictions set forth herein, and (iii) the
                                                                                                                        of its Service
Provider is not a Quest competitor, Customer shall be jointly and severally liable to Quest for the acts and omissions
Providers in connection with their permitted use of the Software and Documentation.

                                                                                                                              Quest website, the terms
(e) Freeware. If a freeware version of Quest software ("Freeware") is downloaded by Customer from                         a

of such use shall be governed by the applicable Freeware definition set forth in the Product Guide.

     Restrictions. Except to the extent expressly permitted by applicable law, and to the extent that Quest is not permitted by
                                                                                                                                                      that
4.
                                       the following  rights,  Customer             not reverse engineer, decompile, disassemble, or attempt to
applicable  law to exclude  or   limit                                       may
discover or modify in any way the underlying source code of the Products, Documentation or any part thereof. In addition, Customer
may not (i) modify, translate, localize, adapt, rent, lease, loan, create or prepare
                                                                                               derivative works of, or create a patent based on the
           Documentation                   thereof,     (ii) resell  the Products        Documentation      or use the Products or Documentation in
Products,                   or  any part             or                              or

any commercial time share arrangement,            in connection      with  the  operation    of  any   nuclear  facilities, or for purposes which are
                                                                                                                      hereunder must contain all titles,
competitive to Quest. Each permitted copy of the Software and Documentation made by Customer
trademarks, copyrights   and    restricted  rights  notices   as in   the  original.  Customer     understands    and    agrees that the Products may
work in conjunction with third party products       and  Customer      agrees   to  be  responsible   for  ensuring  that  it is properly licensed to use
                                                                                                                                          set forth herein
such third party products. Notwithstanding anything otherwise set forth in this Agreement, the terms and restrictions
                                                                    additional       different  rights  to               source software that may be
shall not prevent or   restrict   Customer     from  exercising                  or                         any  open
                                                                                                                                              not use any
contained in or provided with the Products in accordance with the applicable open source licenses. Customer may
license keys or other license access devices not provided by Quest, including but not limited to "pirate keys", to
                                                                                                                                     install or access the
 Products.

 5.   Reservation of Rights and Ownership. Quest reserves any and all rights, implied or otherwise, which are not expressly
 granted to Customer in this Agreement. Customer understands and agrees that (i) the Products are protected by copyright
                                                                                                                                     and
 other intellectual property laws and treaties, (ii) Quest and/or its suppliers own the title, copyright, and other intellectual property
                                                                                                                 Customer any rights to
 rights in the Products, (iii) the Software is licensed, and not sold, and (iv) this Agreement does not grant
 Quest's trademarks or service    marks.



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                                                                                                            Exhibit B - Nike Answer/Counterclaims
                                                                                                                                      Page 2 of 8
                Case 3:18-cv-00721-BR                     Document 29                Filed 05/31/18             Page 65 of 84
                    Case 3:17-cv-05989                    Document 1-1              Filed 11/28/17             Page 4 of 9




                                                                                  to such Hardware shall pass to Customer
6.  Hardware. In the event Customer acquires Hardware under this Agreement, title
upon shipment (unless such Hardware is rented, leased or loaned to Customer).

                                                                                        the fees specified in each Order, including any
7.   Payment. Customer agrees to pay to Quest (or, if applicable, the Partner)
                                     will be  invoiced promptly following delivery of the Products or prior to the commencement of any
applicable shipping fees. Customer
                                                                                           in full within thirty (30) days from the date of
Renewal Maintenance Period and Customer shall make all payments due to Quest
                                                                                               to Quest by Customer that remain unpaid
each invoice or such other period (if any) stated in a Schedule. Any amounts payable
                                                       of 1.5% of the invoice amount   per  month  from the due date until such amount is
after the due date shall be subject to a  late  charge
paid, or the maximum rate permitted by law if less.
                                                                                                                value-added or
8.  Taxes. The fees stated in an Order may not include taxes. If Quest is required to pay sales, use, property,
                                                                               Agreement        Customer's       of Products or
other taxes based on the Products or Maintenance Services provided under  this            or on             use
                                                                                             does not apply to taxes based on
Maintenance Services, then such taxes shall be billed to and paid by Customer. This Section
Quest's income.

9.     Term and Termination.

                                           will begin on the last or only date of the signatures below" (the 'Agreement Date") and
                                                                                                                                          will
(a) Term. The    term of this   Agreement
                                        unless  earlier terminated   in accordance   with the  provisions   hereof (the "Initial Term"). Upon
continue for one (1) year thereafter
                                                                                                          of one (1) year (each, a "Renewal
expiration of the Initial Term, this Agreement shall automatically renew for additional terms                  or a Renewal Term of its intent
                           notifies the other  at least thirty (30) days prior to the end  of the Initial Term
Term")   unless one  party
not to renew.

                                                                                                    mutual agreement of Quest and
(b) Termination. This Agreement or Licenses granted hereunder may be terminated (i) by
                                                              commits     material breach of  this Agreement   and fails to cure such
Customer, (ii) by Quest, if Customer or a Service Provider              a
                                                                                                               or (iii) by Customer for
breach to Quest's reasonable satisfaction within thirty (30) days following receipt of Quest's notice thereof,
                                                              Licenses that are not the subject of a particular breach may not be
any reason upon thirty (30) days written notice to Quest.
                                                                                                        Verification" Sections of this
terminated by Quest, but any noncompliance with the "Restrictions, 'Nondisclosure or "Usage
Agreement will be considered      a   material breach of all Licenses.

                            or Termination. In the event a party elects not to renew this Agreement upon the expiration
                                                                                                                                         of the Initial
 (c) Effect of Expiration
Term or a Renewal       Term  as  set forth in Section  9(a),  9(b)(i) or  9(b)(iii)„ this  Agreement      shall   expire.  Upon  expiration    of this
                                                            will no longer Approve     Orders    under   this  Agreement;    however,   the  Licenses
Agreement, Customer may no longer place, and Quest
or Maintenance Services purchased by Customer prior to such expiration will continue
                                                                                                       in effect and will remain subject to this
Agreement until each such License or Maintenance        Service   expires  or  is otherwise   terminated.     Upon termination of this Agreement
                                                                                                           all rights granted to Customer for the
in accordance with Section 9(b)(ii), or expiration or termination of a License for any reason,
                                                                                                    cease using the applicable Software and
applicable License(s) shall immediately cease and Customer shall immediately: (i)
                                                                            of  the  applicable   Software      from all Customer computers, (iii)
Documentation, (ii) remove all copies, installations, and instances
                                                                                                                          with the Software and all
return the applicable Software to Quest together with all Documentation and other materials associated
                                                                          using   the Maintenance       Services    associated   with the applicable
copies of any of the foregoing, or destroy such items, (iv)       cease
                                                                      due  and   payable       to the date of termination, and (vi) give Quest a
 License(s), (v) pay Quest  or the applicable  Partner all amounts                         up
                                                                                                                   of this Agreement or a License
written certification that Customer has complied with all of the foregoing obligations. Termination
 shall be without prejudice to any other remedies that the terminating party may              have    under    law,  subject to the limitations and
exclusions set forth in this Agreement.

                                                                                                     termination of this Agreement or
 (d) Survival. Any provision of this Agreement that requires or contemplates execution after
               termination  of   License   is enforceable  against   the  other party and their respective successors and assignees
 expiration or                 a
                                                                                                                       or Termination,
 notwithstanding termination or expiration, including, without limitation, the Payment, "Taxes, 'Effect ExpirationVerification, and
                                                                                                          of

 "Survival, Warranty Disclaimer, "Infringement, "Restrictions, "Limitation of Liability, "Nondisclosure, 'Usage
 "General" Sections of this Agreement.

                                                                                              to the export control laws, rules, regulations,
 10.   Export. Customer acknowledges and agrees that the Products are subject
 restrictions and national security   controls  of the  United States and other  applicable   foreign agencies (the "Export Controls"), and
 agrees not to export or re-export, or allow the export or re-export
                                                                            of the Products     or any copy, portion or direct product of the
                                          Controls.  Customer    hereby represents  that  (i)  Customer is not an entity or person to which
 foregoing   in violation  of the Export
                                                                                                                    or otherwise transfer the
 shipment of Products is prohibited by the Export Controls; and (ii) Customer will not export, re-export                             to a United
 Products to (a) any country subject to a United States trade embargo, (b) a national or resident of any country subject
                                                                                                              Export Controls, or (d) anyone
 States trade embargo, (e) any person       or entity  to which shipment  of Products  is  prohibited  by the
                                                                                                                     nuclear facilities, nuclear
 who is engaged in activities related to the design, development, production, or use of nuclear materials,
 weapons,    missiles  or chemical or  biological weapons.




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                                                                                                          Exhibit B - Nike Answer/Counterclaims
                                                                                                                                    Page 3 of 8        4/3p
                 Case 3:18-cv-00721-BR                       Document 29             Filed 05/31/18       Page 66 of 84
                         Case 3:17-cv-05989                 Document 1-1           Filed 11/28/17        Page 5 of 9



                                                                                         Quest shall make available to Customer the
11.    Maintenance. During any Maintenance Period and for the applicable fees,
                                    for the Software    defined in this Section  11  (Maintenance     Services"). The first Maintenance
maintenance and support services                     as
                                                                                        and  ends  twelve  (12) months thereafter unless
Period begins on the date of delivery of the Software following an Approved
                                                                                 Order
                                                                                                             Initial Maintenance Period,
otherwise set forth in the applicable Order (the "Initial Maintenance Period"). Following
                                                                                                       the
                                                        additional terms   of twelve   (12)  months  (each,   a "Renewal Maintenance
Maintenance Services shall automatically renew      for
                                                                                  notice to the other at least  sixty (60) days prior to the
Period") unless the renewal has been cancelled by either party giving
                                                                         written
                                     Maintenance  Period. Cancellation  of Maintenance     Services will not terminate Customers rights
first day of the applicable Renewal
                                                                               of a Renewal Maintenance Period and shall be subject
to continue to use the Software. Maintenance fees shall be due in advance
                                                                                             Maintenance Services after it has lapsed is
to the payment requirements set forth in this Agreement The procedure for reinstating
posted   at    httpl/supportouestcom/Maintenance Service.ase.
                                                                                              via the Internet, e-mail,        telephone and
               otherwise stated in the Product Guide, Maintenance Services shall be available
                                                                                                                          or
Except    as
shall   mean    the   following:
                                                                                                               Software corrections,
(a) Quest shall  make available to Customer new versions and releases of the Software, including
                                                                                  without charge     part of Maintenance  Services.
enhancements and upgrades, if and when Quest   makes   them  generally  available                 as
                                                                                            failures not previously reported to Quest
(b) Quest shall respond to unlimited communications from Customer that report Software
                                                                                   communication by Customer regarding Software
by Customer. Nothing in the foregoing shall operate to limit or restrict follow up
failures.

                                                                                             with the operational/technical aspects            of
(c) Quest shall respond to requests from Customer's technical coordinators for assistance            in its sole reasonable discretion,
the Software; provided that Quest shall have the right to limit such responses if Quest determines,
                                                                            the       and  nature of the requests. Any such onsite
that on-site consulting services would  be  more  appropriate    to address     scope
consultation would be pursuant to a services agreement as agreed upon by the parties.

(d) Customer shall have            access to   Quest's Support Web site at http://supportquestcom ("Support Link").
                                                                                                     as indicated on Support Link.     In
(e)  Maintenance Services are available during standard support hours ("Business Hours")
                                                                          Severity   Level 1 support)   for certain Software. The list of
addition, Customer may purchase Business      Critical Support (i.e. 24x7
Software for which Business Critical Support is available and/or required is set forth on Support Link.

                                                                                                   which reports a critical Software
 (f) During Business Hours, Quest will respond within one (1) hour to a call from Customer
                                                                                                                    with the necessary
 condition (a "Severity Level 1 Problem"). Customer must use commercially reasonable efforts to provide Quest
                                 identification and resolution of   Severity Level 1 Problem. Quest's ability to identify and resolve a
 remote access to facilitate the                                  a

 Severity Level 1 Problem may be delayed without such remote access,
                                                                                                   an acquisition or merger may, for a
 (g) The Maintenance Services for those Software products that Quest has obtained through                            in this Section 11.
                following      effective date  of the  acquisition or merger, be governed by terms other than those
 period of time            the
                                  if
 The applicable different terms, any,    shall be  stated on Support  Link.

 12. Warranties.

                                                                                                             of Software pursuant to an
 (a) Software Warranty, Quest warrants that, for a period of thirty (30) days following the initial delivery
                                                          provided  by Quest, if         which   the  Software   is recorded will be free
 Approved Order (the "Warranty Period"), (i)  the  media                         any, on

 from material defects in materials and workmanship under normal use, (ii) the  operation of the  Software,   as  provided by Quest, will
                               Documentation applicable to such Software, and (iii) the Software as delivered by Quest does not
 substantially conform  to the
 contain any viruses, worms, Trojan Horses, or other malicious or destructive code designed by Quest to allow
                                                                                                                      unauthorized
 intrusion upon, disabling of, or erasure of the Software (however, the Software may contain a key limiting use of the
                                                                                                                            Software
 to within the scope of License granted, and license keys issued by           Quest  for temporary    use  are  time-sensitive)  (the
                                               notice    Quest of     breach of the Warranties no later than five days following the
 "Warranties").   Customer  must  give written        to          any
 expiration of the Warranty Period
                                                                                                                    be as follows: (a) for
 Customer's exclusive remedies, and Quest's sole obligations, for any such breach of these Warranties shall
 the warranty in subsection (i), Quest shall, at its expense, replace any defective media; (b) for the warranty in subsection (ii),
                                                                                                                                     Quest
                                                                                                                     within a reasonable
 shall correct or provide a workaround for reproducible errors in the Software that cause a breach of the warranty
                                                                                                                                    for the
 time considering the severity of the error and its effect on Customer, or, at Quest's option, refund the license fees paid
                                                                                                                           and (c) for the
 nonconforming Software upon return of such Software to Quest and termination of the related License(s) hereunder;
 warranty in subsection (iii), Quest shall provide a copy of the Software that is in conformance with such warranty.

 The foregoing Warranties shall not apply to any non-conformance (i) that Quest cannot recreate after exercising commercially
                                                                                                                in a manner that is
 reasonable efforts to attempt to do so; (ii) caused by misuse of the Software or by using the Software
 inconsistent with this Agreement or the Documentation: or (iii) arising from the modification of the Software by anyone other than
 Quest.

     Hardware Warranty. Hardware shall be warranted in accordance with the warranty document delivered with the
                                                                                                                     Hardware
 (b)
 and/or included on the hardware manufacturers' website. In the event Customer acquires Hardware that is delivered
                                                                                                                   with a third


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                                                                                                     Exhibit B - Nike Answer/Counterclaims
                                                                                                                               Page 4 of 8
                 Case 3:18-cv-00721-BR                Document 29                  Filed 05/31/18           Page 67 of 84
                      Case 3:17-cv-05989             Document 1-1                  Filed 11/28/17          Page 6 of 9



party warranty ("Third Party Warranty"), Customer        will   rely solely   on   the   applicable third party for all Third Party Warranty
obligations.
                                                                        IN THIS SECTION ARE THE ONLY
(c) Warranty Disclaimer. THE EXPRESS WARRANTIES AND REMEDIES SET FORTH          EXTENT PERMITTED BY
WARRANTIES AND REMEDIES PROVIDED BY QUEST HEREUNDER. TO THE MAXIMUM
                                                                                      OR IMPLIED, ORAL
APPLICABLE LAW, ALL OTHER WARRANTIES OR REMEDIES ARE EXCLUDED, WHETHER EXPRESS
                                                   OF MERCHANTABILITY, FITNESS   FOR  ANY PARTICULAR
OR WRITTEN, INCLUDING ANY IMPLIED WARRANTIES
                                                                                             OF TRADE
PURPOSE, NON-INFRINGEMENT, SATISFACTORY QUALITY, AND ANY WARRANTIES ARISING FROM USAGE
OR COURSE    OF  DEALING   OR  PERFORMANCE QUEST  DOES NOT  WARRANT   UNINTERRUPTED    OR  ERROR-FREE
OPERATION OF THE PRODUCTS

13.       Infringement. Questwill at its own expense defend or settle any claim, suit, action, or proceeding brought against Customer
by    third party to the extent it is based on an allegation that the Software directly infringes any patent, copyright, trademark, or
      a
other proprietary right enforceable in the country in which the Software is delivered to Customer, or misappropriates a
                                                                                                                           trade secret
in such country (a "Claim"). Additionally, Quest shall pay any judgments finally      awarded   against Customer under  a Claim  or any

amounts assessed against Customer in any settlements of a Claim, and reasonable administrative costs or expenses, including
without limitation reasonable attorneys' fees, necessarily incurred by Customer in responding to the Claim. Quest's obligations
under this Section are conditioned upon Customer (i) giving prompt written notice of the Claim to Quest; (ii) permitting Quest
                                                                                                                                     to
retain sole control of the investigation, defense or settlement of the Claim, and (iii) providing Quest with such cooperation and
assistance as Quest may reasonably request from time to time in connection with the investigation, defense or settlement of the
Claim. Quest shall have no obligation hereunder to defend Customer against any Claim (a) resulting from use of the Software other
than as authorized in this Agreement, (b) resulting from a modification of the Software other than by Quest, or (c) based
                                                                                                                                     on

Customer's use of the Software after Quest recommends discontinuation because of possible or actual infringement, (d) based on
Customer's use of a superseded or altered release of Software if the infringement would have been avoided by use of a current or
unaltered release of the Software made available to Customer, or (e) to the extent the Claim arises from or is based on the use of
the Software with other products, services, or data not supplied by Quest if the infringement would not have occurred but for such
use. If Customer's use of the Software is enjoined as a result of a Claim, Quest shall, at its expense and option either (i) obtain for
Customer the right to continue using the Software, (ii) replace the Software with a functionally equivalent non-infringing product, (iii)
modify the Software so that it is non-infringing, or (iv) accept the return of the infringing Software and refund the license fee paid for
the infringing Software, pro-rated over a sixty (60) month period from the date of delivery of the Software following an Approved
Order.. This Section states the entire liability of Quest, and Customer's sole and exclusive remedy, with respect to a Claim.

14. Limitation of Liability. EXCEPT FOR (A) ANY BREACH OF THE "RESTRICTIONS" OR "NONDISCLOSURE' SECTIONS
OF THIS AGREEMENT, (B) AMOUNTS CONTAINED IN JUDGMENTS OR SETTLEMENTS WHICH QUEST IS LIABLE TO PAY
ON BEHALF OF CUSTOMER UNDER THE 'INFRINGEMENT" SECTION OF THIS AGREEMENT, OR (C) ANY LIABILITY TO
THE EXTENT LIABILITY MAY NOT BE EXCLUDED OR LIMITED AS A MATTER OF LAW, IN NO EVENT, SHALL QUEST, ITS
AFFILIATES, OR SUPPLIERS, OR CUSTOMER OR ITS AFFILIATES, BE LIABLE FOR ANY INDIRECT, INCIDENTAL, SPECIAL
OR CONSEQUENTIAL LOSS OR DAMAGE OF ANY KIND, INCLUDING BUT NOT LIMITED TO LOSS OF REVENUE, LOSS OF
ACTUAL OR ANTICIPATED PROFITS, LOSS OF BUSINESS, LOSS OF CONTRACTS, LOSS OF GOODWILL OR REPUTATION,
LOSS OF ANTICIPATED SAVINGS, LOSS OF, DAMAGE TO OR CORRUPTION OF DATA, HOWSOEVER ARISING, WHETHER
SUCH LOSS OR DAMAGE WAS FORESEEABLE OR IN THE CONTEMPlATION OF THE PARTIES AND WHETHER ARISING
IN OR FOR BREACH OF CONTRACT, TORT (INCLUDING NEGLIGENCE), BREACH OF STATUTORY DUTY, OR OTHERWISE.

EXCEPT FOR (A) ANY BREACH OF THE "SOFTWARE LICENSE, "RESTRICTIONS, "EXPORT" OR "NONDISCLOSURE'
SECTIONS OF THIS AGREEMENT, OR ANY OTHER VIOLATION OF THE OTHER PARTY'S INTELLECTUAL PROPERTY
RIGHTS; (B) QUEST'S EXPRESS OBLIGATIONS UNDER THE 'INFRINGEMENT' SECTION OF THIS AGREEMENT; (C)
QUESTS COSTS OF COLLECTING DELINQUENT AMOUNTS WHICH ARE NOT THE SUBJECT OF A GOOD FAITH DISPUTE;
OR (D) ANY LIABILITY TO THE EXTENT LIABILITY MAY NOT BE EXCLUDED OR LIMITED AS A MATTER OF LAW, THE
MAXIMUM AGGREGATE AND CUMULATIVE LIABILITY OF QUEST, ITS AFFILIATES AND SUPPLIERS, AND CUSTOMER AND
ITS AFFILIATES UNDER THIS AGREEMENT, WHETHER ARISING IN OR FOR BREACH OF CONTRACT, TORT (INCLUDING
NEGLIGENCE), BREACH OF STATUTORY DUTY, OR OTHERWISE, SHALL NOT EXCEED THE FEES PAID AND/OR OWED
(AS APPLICABLE) BY CUSTOMER OR ITS AFFILIATES FOR THE PRODUCTS OR MAINTENANCE SERVICES THAT ARE THE
SUBJECT OF THEBREACH. FOR MAINTENANCE SERVICES OR A PRODUCT SUBJECT TO RECURRING FEES, THE
LIABILITY SHALL NOT EXCEED THE AMOUNT PAID AND/OR OWED (AS APPLICABLE) FOR SUCH MAINTENANCE SERVICE
OR PRODUCT DURING THE TWELVE (12) MONTHS PRECEDING THE BREACH,

Quest's Affiliates and suppliers and Customer's Affiliates shall be beneficiaries of this "Limitation of Liability" section and Customer's
Service Providers are entitled to the rights granted under the "Third Party Use" section of this Agreement; otherwise, no third party
beneficiaries exist under this Agreement, Quest expressly excludes any and all liability to Customer's Service Providers, Clients and
to any other third party.


15. Nondisclosure. "Confidential Information" means information or materials disclosed by one party (the °Disclosing Party")
to the other party (the "Receiving Party") that are not generally available to the public and which, due to their character and nature,
a reasonable person under like circumstances would treat as confidential, including, without limitation, the Disclosing Party's

personal data, financial information, marketing information, trade secrets, know-how, proprietary tools, proprietary knowledge and
proprietary methodologies. Confidential Information of Quest further includes this Agreement, the Products (in source code and/or
object code form), the pricing and discounting offered by Quest to Customer hereunder, information regarding the functionality and



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                                                                                                       Exhibit B - Nike Answer/Counterclaims
                                                                                                                                 Page 5 of 8
               Case 3:18-cv-00721-BR                         Document 29                Filed 05/31/18             Page 68 of 84
                      Case 3:17-cv-05989                    Document 1-1               Filed 11/28/17             Page 7 of 9



performance of the Products, benchmark test results regarding the Products, and any Software license keys provided in 45 CFR
                                                                                                                                            to Customer.
                                                                                         Health Information"  (as   that  term   is defined
Additionally, Confidential Information shall include "Individually        Identifiable
                                                                                                                                Act of 1999) that Quest
164501) or "Nonpublic Personal Information" (as that term is defined in Title V of the Gramm-Leach-Bliley
      come   into contact  with  under  this Agreement,     Confidential    Information shall not include information or materials that (a) were,
may
on the Agreement Date, generally known to the public; (b) become generally
                                                                                            known to the public after the Agreement Date other
than as a result of the act or omission of the Receiving Party; (c) were known to the Receiving Party
                                                                                                                                without an obligation of
                                                                       Disclosing    Party; (d) the Receiving    Party   lawfully   received from a third
confidentiality prior to that party receiving   the   same  from  the
party without that third party's breach of agreement or obligation of trust; or (e) are or were independently developed
                                                                                                                                                  by the
                                                 of the  Disclosing  Party's   Confidential   Information.  Additionally,    it shall not be a breach of
Receiving Party    without  access   to  or use
this Section for the Receiving Party to disclose the Disclosing Party's Confidential Information as may be required by operation
                                                                                                                                                        of
law or legal process, provided that the Receiving Party provides prior notice of such disclosure to the Disclosing Party
                                                                                                                                                   unless
                                                                                                                                          The Receiving
expressly prohibited from doing so by a court, arbitration panel or other legal authority of competent jurisdiction.
Party shall not (1) make the Disclosing Party's Confidential Information available to any Affiliates, directors, officers, employees,
                                                                                                                                                  out the
consultants or representatives (collectively, the "Representatives") who do not have a "need to know" in order to carry
purposes of this Agreement; (2)        otherwise    disclose  the  Disclosing    Party's  Confidential  Information    to  any    third party without the
written consent of the Disclosing Party; or (3) use the Disclosing Party's Confidential Information for any purpose other than
                                                                                                                                                       as

                                             Receiving    Party  shall inform   its  Representatives   of the  confidential     nature of the Disclosing
contemplated by     this Agreement.     The
 Party's Confidential Information and the requirements regarding restrictions on disclosure and use as set forth in this Section and
shall disclose the Disclosing Party's Confidential Information only to its Representatives who are legally bound to protect the
Confidential Information under terms at least as restrictive as those provided herein. The Receiving Party agrees to protect the
 Disclosing Party's Confidential Information from unauthorized use or disclosure by exercising at least the same degree of care it
 uses to protect its own similar information, but in no event less than a reasonable degree of care.
                                                                                                                 The Receiving Party shall be liable
to the Disclosing Party for any    disclosure   or  other breach  in violation   of this Agreement by any     of its Representatives. The Receiving
 Party shall promptly notify the Disclosing Party of any known unauthorized use or disclosure of the Disclosing Party's Confidential
 Information and will cooperate with the Disclosing Party in any litigation brought by the Disclosing Party against third parties to
 protect its proprietary rights.

16.   Compliance   Verification. At Quest's request, but not more frequently than once per year, Customer shall provide a written
report to Quest, signed by an authorized representative, listing Customer's then current deployment of the Products (the "Report").
The Report shall contain data sufficient to verify Customer's deployment of the Products within the quantities, Product Terms, and
maintenance releases to which it is entitled. Customer will permit Quest to review Customer's deployment of the Products for
compliance with the terms and conditions of this Agreement. Any such reviews shall be scheduled at least fifteen (15) days in
advance, shall be conducted during normal business hours at Customer's facilities, and shall not unreasonably interfere with
Customer's business activities. If Customers deployment of the Products is found to be greater than contracted for Customer will
be invoiced for the additional deployment and the unpaid fees shall be payable in accordance with this Agreement. Additionally, if
the unpaid fees exceed five percent (5%) of the fees paid for the subject Products, then Customer shall also pay Quest's reasonable
costs of conducting the audit. This Section shall not limit or restrict any other rights or remedies of Quest that are otherwise set forth
in this   Agreement   or   available at law.

17. General.


(a) Governing     Law and Venue. This Agreement shall be governed by and construed in accordance with the laws of the State of
New York, without giving effect to any conflict of laws principles that would require the application of laws of a different state. The
parties agree that neither the United Nations Convention on Contracts for the International Sale of Goods, nor the Uniform
Computer Information Transaction Act (UCITA) shall apply to this Agreement, regardless of the states in which the parties do
business or are incorporated. (b)Assignment. Except as otherwise set forth herein, Customer shall not, in whole or part, assign or
transfer any part of this Agreement, Licenses granted under this Agreement, or any other rights provided hereunder without the prior
written consent of Quest. Any attempted transfer or assignment by Customer that is not permitted by this Agreement shall be null
and void,


(c) Severability. If any provision of this Agreement shall be held by a court of competent jurisdiction to be contrary to law, such
provision will be enforced to the maximum extent permissible and the remaining provisions of this Agreement will remain in full force
and effect. Notwithstanding the foregoing, the terms of this Agreement that limit, disclaim, or exclude warranties, remedies or
damages are intended by the parties to be independent and remain in effect despite the failure or unenforceability of an agreed
remedy. The parties have relied on the limitations and exclusions set forth in this Agreement in determining whether to enter into it.

(d) Use by U.S. Government. The Software is a "commercial item" under FAR 12.201. Consistent with FAR section 12.212 and
DFARS section 227.7202, any use, modification, reproduction, release, performance, display, disclosure or distribution of the
Software or Documentation by the U.S. government shall be governed solely by the terms of this Agreement and shall be prohibited
except to the extent expressly permitted herein. In addition, when Customer is a U.S. government entity, the language in Subsection
12 (ii) of this Agreement and Section 16 (i) of this Agreement shall not be applicable.


(e)  Personal Data. Customer hereby acknowledges and agrees that Quest's performance of this Agreement may require Quest to
process or store personal data of Customer, its employees and Affiliates and to transmit such data internally within Quest or to
Quest Affiliates, Such processing, storage, and transmission (i) shall be for the sole purpose of, and only to the extent necessary
for Quest to perform its obligations under this Agreement and (ii) may take place in any of the countries in which Quest and its



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                                                                                                             Exhibit B - Nike Answer/Counterclaims      4Ppr
                                                                                                                                       Page 6 of 8
              Case 3:18-cv-00721-BR                        Document 29            Filed 05/31/18            Page 69 of 84
                     Case 3:17-cv-05989                    Document 1-1          Filed 11/28/17            Page 8 of 9



Affiliates conduct business, including countries outside of the European Economic Area. Quest hereby affirms to Customer that
Quest Software, Inc. currently abides by the safe harbor framework as set forth by the U.S. Department of Commerce regarding the
collection, use and retention of data from the European Union.

(f) Notices. All notices provided hereunder shall be in writing and addressed to the legal department of the respective party or to
such other address as may be specified in an Order or in writing by either of the parties to the other in accordance with this Section.
Notices may be, delivered personally, sent by facsimile or e-mail, or mailed by first class mail, postage prepaid. All notices,
requests, demands or communications shall be deemed effective upon personal delivery or four (4) days following deposit in the
mail in accordance with this paragraph,

(g) Intentionally omitted.

(h) Waiver. Performance of any obligation required by a party hereunder may be waived only by a written waiver signed by an
authorized representative of the other party, which waiver shall be effective only with respect to the specific obligation described
therein. Any waiver or failure to enforce any provision of this Agreement on one occasion will not be deemed a waiver of any other
provision or of such provision on any other occasion.

(i)   Injunctive   Relief. Each party   acknowledges   and agrees that in the event of   a   material breach of this Agreement, including but
not limited to a breach of the "Software      License, Restrictions" or "Nondisclosure" Sections of this Agreement, the non-breaching
party shall be entitled to seek immediate     injunctive relief, without limiting its other rights and remedies.

(j)   Counterparts. This Agreement and the applicable Schedule(s) may be executed in one or more counterparts, each of which
shall be deemed  an original and shall constitute one and the same instrument. Signatures exchanged via facsimile will be deemed

originals.

(k) Force Majeure. Each party will be excused from performance for any period during which, and to the extent that, it is
prevented from performing any obligation or service as a result of causes beyond its reasonable control, and without its fault or
negligence, including without limitation, acts of God, strikes, lockouts, riots, acts of war, epidemics, communication line failures, and
power failures. Nothing in the foregoing shall be deemed to relieve Customer or its Affiliates of its obligation to pay fees owed under
this Agreement.

(I) Equal Opportunity. Quest       Software Inc. is    a   federal contractor and Affirmative Action employer   (M/F/DN)   as   required by   the
Equal Opportunity clause C.F.R.         60-741.5(a).

(m) Headings. Headings in this Agreement are for convenience only and do not affect the meaning or interpretation of this
Agreement. This Agreement will not be construed either in favor of or against one party or the other, but rather in accordance with
its fair meaning. When the term "including" is used in this Agreement it will be construed in each case to mean "including, but not
limited to,

(n) Legal Fees. If any legal action is brought to enforce any rights or obligations under this Agreement, the prevailing party shall
be entitled to recover its reasonable attorneys' fees, court costs and other collection expenses, in addition to any other relief it may
be awarded.


(o) Entire Agreement. This Agreement constitutes the entire agreement between the parties regarding the subject matter thereof
and supersedes all prior or contemporaneous agreements or representations, written or oral, concerning the subject matter of this
Agreement, Additionally, this Agreement supersedes the terms appearing in websites provided by Customer and used by Quest to
facilitate Customer's purchase of or payment for Products and the terms of any Quest shrinkwrap or "click-through" agreement
provided with the Products. In the event of a conflict between the terms of this Agreement and the terms contained in a Schedule
signed by Quest, the terms in the Schedule shall control. If necessary, Quest and Customers Affiliates shall negotiate in good faith
to enter into a local agreement that reflects local laws, terms and conditions and references this Agreement. In the event of a conflict
between the terms in this Agreement and the terms in any local agreement, the terms in the local agreement shall take precedence.
Neither this Agreement, nor an Order, may be modified or amended except by a writing executed by a duly authorized
representative of each party. No other act, document, usage or custom shall be deemed to amend or modify this Agreement or an
Order.     Delivery of Products shall be FOB Shipping Point

IN WITNESS WHEREOF, Quest           and the Customer have caused this        Agreement   to be executed and delivered      by their respective
duly authorized representatives.
                                                           Signature Page   to Follow




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                                                                                                       Exhibit B - Nike Answer/Counterclaims      iPp
                                                                                                                                 Page 7 of 8
            Case 3:18-cv-00721-BR                Document 29       Filed 05/31/18    Page 70 of 84
                  Case 3:17-cv-05989            Document 1-1     Filed 11/28/17     Page 9 of 9



Quest Software, Inc.                                       Customer: World Fue               orporation

By:
                       k.                                  By:

                                                           Name:       tACtsCI°Qa Sta I jr1
Name:                        .Ipnnifnr Frnnks

Title:
              Director of WorldwitieLicensing Operations
                            Legal Dews hi iel it
                                                           Title
                                                                      Ghle{ 1 IN-04 &AN\            ()fete y
Date:                       WM /I 2—                       Date:         04-    h I 12—




                                                                               Exhibit B - Nike Answer/Counterclaims
                                                                                                         Page 8 of 8
Case 3:18-cv-00721-BR   Document 29   Filed 05/31/18   Page 71 of 84




                   Exhibit C
       Case 3:18-cv-00721-BR               Document 29           Filed 05/31/18         Page 72 of 84




Quest Software Inc.
4 Polaris Way
                                                                                Quest
Aliso Viejo, CA 92655
tel +1 949 754 8000
fax + 1 949 754 8999

Nike Inc.
Jim Scholefield
Chief Information Officer
1 Bowerman Drive
Beaverton, OR 97005

January 4, 2017

Ref: Quest Software Inc. (formerly Dell Software Group) License Compliance Notification

Dear Mr. Scholefield:

As part of Quest Software Inc. ("Quest") ongoing License Compliance management activities, we hereby
inform you of our intention to conduct a License Compliance review of Nike Inc. ("Nike") and its subsidiary
and affiliate companies. The review will focus on the deployment of Quest products in your organization, in
accordance with your Software Transaction Agreement.

This review will be performed with the assistance of Deloitte & Touche LLP ("Deloitte") who has been
engaged by Quest to act as an independent third party in verifying the software deployment & entitlement at
Nike. The primary contact from Deloitte supporting your audit is Travis Markowitz. Travis will contact your
office to schedule an introductory meeting between all parties.

During this meeting, we will explain the proposed scope of the review, next steps, and the estimated timeline
for completion. Quest has directed Deloitte to complete all efforts relating to data collection and delivery of
the audit report to your organization within 60 days.

It is important that your organization does not remove any installations or change any access to Quest
products from the date of this notification letter up to completion of the License Compliance review. This
review activity should not in any way inhibit sales negotiations between Quest and Nike that are in progress
for license acquisition or support renewal. Any such transactions will be captured and accounted for as part
of the license review.

We at Quest would like to thank you for your business. We value our partnership and believe that our joint
attention to software compliance will strengthen our relationship going forward.

Thank you for your support.

Sincerely,




Aaron McGowan
Field Programs Manager — License Compliance
Aaron.McGowan@Quest.com
+1.949.754.8942


CC: Doug Fitch (Quest)
CC: Travis Markowitz (Deloitte)




                                                                                 Exhibit C - Nike Answer/Counterclaims
                                                                                                           Page 1 of 1
Case 3:18-cv-00721-BR   Document 29   Filed 05/31/18   Page 73 of 84




                   Exhibit D
                 Case 3:18-cv-00721-BR                       Document 29               Filed 05/31/18              Page 74 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)




    KeyCite Yellow Flag - Negative Treatment
Distinguished by Energy Intelligence Group, Inc. v. Tudor, Pickering, Holt & Co. Securities, Inc., S.D.Tex., January 28, 2013
                                                   2011 WL 4500922
                                     Only the Westlaw citation is currently available.
                                              United States District Court,
                                                    C.D. California.

                                          QUEST SOFTWARE, INC., Plaintiff,
                                                       v.
                                        DIRECTV OPERATIONS, LLC, Defendant.

                                                  No. SACV 09–1232 AG (ANx).
                                                                |
                                                         Sept. 26, 2011.


Attorneys and Law Firms

William Charles Bollard, William Donald Chapman, Julander Brown & Bollard, Irvine, CA, for Plaintiff.

Joseph E. Thomas, Michael I. Katz, Melissa M. Yoon, Thomas Whitelaw and Tyler LLP, Irvine, CA, Jeffrey
Vincent Commisso, Thomas Whitelaw and Tyler LLP, San Francisco, CA, for Defendant.



             ORDER RE DEFENDANT’S MOTIONS FOR PARTIAL SUMMARY JUDGMENT


ANDREW J. GUILFORD, District Judge.

*1 Plaintiff Quest Software, Inc. (“Plaintiff”) licensed its Foglight computer software to Defendant DirecTV
Operations, LLC (“Defendant”) in 2002. Plaintiff sued Defendant in 2009 for deploying this software in alleged
violation Plaintiff’s copyrights and the parties’ license agreements. Defendant now files two Motions for Partial
Summary Judgment (the “Motions”), the first on Plaintiff’s claims for copyright infringement and breach of
contract, and the second on damages. After considering all arguments and papers submitted, the Courts
GRANTS in part and DENIES in part Defendant’s Motion for Partial Summary Judgment on Plaintiff’s claims
for copyright infringement and breach of contract (“First Motion”). The Court GRANTS in full Defendant’s
Motion for Partial Summary Judgment on damages (“Second Motion”).



BACKGROUND
Defendant provides satellite television to nearly 20 million customers in the United States. (First Motion at
2:17–18.) Plaintiff creates and licenses computer systems management software, including a line of software
named Foglight. (Complaint (“Compl.”) ¶ 5.) Foglight allows users to detect, diagnose, and fix certain problems
in computer systems. (Id. ¶ 7.) Defendant used Foglight primarily to monitor the performance of computer
servers supporting its customer service call centers. (First Motion at 2:15–18.) Foglight software has nothing to
do with Defendant’s satellite television service. (Id.)

In 2002, the parties signed a software license agreement (“License Agreement”) allowing Defendant to use
certain Foglight software. (Id. ¶¶ 10–12.) The License Agreement consisted of two parts—a standard form
software license agreement and a customized addendum (“Addendum”) modifying many of the standard terms
(Defendant’s Statement of Uncontroverted Facts and Law in Support of its Second Motion (“UF2”) ¶ 3.) The

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                                                                                                            Exhibit D - Nike Answer/Counterclaims
                                                                                                                                     Page 1 of 10
              Case 3:18-cv-00721-BR               Document 29           Filed 05/31/18         Page 75 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



License Agreement allowed Defendant to use Foglight on its Windows NT servers only. The License
Agreement also limited Defendant’s use of Foglight to a certain number of central processing units (“CPUs”).
(Defendant’s Statement of Uncontroverted Facts and Law in Support of its First Motion (“UF 1”) ¶ 4.)

Plaintiff alleges that Defendant “overdeployed” Foglight by using it on more CPUs than the License Agreement
permitted. (UF 1 ¶¶ 48–49.) Under the terms of the License Agreement, overdeployment does not constitute an
automatic breach. In fact, the License Agreement permits Defendant to overdeploy Foglight provided that
Defendant later pays Plaintiff for using the software on additional CPUs. This payment is referred to as the
“true-up” payment. (Id.)

Sometime in 2005, Defendant decided to shift its call center CPUs from Windows NT servers to AIX servers.
(UF1 ¶ 8.) Hewlett Packard (“HP”), Defendant’s server administrator, told Plaintiff that the migration to AIX
servers would begin in June 2006 and end in June 2007. (UF1 ¶ 9.) The parties dispute whether, and to what
extent, Plaintiff knew and approved of Defendant’s use of Foglight on the new AIX servers. Indeed,
Defendant’s Motions turn primarily on (1) whether Plaintiff knew and approved of Defendant’s use of Foglight
on AIX servers, and (2) whether Plaintiff knew how many of Defendant’s servers were running Foglight. In any
event, Plaintiff continued to provide support services to Defendant after Foglight was installed on its AIX
servers. (UF 1 ¶¶ 17–23.)

*2 In June 2007, Plaintiff requested information from Defendant concerning its computer systems. At
Defendant’s direction, HP created data reports (the “June 2007 Reports”) and sent them to Plaintiff. The June
2007 Reports purported to show the number and type of servers running Foglight software. (UF1 ¶¶ 32–33.)
Although the parties dispute the accuracy of the June 2007 Reports, there is no dispute Plaintiff could not have
been ignorant of Defendant’s overdeployment after receiving them. (Plaintiff’s Opposition to Defendant’s First
Motion (“Opp’n”) at 4:7–8.)

In late 2008, Plaintiff sent Defendant an invoice that included (1) true-up fees for the overdeployed licenses; (2)
“retroactive” maintenance fees for the overdeployed licenses; and (3) maintenance fees for 2009. (Second
Motion at 3:21:25.) Defendant refused to pay the invoice and Plaintiff filed suit.

Based on these facts and others, Plaintiff asserts claims against Defendant for copyright infringement and
breach of contract. Defendant now files two Motions for Partial Summary Judgment—one on Plaintiff’s claims
for copyright infringement and breach of contract and the other concerning damages.



PRELIMINARY MATTERS
The parties submitted numerous evidentiary objections. In motions with numerous objections, “it is often
unnecessary and impractical for a court to methodically scrutinize each objection and give a full analysis of
each argument raised.” Doe v. Starbucks, Inc., No. 08–0582, 2009 WL 5183773, at *1 (C.D.Cal. Dec.18, 2009).

The Court has reviewed the parties’ objections and relies only on admissible evidence. See F.T.C. v. Neovi, Inc.,
598 F.Supp.2d 1104, 1118 n. 5 (S.D.Cal.2008) (“The parties have each filed evidentiary objections. However,
in deciding the present motions, the Court has only relied upon admissible evidence.”); See also Schroeder v.
San Diego Unified School Dist., Case No. 07–266, 2009 WL 1357414, at *2, n. 1 (S.D.Cal. May 13, 2009).



LEGAL STANDARD
Summary judgment is appropriate only where the record, read in the light most favorable to the non-moving
party, indicates that “there is no genuine issue as to any material fact and ... the moving party is entitled to a
judgment as a matter of law.” Fed.R.Civ.P. 56(c); see Celotex Corp. v. Catrett, 477 U.S. 317, 323–24, 106 S.Ct.
2548, 91 L.Ed.2d 265 (1986). Material facts are those necessary to the proof or defense of a claim, as
determined by reference to substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505,
91 L.Ed.2d 202 (1986). A factual issue is genuine “if the evidence is such that a reasonable jury could return a
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                                                                                         Exhibit D - Nike Answer/Counterclaims
                                                                                                                  Page 2 of 10
              Case 3:18-cv-00721-BR               Document 29           Filed 05/31/18         Page 76 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



verdict for the nonmoving party.” Id. In deciding a motion for summary judgment, “[t]he evidence of the
nonmovant is to be believed, and all justifiable inferences are to be drawn in his favor.” Id. at 255.

The burden initially is on the moving party to demonstrate an absence of a genuine issue of material fact.
Celotex, 477 U.S. at 323. If, and only if, the moving party meets its burden, then the nonmoving party must
produce enough evidence to rebut the moving party’s claim and create a genuine issue of material fact. Id. at
322–23. If the nonmoving party meets this burden, then the motion will be denied. Nissan Fire & Marine Ins.
Co. v. Fritz Co., Inc., 210 F.3d 1099, 1103 (9th Cir.2000).



ANALYSIS
*3 The Court first considers Defendant’s Motion for Partial Summary Judgment on Plaintiff’s claims for
copyright infringement and breach of contract. The Court then considers Defendant’s Motion for Partial
Summary Judgment on maintenance fees damages.



1. PLAINTIFF’S FIRST CLAIM, FOR COPYRIGHT INFRINGEMENT
Plaintiff alleges that Defendant infringed its registered Foglight copyrights, in violation of the Copyright Act,
17 U.S.C. Section 101 et seq. (Compl.¶ 28.) Plaintiff bases this claim on two theories: (1) that Defendant
improperly used Foglight software on CPUs with AIX servers, and (2) that Defendant used Foglight on more
CPUs than the License Agreement permitted (Id. ¶¶ 16, 20, 27.) Plaintiff also claims that Defendant infringed
its copyrights by altering the Foglight software. (Opposition to Defendant’s First Motion (“Opp’n”) at
9:8–10:27.) The Court considers these arguments in turn.



   1.1 Use of Foglight Software on AIX Servers
In its Complaint, Plaintiff alleges that Defendant violated its Foglight copyrights by copying Foglight onto AIX
servers without Plaintiff’s authorization. (Compl.¶ 31.) Defendant argues that using Foglight on its AIX servers
did not violate Plaintiff’s copyrights because Plaintiff impliedly licensed Defendant to do so. (UF 1 ¶ 15.) The
Court agrees with Defendant.

“The existence of a license creates an affirmative defense to a claim of copyright infringement.” Worldwide
Church of God v. Philadelphia Church of God, Inc., 227 F.3d 1110, 1114 (9th Cir.2000). A nonexclusive
license, like the one in this case, may be granted expressly or impliedly through conduct. Effects Assocs., Inc. v.
Cohen, 908 F.2d 555, 558 (9th Cir.1990). An implied license may be found where conduct by the copyright
holder leads another party to believe that they may use the copyright. See Field v. Google, Inc., 412 F.Supp.2d.
1106, 1116 (D.Nev.2006) (citing De Forest Radio Tel. & Tel. Co. v. United States, 273 U.S. 236, 47 S.Ct. 366,
71 L.Ed. 625 (1927)).

An implied license to use copyrighted software exists when “(1) a person (the licensee) requests the creation of
a work, (2) the creator (the licensor) makes that particular work and delivers it to the licensee who requested it,
and (3) the licensor intends that the licensee-requestor copy and distribute [the] work” or “use, retain and
modify the programs.” Asset Marketing Systems, Inc. v. Gagnon, 542 F.3d 748, 754–55 (9th Cir.2008) (footnote
and internal quotation marks omitted).

Here, the first requirement is satisfied because Defendant paid Plaintiff to adapt Foglight to AIX servers
supporting Defendant’s call centers. (UF1 ¶¶ 17–20, 24–26, 37.) The second requirement is also met because
Plaintiff delivered Foglight to Defendant and uploaded it to the AIX servers. (Id. ¶ 23.) And the third
requirement is satisfied because Plaintiff permitted Defendant to use Foglight on AIX servers. The March 2007
Statement of Work signed by the parties provided that Defendant would “[d]eploy Foglight ... on as many AIX
servers as possible ...” (Id. ¶ 25.) The efforts of Plaintiff’s consultants to load Foglight on the AIX servers
further demonstrate that Plaintiff not only knew of Defendant’s use Foglight on the AIX servers, but intended
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                                                                                         Exhibit D - Nike Answer/Counterclaims
                                                                                                                  Page 3 of 10
              Case 3:18-cv-00721-BR                Document 29           Filed 05/31/18         Page 77 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



Defendant to use Foglight in this manner. (Id. ¶ 26.)



   1.2 Overdeployment of Foglight Software
*4 Plaintiff also argues that Defendant violated its Foglight copyrights by running Foglight software on more
CPUs than the License Agreement allowed. This argument fails because it states a claim for contract breach, not
for copyright infringement.

“Generally, a copyright owner who grants a nonexclusive license to use his copyrighted material waives his
right to sue the licensee for copyright infringement and can sue only for breach of contract.” Sun Microsystems
v. Microsoft Corp., 188 F.3d 1115, 1121 (9th Cir.1999) (internal quotation marks omitted). A licensee may sue
for copyright infringement only when the licensee acts outside the scope of the license. Id. (citing S.O.S., Inc. v.
Payday, Inc., 886 F.2d at 1081, 1087 (9th Cir.1989).

To prove that a licensee acted outside the scope of a license, the licensor “must demonstrate that the violated
term ... is a condition rather than a covenant” under state contract law and federal copyright law. MDY Indus.,
LLC v. Blizzard Entm’t, Inc., 2011 U.S.App. LEXIS 3428, at *15, 2011 WL 538748 (9th Cir. Feb 14.2011).
Stated somewhat circularly, conditions are “contractual terms that limit a license’s scope ... the breach of which
constitute[s] copyright infringement.” Id. at *16. All other license terms are “covenants,” which the Ninth
Circuit has defined to mean a “contractual promise, i.e., a manifestation or intention to act or refrain from acting
in a particular way.” Id. (citing Restatement (Second) of Contracts § 2 (1981)).

Here, the overdeployment and true-up provisions in the License Agreement permit Defendant to use Foglight on
additional CPUs for an extra fee. These provisions are properly described as covenants because they do not
concern the scope of the license, only the number of CPUs the license covers. See, e.g., BroadVision, Inc. v.
Medical Protective Co., 2010 U.S. Dist. LEXIS 131106, 2010 WL 5158129 (S.D.N.Y. Nov. 23, 2010)
(applying California law to find that the license provisions permitting excess use of software in exchange for
higher fees are covenants, not conditions.) Because the provision restricting the number of CPUs on which
Foglight can run is a covenant, its breach provides Plaintiff no grounds to claim that Defendant infringed its
copyright.



   1.3 Alteration of Foglight Software
In its Opposition, Plaintiff argues for the first time that Defendant infringed its Foglight copyrights by altering
the Foglight software. (Opp’n at 9:11–27.) Plaintiff contends that its copyright claims must survive Defendant’s
First Motion because “questions remain as to whether DirecTV itself made changes to the Foglight software
beyond those authorized and performed by Quest ....” (UF1 ¶¶ 20, 54, 55.) Plaintiff also states that questions of
fact exist as to whether the customization work performed by HP, Defendant’s agent, constituted copyright
infringement. (Opp’n to First Motion at 9:27–10:1.)

Plaintiff’s argument fails because it is factually unsupported and procedurally improper. To support its
contention that Defendant impermissibly altered the Foglight software, Plaintiff cites several lines of deposition
testimony from Defendant’s employee who used to work for HP and three paragraphs from Defendant’s
Statement of Uncontroverted Facts and Law. (Id. at 9:25–27.) First, Defendant’s employee’s testimony does
nothing to establish that Defendant or HP altered the Foglight software. (Declaration of William J. Kolegraff in
Support of Defendant’s Reply to Plaintiff’s Opp’n at Ex A.; UF1 ¶¶ 20, 54, 55.) It only suggests that HP was
capable of making such changes. (Id.)

*5 Likewise, Plaintiff’s references to Defendant’s uncontroverted facts prove nothing. Those facts establish that
Plaintiff’s consultant “traveled to HP’s facilities multiple times ... to install and customize the Foglight software
on DIRECTV’s AIX servers ...” (UF1 ¶ 20.) But this demonstrates that Plaintiff’s agent, not Defendant,
modified the Foglight software. Other undisputed facts indicate that Plaintiff helped Defendant install,
troubleshoot, and customize Foglight. (Id. ¶¶ 54, 55.) They provide no support for Plaintiff’s claim that
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                                                                                          Exhibit D - Nike Answer/Counterclaims
                                                                                                                   Page 4 of 10
              Case 3:18-cv-00721-BR                Document 29           Filed 05/31/18         Page 78 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



Defendant made impermissible modifications to its software.

Plaintiff’s argument also fails because it is procedurally improper. Plaintiff did not plead this theory of liability
in its Complaint. Nor did Plaintiff raise this argument in its Rule 26(f) disclosure or at anytime during
discovery. See Coleman v. Quaker Oats Co., 232 F.3d 1271 (9th Cir.2000) ( “[A]dding a new theory of liability
at the summary judgment stage would prejudice the defendant who faces different burdens and defenses under a
second theory of liability.” (citations omitted)). The Court will not permit Plaintiff to raise this theory of
liability for the first time in its Opposition to Defendant’s First Motion.



  1.4 Conclusion
There is no genuine issue of material fact concerning Plaintiff’s claim for copyright infringement. Thus, the
Court GRANTS Defendant’s First Motion on Plaintiff’s first claim.



2. PLAINTIFF’S SECOND CLAIM, FOR BREACH OF CONTRACT
Plaintiff alleges that Defendant breached the License Agreements by (1) overdeploying its licenses of Foglight
software and (2) using Foglight on the AIX servers. (Comp.¶ 41.) Defendant does not move for summary
judgment on the basis that it never overdeployed Foglight software. In its First Motion, Defendant instead
argues that equitable estoppel bars Plaintiff from asserting that Defendant breached the License Agreement.
Before turning to the parties’ specific claims, the Court first examines the doctrine of equitable estoppel.



  2.1 Equitable Estoppel
Four elements are necessary to establish equitable estoppel:

             (1) the party to be estopped must know the facts (2) he must intend that his conduct shall
             be acted on or must so act that the party asserting the estoppel has a right to believe it is
             so intended; (3) the latter must be ignorant of the true facts; and (4) he must rely on the
             former’s conduct to his injury.

U.S. v. King Features Entertainment, Inc., 843 F.2d 394, 399 (9th Cir.1988) (citing Bob’s Big Boy Family
Restaurants v. N.L.R.B., 625 F.2d 850, 854 (9th Cir.1980)). In other words, a plaintiff will be estopped from
asserting a breach of contract claim if he aids or induces a breach. See Field v. Google, 412 F.Supp.2d 1106
(D.Nev.2006).

Here, for its equitable estoppel defense to succeed, Defendant must prove the following: (1) that Plaintiff knew
Defendant was using Foglight software on AIX servers or overdeploying Foglight; (2) that Plaintiff’s actions or
omissions led Defendant to believe that Plaintiff did not intend to enforce its rights under the License
Agreement; (3) that Defendant was unaware that Plaintiff objected to its use of Foglight software on AIX
servers or its overdeployment of Foglight; and (4) that Defendant detrimentally relied on Plaintiff’s actions or
omissions.

*6 The parties’ arguments concerning equitable estoppel resemble two ships passing in the night. Defendant
forcefully argues that equitable estoppel bars Plaintiff from claiming that Defendant beached the License
Agreement by using Foglight on the AIX servers, but says little about overdeployment. Plaintiff, on the other
hand, largely ignores the AIX servers. Instead, Plaintiff focuses on arguing that equitable estoppel does not bar
its claim that Defendant breached the License Agreement by overdeploying Foglight software.

The Court now will now bring these ships to safe harbor.



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                                                                                          Exhibit D - Nike Answer/Counterclaims
                                                                                                                   Page 5 of 10
              Case 3:18-cv-00721-BR                Document 29           Filed 05/31/18         Page 79 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



   2.2 Using Foglight on the AIX Servers
To support its equitable estoppel defense, Defendant claims that Quest “helped [it] install Foglight on the AIX
servers” and “led [it] to believe it did not object to that use, or require any payment for such use.” (First Motion
at 13:15–19.) Defendant also claims that it relied, to its detriment, on Plaintiff’s actions when deciding to install
Foglight on the AIX servers. Id. Thus, Defendant concludes that equitable estoppel bars Plaintiff breach of
contract claim as to Defendant’s use of Foglight on AIX servers. The Court agrees.



  2.2.1 Whether Plaintiff Knew of Defendant’s Use of Foglight Software on AIX Servers
To satisfy the first element of the equitable estoppel test, Defendant must prove that Plaintiff knew Defendant
was using Foglight software on AIX servers. The facts demonstrate that Plaintiff helped Defendant “install and
customize Foglight on AIX servers.” (UF 1 ¶ 54.) Plaintiff does not dispute that it was aware that Defendant
used Foglight on AIX servers. Accordingly, the Court finds this element to be satisfied.



   2.2.2 Whether Plaintiff’s Actions or Omissions Demonstrated That it Did Not Intend to Enforce its
   Contract Rights
To satisfy the second element, Defendant must prove that Plaintiff led it to believe that Plaintiff would not
enforce its contract rights to prevent Defendant from using Foglight on the AIX servers. Defendant claims that
“Quest’s actions and lack of objection led DIRECTV reasonably to believe it had permission to use Foglight on
the AIX servers ....” (First Motion at 15:21–23.) As noted, Plaintiff helped Defendant customize Foglight for
AIX servers. Plaintiff also sent consultants to teach Defendant how to operate Foglight software on AIX
servers, without ever telling Defendant that it was unlicensed to use Foglight software on AIX servers or
demanding license fees for such use. (Id. at 15:27–28.)

Plaintiff fails to present adequate proof that its actions did not lead Defendant to believe that it had permission
to run Foglight on AIX servers. The Court finds this element to be satisfied.



   2.2.3. Whether Defendant was Ignorant of Plaintiff’s Objections
To satisfy the third element, Defendant must prove that it was unaware that Plaintiff objected to its use of
Foglight on AIX servers. Defendant claims that it was unaware of Plaintiff’s objection for the same reasons
identified in Section 2.2.2. For example, Defendant claims that Plaintiff’s actions—“teaching DIRECTV how to
install Foglight on the machines” and “working with DIRECTV to overcome problems”—led Defendant to
believe that Plaintiff had no objection to its use of Foglight on AIX servers. (First Motion at 16:20–23.)

*7 As before, Plaintiff provides insufficient evidence to support a claim that Defendant was aware that it
objected to Defendant’s use of Foglight software on AIX servers. The Court finds this element to be satisfied.



   2.2.4. Whether Defendant Relied to Its Detriment
To satisfy the fourth element, Defendant must prove that it relied to its detriment on Plaintiff’s silence.
Defendant claims that it would not have used Foglight on AIX servers if it had known that Plaintiff would claim
fees. (Motion at 17:14–16.) The Court finds, and Plaintiff does not effectively dispute, that Defendant has
satisfied this element.



   2.2.5. Conclusion
The Court has reviewed Plaintiff’s other arguments, and finds them unpersuasive. Defendant has demonstrated
that equitable estoppel bars Plaintiff’s breach of contract claim as to Defendant’s use of Foglight software on

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                                                                                          Exhibit D - Nike Answer/Counterclaims
                                                                                                                   Page 6 of 10
              Case 3:18-cv-00721-BR              Document 29           Filed 05/31/18        Page 80 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



AIX servers. Thus, the Court GRANTS Defendant’s Motion for Partial Summary Judgment on Plaintiff’s
breach of contract claims for the unauthorized use of Foglight on AIX servers.



   2.3 Overdeploying Foglight Software
As noted, Defendant dedicates most of his First Motion to arguments concerning AIX servers, and gives much
less attention to the issue of overdeployment. Because Defendant does not come close to satisfying all four
equitable estoppel factors on this issue, Plaintiff’s breach of contract claim based on Defendant’s alleged
overdeployment survives summary judgment.



  2.3.1 Whether Plaintiff Knew of Defendant’s Overdeployment of Foglight
Plaintiff argues that it was not aware of Defendant’s overdeployment of Foglight until June 2007, when HP
provided results of an audit of Defendant’s computer systems to Plaintiff. (Opp’n to First Motion at 3:21–4:7.)
Defendant disputes this fact, arguing that Plaintiff knew Defendant was overdeployed before June 2007. (UF 1 ¶
58.)

Defendant presents insufficient evidence to support its claim that Plaintiff was aware of the overdeployment
before June 2007. Defendant claims that in March 2007, Plaintiff created a Statement of Work instructing its
agents to “[d]eploy Foglight [software] ... on as many AIX servers as possible within the allocated amount of
time.” (Motion at 15:12–13.) But Defendant does not explain how this statement proves that Plaintiff knew
about the overdeployment. Indeed, this statement means only what it says—that Plaintiff intended to deploy
Foglight software on as many of AIX servers as possible in a limited period of time. It doesn’t imply, much less
prove, that Defendant intended to install Foglight software on more CPUs than the License Agreement
permitted.

Defendant also claims that Plaintiff had “estimates” of Defendant’s pre-June 2007 deployment of Foglight.
(Reply at 10:14–15.) Defendant claims, for example, that in April 2006, it informed Plaintiff of its plans to use
Foglight on 192 AIX servers. (Id. at 10:16.) This argument is flawed. First, mere estimates do not provide a
sufficient basis to establish that Plaintiff’s knew Defendant was overdelployed. Second, Defendant does not
provide evidence demonstrating that 192 servers constitutes an overdeployment.

*8 Defendant further claims that in July 2006 one of Plaintiff’s employees attempted to bill Defendant to deploy
Foglight on 550 AIX servers. Even if true, this does not come close to proving that no genuine issue of material
fact exists concerning overdeployment.

Because Defendant has not proven that Plaintiff was aware of any overdeployment, at least before June 2007,
its equitable estoppel defense fails on this point. When Plaintiff became aware of Defendant’s purported
overdeployment is a genuine issue of material fact. Accordingly, the Court DENIES Defendant’s Motion for
Partial Summary Judgment on Plaintiff’s claim for breach of contract for overdeployment of Foglight software.



   2.3.2 Whether Plaintiff’s Actions or Omissions Demonstrated That It Did Not Intend to Enforce Its
   Contract Rights
Even if Defendant could prove that Plaintiff knew of the overdeployment, its equitable estoppel defense would
fail because an issue of fact exists concerning whether Plaintiff intended to enforce its contract rights.
Defendant claims that Plaintiff did not intend to charge Plaintiff for any overdeployment, but the terms of the
License Agreement indicate otherwise.

The License Agreement specifically addresses the issue of payment in cases of overdeployment. Under the
terms of the License Agreement, Defendant had the “right to increase the aggregate number of CPU’s ... by up
to 10% per product ... at no additional fee.” (First Motion at 4:1–9.) Defendant could exceed this 10% threshold
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                                                                                       Exhibit D - Nike Answer/Counterclaims
                                                                                                                Page 7 of 10
               Case 3:18-cv-00721-BR                 Document 29         Filed 05/31/18        Page 81 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



on the condition that it paid Plaintiff additional license fees. (Id.)

Plaintiff argues that the existence of this true-up provision is one of the reasons why it did not immediately seek
overdeployment fees from Defendant. Whatever the merits of this claim, it raises an issue of fact that the Court
cannot decide on summary judgment.



   2.3.3 Conclusion
The Court has considered Defendant’s other arguments, and finds them unpersuasive. Because genuine issues of
fact exist concerning Plaintiff’s knowledge of Defendant’s overdeployment and Plaintiff’s willingness to
enforce its contract rights, the Court need not consider factors three and four of the equitable estoppel test.
Equitable estoppel does not bar Plaintiff from claiming that Defendant’s purported overdeployment constituted
a breach of the License Agreement. Accordingly, the Court DENIES Defendant’s Motion for Partial Summary
Judgment on Plaintiff’s claim for breach of contract based on overdeployment.



3. PLAINTIFF’S CLAIM FOR MAINTENANCE SERVICE FEE DAMAGES
Plaintiff alleges that Defendant breached the License Agreement by failing to pay maintenance service fees.
(Compl.¶¶ 24–26, 42.) Defendant argues that the License Agreement doesn’t require it to pay the maintenance
fees Plaintiff seeks to recover. The Court first considers Plaintiff’s claim for maintenance fee damages for 2009.
It then turns to Plaintiff’s claim for “retroactive” maintenance fees. Finally, the Court discusses the
quasi-contract argument Plaintiff raises for the first time in its Opposition to Defendant’s Second Motion.



   3.1 Plaintiff’s Claim for Maintenance Fee Damages For 2009
*9 Plaintiff alleges that Defendant breached the License Agreement by failing to pay software maintenance fees
to Plaintiff for first quarter of 2009. (Compl.¶¶ 24–26, 42.) Defendant argues that it was not obligated to pay
software maintenance fees in 2009 because it properly canceled the maintenance services agreement. (Second
Motion at 5:8–10.) The Court agrees with Defendant.

As noted, the parties entered into two agreements in 2002. First, the parties signed a standard form software
license agreement. One week later, the parties negotiated an Addendum, which modified the terms of the
standard form. Together, these agreements constitute the License Agreement. Section 10 of the License
Agreement governs “Maintenance And Other Services.” Under that section, “Maintenance Periods” begin on
the date of the first invoice mailed by Plaintiff and end 12 months later. (Id.) Section 10 also provides that:

             Each Maintenance Period shall automatically renew for another twelve (12) months
             unless the renewal has been cancelled by either party’s giving written notice at least sixty
             (60) days prior to that first day of the renewal Maintenance Period. Licensee’s failure to
             make payment on a maintenance renewal invoice shall constitute Licensee’s cancellation
             of Maintenance Services.

(Id.) (emphasis added).

Although Section 10 is not a model of clarity, its language permits Defendant, as licensee, to cancel
maintenance services simply by failing to make payment on a maintenance renewal invoice. In December 2008,
Plaintiff sent an invoice requesting renewal of maintenance services for 2009. (Second Motion, Ex. F.) By not
paying the bill, Defendant effectively canceled maintenance services. (UF2 ¶ 8.)

Plaintiff admits that the License Agreement modified by the Addendum permitted Defendant to discontinue
maintenance services by not paying the renewal invoice. Plaintiff also admits that Defendant declined to renew
the maintenance contract when it expired at the end of 2008. Thus, there is no genuine issue of material fact
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                                                                                         Exhibit D - Nike Answer/Counterclaims
                                                                                                                  Page 8 of 10
              Case 3:18-cv-00721-BR                Document 29           Filed 05/31/18         Page 82 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



concerning Defendant’s contractual obligation to pay maintenance fees in 2009.



   3.2 Plaintiff’s Claim for Retroactive Maintenance Fees
Plaintiff also alleges that Defendant owes “retroactive” maintenance fees on the licenses it overdeployed.
(Compl.¶¶ 24–26, 42.) Defendant argues that Plaintiff cannot recover “retroactive” maintenance fees because
the true-up provision in the License Agreement never mentions them. (Second Motion at 5:8–10 .) Again, the
Court agrees with Defendant.

As noted, overdeployment does not constitute an automatic breach of the License Agreement. In fact, the
License Agreement provides specific procedures to follow in cases of overdeployment. Under the terms of the
License Agreement, a licensee can remedy overdeployment simply by paying the licensor for the extra licenses.
The true-up provision in Paragraph 16 of the License Agreement provides that:

            *10 If the Licensee’s use of the Software is found to be greater than contracted for,
            Licensee will be invoiced for the additional licenses or license upgrades (based on the
            applicable units of measure, e.g., servers, server tiers, or users) and the license fees shall
            be payable in accordance with this Agreement.

(Second Motion, Ex. F.) Significantly, the true-up provision does not require payment of maintenance fees in
cases of overdeployment.

Still, Plaintiff claims that the true-up provision requires payment of maintenance fees as well. For example,
Plaintiff states that “even if the overdeployment itself did not constitute a breach of the agreement, DirecTV’s
subsequent refusal to provide compensation to Quest for the unauthorized licenses and associated maintenance
benefits enjoyed by those licenses did constitute a breach ....“ (Opp’n to Second Motion at 7:22–28 (emphasis
added).) Plaintiff also claims that the true-up mechanism contemplated payment for “unauthorized licenses and
maintenance thereon.” (Id. at 4:21–27 (emphasis added).)

Plaintiff’s arguments cannot overcome the plain language of the License Agreement. Defendant is required to
pay licenses fees, not maintenance costs, on overdeployed Foglight software. Because the License Agreement
does not require Defendant to pay retroactive maintenance fees when overdeployment occurs, Plaintiff’s claim
for retroactive maintenance fee damages fails as a matter of law.



   3.3 Quasi–Contract
After arguing the merits of its contract claims for maintenance fee damages, Plaintiff asks the court to consider
“quasi-contractual theories of recovery as well.” (Opp’n to Second Motion at 9:1–28.) Plaintiff did not allege
these theories in its Complaint or raise them during discovery. So Plaintiff asks the Court to treat Defendant’s
Motion as a Rule 12(c) motion for judgment on the pleadings and permit Plaintiff “to amend its complaint to
state a claim for restitution based on quantum meruit.” (Id.)

The Court need not address the merits of Plaintiff’s quantum meruit argument because its request to amend its
pleadings, coming nearly two years after filing suit and less than one month before trial, is untimely. In its April
2010 Scheduling Order, the Court gave the parties 90 days to amend their pleadings, explaining that
post-deadline amendment would be permitted only under “exceptional circumstances.” (Dkt. No. 27.)

Federal Rule of Civil Rule 16(b) requires a showing of “good cause” when a party seeks to amend its pleading
after the deadline established in a scheduling order. Coleman v. Quaker Oats Co., 232 F.3d 1271, 1294 (9th
Cir.2000.) If the party seeking the amendment “was not diligent, the inquiry should end.” Id. Here, Plaintiff has
not been sufficiently diligent.


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                                                                                         Exhibit D - Nike Answer/Counterclaims
                                                                                                                  Page 9 of 10
                Case 3:18-cv-00721-BR             Document 29           Filed 05/31/18            Page 83 of 84



Quest Software, Inc. v. DirecTV Operations, LLC, Not Reported in F.Supp.2d (2011)



  3.4 Conclusion
The Court has considered Plaintiff’s other arguments, and finds them unpersuasive. Defendant’s Motion for
Partial Summary Judgment on Plaintiff’s claims for damages for unpaid maintenance fees is GRANTED in full.



DISPOSITION
*11 The Court thoroughly reviewed the parties’ papers and issued a Tentative Order. At the hearing on the
Tentative Order, additional arguments were presented. But there has not been a Rule 56(d) motion and the
Court feels impelled to based its Order on the papers submitted.

Defendant’s First Motion for Partial Summary Judgment is GRANTED as to Plaintiff’s claim for copyright
infringement. Defendant’s First Motion for Partial Summary Judgment is GRANTED in part and DENIED in
part as to Plaintiff’s claim for breach of contract. Equitable estoppel bars Plaintiff from claiming that Defendant
breached the License Agreement by using Foglight on the AIX servers. But equitable estoppel does not bar
Plaintiff from claiming that Defendant breached the License Agreement by overdeploying the Foglight
software. Defendant’s Second Motion for Partial Summary Judgment on Plaintiff’s claims seeking recovery for
maintenance fee damages is GRANTED in full.


IT IS SO ORDERED.


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                                                                                           Exhibit D - Nike Answer/Counterclaims
                                                                                                                   Page 10 of 10
          Case 3:18-cv-00721-BR     Document 29      Filed 05/31/18      Page 84 of 84




                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that he caused a copy of the foregoing DEFENDANT

AND COUNTERCLAIMANT NIKE, INC.’S ANSWER AND COUNTERCLAIMS TO

COMPLAINT FOR COPYRIGHT INFRINGEMENT AND DEMAND FOR JURY

TRIAL to be served via CM/ECF electronic notification system on all parties requesting same.

Dated: May 31, 2018                            Respectfully Submitted,

                                               s/ B. John Casey
                                               B. John Casey, OSB No. 120025
                                               john.casey@stoel.com
                                               STOEL RIVES LLP
                                               760 SW Ninth Avenue, Suite 3000
                                               Portland, OR 97205
                                               Telephone: (503) 224-3380
                                               Facsimile: (503) 220-2480

                                               Andrew L. Deutsch, CSB No. 319286
                                               andrew.deutsch@dlapiper.com
                                               Admitted pro hac vice
                                               DLA PIPER LLP
                                               2000 Avenue of the Stars
                                               Los Angeles, CA 90067
                                               Telephone: (310) 595-3000
                                               Facsimile: (310) 595-3030

                                               Francis W. Ryan, NYB No. 2684058
                                               frank.ryan@dlapiper.com
                                               Admitted pro hac vice
                                               Kerry A. O’Neill, NYB No. 5143995
                                               kerry.oneill@dlapiper.com
                                               Admitted pro hac vice
                                               DLA PIPER LLP
                                               1251 Avenue of the Americas
                                               New York, NY 10020
                                               Telephone: (212) 335-4850
                                               Facsimile: (212) 335-4501

                                               Attorneys for Defendant/Counterclaimant
                                               NIKE, Inc.




PAGE 1 – CERTIFICATE OF SERVICE
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